     Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 1 of 86




March 30, 2020

By Email
Tony Magro, Senior Managing Director
tony.magro@evercore.com
John Kimm, Managing Director
john.kimm@evercore.com
Julie Raviv, Vice President
julie.raviv@evercore.com
Evercore
55 East 52nd Street
New York, NY 10055

Re: MDVA Offer for High Point, NC Plant and Chesapeake, VA Branch

Dear Mr. Magro, Mr. Kimm, and Ms. Raviv:

Maryland and Virginia Milk Producers Cooperative Association, Incorporated
(“MDVA” or “Purchaser”) hereby submits this Offer in accordance with the
terms and conditions of your March 13, 2020 Letter and the terms and
conditions of all applicable orders and requirements of the U.S. Bankruptcy
Court for the Southern District of Texas. This offer is MDVA’s Best and Final
Offer and includes the following:

1.   Purchaser Identity: The legal identity is Maryland and Virginia Milk
     Producers Cooperative Association, Inc., a Virginia Cooperative
     Association, with its headquarters in Reston, Virginia. It will be the
     beneficial owner of the assets if the Offer is accepted.

2.   Purchase Price: The amount of cash, in U.S. Dollars, that MDVA hereby
     offers to pay for the High Point, NC milk processing plant and the
     Chesapeake, VA branch facility, and all related included assets, is
     Eighteen Million, One Hundred Twenty-Nine Thousand Dollars
     ($18,129,000.00).
     Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 2 of 86
                                                                                 Page |2




3.   Asset Purchase Agreement: A duly authorized and executed asset
     purchase agreement (the “APA”) that includes the items described below,
     marked against a form APA that Evercore has provided is attached. This
     APA identifies, with as much specificity as possible, all assets to be
     purchased. It also identifies contracts and leases to be assumed, and it also
     provides that the Purchaser shall be responsible for any cure costs
     associated with the assumption of such contracts and leases. The APA
     does not propose for the Purchaser to assume any liabilities. The APA
     also includes a statement of its plan for employment offers and proposed
     terms of employment for those employees who currently work at the High
     Point, NC plant and at the Chesapeake, VA branch. The facilities
     Purchaser is seeking to purchase are non-union facilities.               The
     employment terms being offered do not impact the Debtor’s current
     collective bargaining agreements and labor unions.

4.   Financial Wherewithal: This is an all-cash deal based on MDVA’s
     demonstration of its financial wherewithal to consummate the Offer. As
     noted in the attached letter from MDVA’s lender, EagleBank, “Maryland
     and Virginia Milk Producers Cooperative Association Incorporated has
     been a valued client of EagleBank since 2018 and currently has a
     $50,000,000 Revolving Line of Credit with us.”

5.   Adequate Assurance: The evidence supporting Purchaser’s ability to
     comply with section 365 of the Bankruptcy Code (to the extent
     applicable), including the provision of adequate assurance of your ability
     to perform under any Contracts and Leases to be assumed. As noted
     above, MDVA has the demonstrated financial wherewithal to purchase the
     assets that are the subject of this Offer and to take on the employment and
     lease obligations that are included assets that are a part of this Offer.
     Moreover, MDVA has been operating milk processing plants producing
     fluid milk products for a long time, including its fluid milk plant located
     at Newport News, VA, and its fluid milk plant located at Landover, MD.


                          Cultivating Dairy Goodness Since 1920
                1985 Isaac Newton Square West Suite 200, Reston, VA 20190-5094
                  phone 703-742-6800 · fax 757-952-2370 · www.mdvamilk.com
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 3 of 86
                                                                                  Page |3




6.    No Due Diligence or Financing Contingency: The attached APA
      contains no condition or contingency based on the obtaining of funding
      or financing to permit the Purchaser to close or on the outcome of
      unperformed due diligence.

7.    Good Faith Deposit: At the time of the submission of the Offer a cash
      deposit by wire transfer to a Deposit Agent in an amount equal to 7% of
      the proposed purchase price will be made by Purchaser. The deposit will
      be fully refundable if this Offer is not accepted.

8.    Regulatory and Other Approvals: As the former operator of a fluid milk
      plant in New Bern, NC, MDVA is very familiar with the governmental,
      licensing, regulatory and other approvals or consents that are required to
      take over the operations of a fluid dairy processing plant such as the one
      at High Point, NC. Once this Offer is accepted MDVA will undertake to
      notify all applicable governmental and regulatory agencies and seek the
      transfer of all applicable licenses and approvals to MDVA as the new
      operator of the assets that are the subject of this Offer. MDVA estimates
      that such approvals can be obtained by the date the plant purchase is
      closed upon.

9.    Irrevocable Offer: Confirmation that the Offer has received all requisite
      corporate or internal approvals and is irrevocable until consummation.
      In this regard the Board of MDVA held a meeting on March 28, 2020,
      and at the meeting formally approved the submission of this offer and all
      related documents including the APA unanimously.

10.   Transition Services: Purchaser anticipates that it may require limited
      transition services for a period of time following the closing on the
      purchase, including, but not limited to, all Information Technology
      services currently used at the plant and branch locations, all accounting
      services currently used at the plant and branch locations, all software and
      software licenses currently used at the plant and branch locations. We

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      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 4 of 86
                                                                                  Page |4




      do not have enough information to estimate the cost and timeframe for
      the use of such services but anticipate that a contract for the temporary
      provision of such services can negotiated.

11.   Single-Employer Pension Plan: Purchaser will not assume (i)
      sponsorship of all or any part of, or (ii) any of the potential liabilities
      associated with the Deans Food Consolidated Pension Plan (“Single-
      Employer Pension Plan”).

12.   Employee Obligations:
      With respect to the assets that are the subject of this Offer:
      a.    Purchaser proposes to provide base salaries, target incentive
            compensation opportunities and employee benefits (not including
            the Single-Employer Pension Plan) that are substantially
            comparable in the aggregate to the base salaries, target incentives
            compensation opportunities and employee benefits the employees
            were receiving prior to Closing.
      b.    Purchaser will not assume any obligations and/or liabilities under
            any of Debtors’ prepetition collective bargaining agreements.
      c.    Purchaser will not participate in the Single-Employer Pension
            Plan.
      d.    Purchaser will not assume any obligations and/or liabilities
            whatsoever for any pension benefits.
      e.    Purchaser will not participate in any multi-employer pension and
            health plans.
      f.    Purchaser will not assume sponsorship of all or any portion of the
            Single-Employer Pension Plan.

13.    Other Considerations: Buyer has determined, in good faith, that its
       proposed acquisition of the assets that are the subject of this Offer is not
       reportable under the Hart-Scott-Rodino Act. Buyer further represents
       that its proposed acquisition of the assets that are the subject of this
       Offer is not anticompetitive and will not involve additional delay related
       to extended antitrust investigation by the U.S. Department of Justice.

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      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 5 of 86
                                                                                    Page |5




       Rather, Buyer’s acquisition of such assets will restore competition in the
       Carolinas and facilitate regulatory review of other potential transactions
       involving the Debtor’s remaining assets.

14.   Contact Person(s): Jay Bryant, CEO, MDVA: jbryant@mdvamilk.com
      (703) 217-9450; Jon Cowell, CFO, MDVA: jcowell@mdvamilk.com
      (571) 435-9757. Mr. Bryant and Mr. Cowell may be reached by email or
      by calling their cell phone numbers as shown above.

Sincerely yours,

Maryland and Virginia Milk Producers Cooperative Association, Inc.

By:




Jay Bryant, CEO




                             Cultivating Dairy Goodness Since 1920
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       Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 6 of 86




                                                            CONFIDENTIAL
                                                           Excluded Assets Version




                          ASSET PURCHASE AGREEMENT

                           DATED AS OF [●]MARCH 30, 2020

                                  BY AND AMONG

                              DEAN FOODS COMPANY,

                 EACH OF THE SUBSIDIARIES OF DEAN FOODS COMPANY

                      LISTED ON THE SIGNATURE PAGES HERETO,

                                       AND

        [BUYER]MARYLAND AND VIRGINIA MILK PRODUCERS COOPERATIVE
                      ASSOCIATION, INCORPORATED




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    Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 7 of 86




                                            TABLE OF CONTENTS
                                                                                                                         PAGE

                                                      ARTICLE 1
                                                     DEFINITIONS

Section 1.01. Definitions. ...................................................................................................1
Section 1.02. Other Definitions and Interpretive Matters. ..........................................1616

                                                 ARTICLE 2
                                             PURCHASE AND SALE

Section 2.01.        Purchase and Sale..................................................................................1717
Section 2.02.        Excluded Assets. .....................................................................................2020
Section 2.03.        Assumed Liabilities. ...............................................................................2222
Section 2.04.        Excluded Liabilities. ..............................................................................2323
Section 2.05.        Cure Costs; Desired 365 Contracts. ......................................................2323
Section 2.06.        Assignment of Assets Subject to Consent Requirements. .......................2424
Section 2.07.        Misallocated Assets. ...............................................................................2424
Section 2.08.        Further Assurances. ...............................................................................2424
Section 2.09.        Withholding. ...........................................................................................2525

                                                    ARTICLE 3
                                                 PURCHASE PRICE

Section 3.01. Purchase Price. ......................................................................................2525
Section 3.02. Good Faith Deposit................................................................................2525

                                                       ARTICLE 4
                                                       CLOSING

Section 4.01.        Closing Date. .........................................................................................2626
Section 4.02.        Payments on the Closing Date. ..............................................................2626
Section 4.03.        Buyer’s Deliveries. .................................................................................2626
Section 4.04.        The Selling Entities’ Deliveries. ............................................................2626

                                ARTICLE 5
            REPRESENTATIONS AND WARRANTIES OF SELLING ENTITIES

Section 5.01.        Organization and Good Standing. .........................................................2727
Section 5.02.        Authority; Validity. ................................................................................2827
Section 5.03.        Governmental Approvals; No Conflict. .................................................2828
Section 5.04.        Seller SEC Documents. ..........................................................................2929
Section 5.05.        No Undisclosed Material Liabilities. .....................................................2929
Section 5.06.        Absence of Certain Changes. .................................................................2929
Section 5.07.        Legal Proceedings. ................................................................................3029
Section 5.08.        Compliance with Laws; Permits. ...........................................................3030
Section 5.09.        Food Safety Matters. ..............................................................................3030
                                                               i
  Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 8 of 86




Section 5.10.   Material Contracts. .................................................................................3232
Section 5.11.   Intellectual Property. .............................................................................3333
Section 5.12.   Environmental, Health and Safety Matters. ...........................................3535
Section 5.13.   Title. .......................................................................................................3535
Section 5.14.   Matters Related to Assets; Casualty Losses...........................................3737
Section 5.15.   Inventory. ...............................................................................................3737
Section 5.16.   Insurance................................................................................................3737
Section 5.17.   Security Arrangements. ..........................................................................3837
Section 5.18.   Customers and Suppliers. ......................................................................3838
Section 5.19.   Anti-Corruption......................................................................................3838
Section 5.20.   Brokers or Finders. ................................................................................3938
Section 5.21.   Employee Benefit Plans; Labor and Employment Matters. ...................3938
Section 5.22.   Taxes. .....................................................................................................4040

                                ARTICLE 6
                 REPRESENTATIONS AND WARRANTIES OF BUYER

Section 6.01.   Organization and Good Standing. .........................................................4141
Section 6.02.   Authority; Validity; Consents. ...............................................................4141
Section 6.03.   No Conflict. ............................................................................................4241
Section 6.04.   Legal Proceedings. ................................................................................4242
Section 6.05.   Bankruptcy. ............................................................................................4242
Section 6.06.   Brokers or Finders. ................................................................................4242
Section 6.07.   Financing. ..............................................................................................4342
Section 6.08.   Independent Evaluation. ........................................................................4444

                                      ARTICLE 7
                          ACTIONS PRIOR TO THE CLOSING DATE

Section 7.01.   Access and Reports. ...............................................................................4545
Section 7.02.   Operations Prior to the Closing Date. ...................................................4545
Section 7.03.   Commercially Reasonable Efforts .........................................................4747
Section 7.04.   Regulatory Approvals ............................................................................4848
Section 7.05.   Bankruptcy Court Approval. ..................................................................4949
Section 7.06.   Alternative Proposals.............................................................................5050
Section 7.07.   Damage or Destruction..........................................................................5050
Section 7.08.   [Buyer Efforts to Obtain Financing .......................................................5050
Section 7.09.   [Cooperation with Financing .................................................................5252
Section 7.10.   Additional Selling Entities. ....................................................................5454
Section 7.11.   Public Announcements; Filings. ............................................................5454

                                           ARTICLE 8
                                    ADDITIONAL AGREEMENTS

Section 8.01.   Taxes. .............................................................................................................
Section 8.02.   Allocation of Purchase Price. ................................................................5555
Section 8.03.   Assigned Contracts; Adequate Assurance and Performance. ...............5656
Section 8.04.   Employee Matters. .................................................................................5657
                                                             ii
    Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 9 of 86




Section 8.05.        Post-Closing Books and Records. ..........................................................5758
Section 8.06.        Use of Trademarks .................................................................................5858
Section 8.07.        Title Matters ...........................................................................................5858
Section 8.08.        Insurance Access ....................................................................................5858
Section 8.09.        Disclaimers. ...........................................................................................5959
Section 8.10.        Collection of Accounts Receivable.........................................................6161

                               ARTICLE 9
         CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER TO CLOSE

Section 9.01. Accuracy of Representations..................................................................6262
Section 9.02. Selling Entities’ Performance ................................................................6262
Section 9.03. Seller’s Deliveries ..................................................................................6262

                             ARTICLE 10
       CONDITIONS PRECEDENT TO THE OBLIGATION OF BUYER AND THE
                          SELLING ENTITIES

Section 10.01. No Order ................................................................................................6363
Section 10.02. Sale Order ..............................................................................................6363
Section 10.03. HSR Act ..................................................................................................6363

                           ARTICLE 11
  CONDITIONS PRECEDENT TO THE OBLIGATION OF THE SELLING ENTITIES
                            TO CLOSE

Section 11.01. Accuracy of Representations..................................................................6363
Section 11.02. Buyer’s Performance .............................................................................6363
Section 11.03. Buyer’s Deliveries. .................................................................................6363

                                                    ARTICLE 12
                                                   TERMINATION

Section 12.01. Termination Events. ...............................................................................6364
Section 12.02. Effect of Termination .............................................................................6565
Section 12.03. Procedure Upon Termination ................................................................6565

                                                 ARTICLE 13
                                             GENERAL PROVISIONS

Section 13.01. No Survival of Representations and Warranties. ...................................6565
Section 13.02. Notices....................................................................................................6666
Section 13.03. Waiver. ...................................................................................................6767
Section 13.04. Entire Agreement; Amendment. .............................................................6767
Section 13.05. Assignment. ............................................................................................6767
Section 13.06. Severability. ...........................................................................................6868
Section 13.07. Expenses. ................................................................................................6868
Section 13.08. Specific Performance. ............................................................................6868

                                                               iii
   Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 10 of 86




Section 13.09. Governing Law; Consent to Jurisdiction and Venue; Jury Trial
               Waiver. ...................................................................................................6969
Section 13.10. Counterparts. .........................................................................................6969
Section 13.11. Parties in Interest; No Third Party Beneficiaries. .................................7070
Section 13.12. No Recourse. ..........................................................................................7070
Section 13.13. Disclosure Schedules; Materiality. ........................................................7171
Section 13.14. Liquidating Trustee. ...............................................................................7171
Section 13.15. Conflicts; Privileges...............................................................................7272
Section 13.16. [Liability of Financing Sources .............................................................7373




                                                             iv
  Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 11 of 86




Exhibits:
Exhibit A                Bidding Procedures
Exhibit B                Bidding Procedures Order
Exhibit C                Form of IP Assignment Agreement
Exhibit D                Form of Master Assignment
Exhibit E                Form of Sale Order
Exhibit F                Facilities Legal Descriptions

Schedules:
Schedule 1.01(a)         Independent Contractors
Schedule 1.01(b)(1)      Seller Knowledge Persons
Schedule 1.01(b)(2)      Buyer Knowledge Persons
Schedule 2.01(b)(xiii)   Certain Seller Benefit Plans
Schedule 2.01(b)(xiv)    Assumed CBAs
Schedule 2.05(a)         365 Contracts
Schedule 7.02            Operation Prior to Close
Schedule 7.04            Transferred Permits
Disclosure Schedules




                                       v
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 12 of 86




                             ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of [●] March __,
2020 is by and among Dean Foods Company, a company organized under the laws of the State of
Delaware whose address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204 (“Seller”),
each of the Subsidiaries of Seller listed on the signature pages hereto (together with Seller, the
“Selling Entities”) and [BUYER] Maryland and Virginia Milk Producers Cooperative
Association, Incorporated, a [●]a Virginia corporation organized as a cooperative association under
Virginia law, or its designee pursuant to Section 13.05 below (“Buyer”). Capitalized terms used but
not otherwise defined herein have the meanings set forth in Article 1Article 1. The Selling Entities
and Buyer are sometimes referred to collectively herein as the “Parties” and individually as a
“Party”.

                                           RECITALS

       WHEREAS, the Selling Entities are engaged in the Business;

       WHEREAS, on November 12, 2019 (the “Petition Date”), the Selling Entities commenced
voluntary cases (the “Bankruptcy Cases”) under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”);

       WHEREAS, the Selling Entities desire to sell to Buyer all of the Assets, and Buyer desires
to purchase from the Selling Entities all of the Assets and assume all of the Assumed Liabilities,
upon the terms and conditions hereinafter set forth;

       WHEREAS, the Parties intend to effectuate the transactions contemplated by this
Agreement through a sale of the Assets pursuant to Sections 105(a), 363 and 365 of the Bankruptcy
Code and Rules 2002, 4001, 6004, 6006, and 9014 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”); and

        WHEREAS, the Selling Entities’ ability, and Buyer’s willingness, to consummate the
transactions set forth in this Agreement is subject to, among other things, the entry of the Sale
Order by the Bankruptcy Court.

        NOW, THEREFORE, in consideration of the mutual promises contained herein and other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the Parties agree as follows:

                                           ARTICLE 1
                                          DEFINITIONS

       Section 1.01. Definitions.

       For purposes of this Agreement, the following terms have the meanings specified or
referenced below.



                                                 1
       Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 13 of 86




       “365 Contracts” means all of the Selling Entities’ respective executory Contracts and
unexpired Leases, in each case, within the meaning of Section 365 of the Bankruptcy Code
exclusively related to the Business. For the avoidance of doubt, none of the Hedge Contracts are
365 Contracts.

        “Accounts Receivable” means any and all (i) accounts receivable, notes receivable and
other amounts receivable owed to Seller or any of its Subsidiaries (whether current or non-current),
together with all security or collateral therefor and any interest or unpaid financing charges accrued
thereon, including all Proceedings pertaining to the collection of amounts payable, or that may
become payable, to Seller or any of its Subsidiaries with respect to products sold or services
performed on or prior to the Closing Date, (ii) construction allowances and other amounts due
from landlords (including in respect of prior overcharges and insurance recoveries), (iii) license
and royalty receivables, (iv) rebate receivables from suppliers, (v) insurance claims receivables,
and (vi) other amounts due to Seller or any of its Subsidiaries which they have historically
classified as accounts receivable in the consolidated balance sheet of Seller, in each case
exclusively related to the Business.

        “Affiliate” means, with respect to any Person, any other Person that directly or indirectly
(through one or more intermediaries) Controls, is Controlled by or is under common Control with
such specified Person; provided that none of the equity holders of Buyer or Seller or creditors of
the Selling Entities (other than any equity holder of Seller or creditor who is a Subsidiary of any
Selling Entity), or any of the Specified Entities, will be considered an Affiliate of the Buyer or a
Selling Entity for purposes of this Agreement.

         “Agreement” has the meaning set forth in the introductory paragraph.

         “Allocation” has the meaning set forth in Section 8.02(a)Section 8.02(a).

         [“Alternative Financing” has the meaning set forth in Section 7.08(d).] 1

       [“Alternative Financing Commitment Letter” has the meaning set forth in
Section 7.08(d).]

         “Antitrust Division” has the meaning set forth in Section 7.04Section 7.04.

        “Antitrust Laws” means, collectively, the HSR Act, the Sherman Act, the Clayton Act,
the Federal Trade Commission Act and any other federal or state or foreign statutes, rules,
regulations, orders, decrees, administrative or judicial doctrines or other Applicable Laws that are
designed to prohibit, restrict or regulate actions having the purpose or effect of monopolization or
restraint of trade.

         “Anti-Corruption Laws” has the meaning set forth in Section 5.19Section 5.19.


1
 Note to Draft: Debt financing definitions and provisions have been included throughout for review to the extent
Buyer requires such financing to consummate the transaction. To the extent Buyer requires debt financing, all such
definitions and provisions should be tailored to conform to the requirements of such debt financing. Proposals that do
not require debt financing will be viewed more favorably by Seller.


                                                          2
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 14 of 86




       “Applicable Food Safety Laws” has the meaning set forth in Section 5.09Section 5.09.

        “Applicable Law” means, with respect to any Person, any transnational, domestic or
foreign federal, state, provincial, municipal or local law (statutory, common or otherwise),
constitution, treaty, convention, ordinance, code, rule, regulation, Order, injunction, judgment,
decree, ruling or other similar requirement enacted, adopted, promulgated, enforced or applied by
a Governmental Authority that is binding upon or applicable to such Person or its properties, as
amended unless expressly specified otherwise.

       “Assets” has the meaning set forth in Section 2.01(b)Section 2.01(b).

       “Assigned Contracts” has the meaning set forth in Section 2.01(b)(v)Section 2.01(b)(v).

       “Assumed CBAs” has the meaning set forth in Section 2.01(b)(xiv)Section 2.01(b)(xiv).

       “Assumed Liabilities” has the meaning set forth in Section 2.03Section 2.03.

       “Assumed Plans” has the meaning set forth in Section 2.01(b)(xiii)Section 2.01(b)(xiii).

       “Avoidance Actions” has the meaning set forth in Section 2.01(b)(xix)Section 2.02(q).

       “Bankruptcy Cases” has the meaning set forth in the recitals.

       “Bankruptcy Code” has the meaning set forth in the recitals.

       “Bankruptcy Court” has the meaning set forth in the recitals.

       “Bankruptcy Rules” has the meaning set forth in the recitals.

        “Bidding Procedures” means the procedures employed with respect to the proposed sale
of the Assets and the assumption of the Assumed Liabilities attached hereto as Exhibit A.

       “Bidding Procedures Order” means the Order of the Bankruptcy Court approving the
Bidding Procedures attached hereto as Exhibit B.

         “Business” means the business of manufacturing, marketing, distributing and selling
certain branded and private label dairy and dairy case products, including fluid milk, ice cream,
cultured dairy products, creamers, ice cream mix and other dairy products, and certain juices, teas
and bottled water products, in each case to retailers, distributors, food service outlets, educational
institutions and Governmental Authorities in the United States, as conducted by the Selling
Entities, at or exclusively related to the Facilities, including the ownership and operation of the
Assets.

       “Business Day” means any day, other than Saturday or Sunday, on which commercial
banks are open for commercial business with the public in New York City, New York and Dallas,
Texas.

       “Business IT Assets” has the meaning set forth in Section 5.11(f)Section 5.11(f).


                                                  3
         Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 15 of 86




           “Buyer” has the meaning set forth in the introductory paragraph.

           “Buyer Welfare Plan” has the meaning set forth in Section 8.04(c)Section 8.04(c).

           “Cash Purchase Price” has the meaning set forth in Section 3.01(a)Section 3.01(a).

       “Casualty Loss” means any loss, damage or destruction of the Assets that occurs for any
reason, including any act of God, fire, explosion, collision, earthquake, windstorm, flood,
hurricane, tropical storm, terrorism, or other casualty or condemnation taking under the right of
eminent domain, but excluding any loss, damage, or destruction as a result of depreciation or
ordinary wear and tear.

           “Claim” has the meaning set forth in Section 101(5) of the Bankruptcy Code.

      [“Clean Team Agreement” means that certain Clean Team Agreement dated as of [●],
March 27, 2020 by and between Dean Foods Company and [Buyer].]2

           “Closing” has the meaning set forth in Section 4.01Section 4.01.

           “Closing Date” has the meaning set forth in Section 4.01Section 4.01.

           “Code” means the United States Internal Revenue Code of 1986.

       “Collective Bargaining Agreement” means any written agreement between any Selling
Entity with a union representing any Company Employees that governs the terms and conditions
of employment, whether or not such agreement is expired by its terms.

        “Committee” shall mean that certain Official Committee of Unsecured Creditors
appointed by the Office of the United States Trustee for the Southern District of Texas on
November 22, 2019 in the chapter 11 cases of Southern Foods Group, Dean Foods Company, and
certain of their debtor affiliates.

        “Company Employees” means those employees of a Selling Entity, or those independent
contractors, in each case as set forth on Disclosure Schedule 1.011.01(a).3

           “Confidentiality Agreement” has the meaning set forth in Section 7.01(b)Section 7.01(b).

       “Contract” means any agreement, contract, lease, deed, license, instrument, commitment,
undertaking or obligation (in each case, whether written or oral) that is legally binding, including
the Leases.




2
    Note to Draft: If applicable.
3
  Note to Draft: Transferred personnel to be set forth on a schedule; parties to discuss what personnel will be available
to Buyer based on specific Assets being acquired.


                                                           4
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 16 of 86




        “Control” means the ability (directly or indirectly through one or more intermediaries) to
direct or cause the direction of the management or affairs of a Person, whether through the
ownership of voting interests, by Contract or otherwise.

        “Copyrights” means any copyright, any copyrightable work, any work of authorship, any
moral rights related to any of the foregoing, any registration or recording of any copyright,
copyrightable work or work of authorship, and any application in connection therewith, including
any such registration, recording, or application in the United States Copyright Office or in any
similar office or agency of the United States, any State thereof, or any other jurisdiction, and any
renewal of any of the foregoing.

        “Cure Costs” means all monetary Liabilities, including pre-petition monetary Liabilities,
of the Selling Entities that must be paid or otherwise satisfied to cure all of the Selling Entities’
monetary and other defaults under the Assigned Contracts pursuant to Section 365 of the
Bankruptcy Code at the time of the assumption thereof and assignment of the Assigned Contracts
to Buyer as provided hereunder as such amounts are determined by the Bankruptcy Court or
approved pursuant to the assignment and assumption procedures provided for in the Bidding
Procedures Order.

       “Current Representation” has the meaning set forth in Section 13.15Section 13.15.

       “Damage or Destruction Loss” has the meaning set forth in Section 7.07Section 7.07.

       “Data Protection Laws” means the data protection and privacy laws of each jurisdiction
where any Selling Entity is established and operating the Business and those of each jurisdiction
where any Personal Information is collected, transmitted, secured, stored, shared or otherwise
processed by or on behalf a Selling Entity in connection with the operation of the Business,
including, to the extent applicable, the General Data Protection Regulation (EU 2016/679)
(GDPR), the e-Privacy Directive (Directive 2002/58/EC) and the e-Privacy Regulation
(Regulation 2017/003) (once it takes effect), the California Consumer Privacy Act, Section 5 of
the (U.S.) Federal Trade Commission Act and any and all laws and regulations governing privacy,
cybercrime, use of electronic data, or unfair or deceptive trade practices.

       “Davis Polk” has the meaning set forth in Section 13.15Section 13.15.

       “Deal Communications” has the meaning set forth in Section 13.15(b)Section 13.15(b).

        [“Debt Commitment Letter” has the meaning set forth in Section 6.07.]

       [“Debt Financing” has the meaning set forth in Section 6.07.]

       [“Debt Financing Agreements” has the meaning set forth in Section 7.08.]

       [“Debt Financing Source” shall mean, in its capacity as such, any lender or similar debt
financing source with respect to the Debt Financing and their respective Affiliates, and such
lender’s or other debt financing source’s (and their respective Affiliates’) equityholders, members,
employees, officers, directors, attorneys, agents or advisors.]


                                                 5
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 17 of 86




        “Deposit Amount” has the meaning set forth in Section 3.02Section 3.02.

      “Deposit Escrow Account” means the deposit escrow account to be maintained with the
Escrow Agent on behalf of the Selling Entities.

        “Designated Person” has the meaning set forth in Section 13.15Section 13.15.

        “Desired 365 Contracts” has the meaning set forth in Section 2.05(a)Section 2.05(a).

         “DFA APA” has the meaning set forth in Section 2.02(c).

        “Encumbrance” means any lien, encumbrance, pledge, mortgage, deed of trust, security
interest, charge, interests, debentures, Claims, assignments by way of security or otherwise,
security interests, conditional sales contracts or other title retention agreements, rights of first
refusal or similar interests or instruments charging, or creating a security interest in the Assets or
any part thereof or interest therein, and any agreements, leases, licenses, occupancy agreements,
options, easements, rights of way, restrictions, executions or other encumbrances (including
notices or other registrations in respect of any of the foregoing) affecting any right or title to the
Assets or any part thereof or interest therein, in each case of any type, nature or kind whatsoever
(whether known or unknown, secured or unsecured or in the nature of setoff or recoupment, choate
or inchoate, filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or
unrecorded, perfected or unperfected, allowed or disallowed, contingent or non-contingent,
liquidated or unliquidated, matured or unmatured, material or nonmaterial, disputed or undisputed,
whether arising prior to or subsequent to the commencement of the Bankruptcy Cases, and whether
imposed by agreement, understanding, Applicable Law, equity, or otherwise, including claims
otherwise arising under doctrines of successor liability).4

        “Environmental, Health and Safety Laws” means any and all Applicable Laws
concerning worker and occupational health and safety, pollution or relating to the protection of
human health and safety (with respect to exposure to Hazardous Substances), the environment or
natural resources, or to the use, generation, management, handling, disposal, transportation or
Release of, or exposure to, Hazardous Substances.

        “ERISA” means the Employee Retirement Income Security Act of 1974.

       “ERISA Affiliate” means any entity, trade or business (whether or not incorporated) that,
together with any other entity, trade or business, is treated as a single employer under
Section 414(b), (c), (m) or (o) of the Code.

        “Escrow Agent” means Citibank, N.A..

        “Exchange Act” has the meaning set forth in Section 5.04(a)Section 5.04(a).

        “Excluded Assets” has the meaning set forth in Section 2.02Section 2.02.


4
  Note to Draft: Scope of “Encumbrances” to be updated as necessary to align with Encumbrances discharged by the
final Sale Order.


                                                       6
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 18 of 86




       “Excluded Contracts” means all Contracts of each Selling Entity other than the Assigned
Contracts.

       “Excluded Liabilities” has the meaning set forth in Section 2.04Section 2.04.

        “Excluded Records” means (a) the general corporate files and records of each Selling
Entity related to such entity’s organization and existence, (b) each Selling Entity’s respective
federal, state, local or non-U.S. income, franchise or margin tax files and records, (c) employee
files (other than files of Transferred Employees that are permitted to be transferred pursuant to
Applicable Law), (d) records relating to the sale of the Assets, including competing bids, (e)
proprietary data (including any engineering studies and forecasts and economic studies) to the
extent relating to Excluded Assets, (f) information and data that is subject to Third Party
contractual restrictions on assignment or disclosure to the extent relating to Excluded Assets, or
any privileged information to the extent the transfer pursuant hereto would jeopardize such
privilege, (g) copies of records stored for archival and/or back up purposes to the extent relating
to Excluded Assets or Excluded Liabilities, and (h) any other files or records to the extent relating
to any Excluded Assets or Excluded Liabilities.

        “Facilities” has the meaning set forth in Section 2.01(b)(i)Section 2.01(b)(i).

       “FDA” means the United States Food and Drug Administration.

       “FDC Act” means the United States Federal Food, Drug, and Cosmetic Act (21 U.S.C.
§ 301 et seq.).

       “Final DIP Order” means the Final Order Pursuant to Pursuant to 11 U.S.C. §§ 105, 361,
362, 363, 364, 503, 506, 507, and 522 and Rules 2002, 4001, 6003, 6004, and 9014 of the Federal
Rules of Bankruptcy Procedure (I) Authorizing the Debtors to (A) Obtain Senior Secured
Superpriority Post-Petition Financing, and (B) Use Cash Collateral, (II) Granting Liens and
Superpriority Administrative Expense Claims, (III) Providing Adequate Protection to Prepetition
Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 608]
entered by the Bankruptcy Court on December 23, 2019.

        “Final Order” means a judgment or Order of the Bankruptcy Court (or any other court of
competent jurisdiction) entered by the clerk of the Bankruptcy Court (or such other court) on the
docket in the Bankruptcy Cases (or the docket of such other court), which is in full force and effect,
which has not been modified, amended, reversed, vacated or stayed and as to which (a) the time
to appeal, petition for certiorari, or move for a new trial, stay, reargument or rehearing has expired
and as to which no appeal, petition for certiorari or motion for new trial, stay, reargument or
rehearing is then pending or (b) if an appeal, writ of certiorari new trial, reargument or rehearing
thereof has been sought, such order or judgment of the Bankruptcy Court or other court of
competent jurisdiction has been affirmed by the highest court to which such order was appealed,
or certiorari has been denied, or a new trial, stay, reargument or rehearing has been denied or
resulted in no modification of such order, and the time to take any further appeal, petition for
certiorari or move for a new trial, reargument or rehearing has expired, as a result of which such
order has become final in accordance with Rule 8002 of the Federal Rules of Bankruptcy
Procedure; provided, that the possibility that a motion under Rule 60 of the Federal Rules of Civil


                                                  7
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 19 of 86




Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such order,
will not cause such order not to be a Final Order as long as such motion has not been filed.

         [“Financing Deliverables” means the following documents to be delivered in connection
with the Debt Financing: (a) customary perfection certificates and corporate organizational
documents for the Selling Entities; (b) agreements, documents or certificates that facilitate the
creation or perfection of customary liens securing the Debt Financing as are reasonably requested
(with sufficient advanced notice) by the Buyer or otherwise required to be delivered hereunder
(but in each case, excluding to the extent not required to obtain the Debt Financing); and (c) such
information with respect to the Selling Entities as is reasonably available and customary for the
completion or delivery of schedules and opinions in connection with financings similar to the Debt
Financing.]

       “Food and Beverage Products” means all food and beverage products of all types
(whether branded or private label, finished food or beverages, works in process, or food or
beverage ingredients) manufactured, processed, labeled, held, packed, or packaged by, or for, the
Business.

       “FTC” has the meaning set forth in Section 7.04Section 7.04.

       “GAAP” means generally accepted accounting principles in the United States.

       “Governmental Authority” means any court or tribunal in any jurisdiction (domestic or
foreign) or any federal, tribal, state, parish, county, municipal or other governmental or quasi-
governmental, administrative or regulatory body, agency, authority, department, board,
commission, bureau, official or other authority or instrumentality.

       “Governmental Authorization” means any approval, consent, license, Permit, waiver
permission, clearance, designation, qualification or other authorization issued, granted, given or
otherwise made available by or under the authority of any Governmental Authority or pursuant to
Applicable Law.

        “Hazardous Substance” means any pollutants, contaminants, NORM and other
radioactive materials, chemicals, petroleum, petroleum products, or hydrocarbons, asbestos or any
asbestos-containing material, per- and polyfluoroalkyl substances, polychlorinated biphenyls or
industrial, toxic or hazardous substances and any “contaminant,” “pollutant”, “hazardous waste,”
“hazardous material”, “hazardous substance”, “extremely hazardous substance” or “toxic
substance” or words of similar import under any Applicable Law relating to the environment or
human health and safety.

        “Hedge Contracts” means any Contract to which a Selling Entity is a party with respect
to any swap, forward, future or derivative transaction or option or similar agreement, whether
exchange traded, “over the counter,” or otherwise, involving, or settled by reference to, one or
more rates, currencies, commodities, equity or debt instruments or securities, or economic,
financial or pricing indices or measures of economic, financial or pricing risk or value or any
similar transaction or any combination of these transactions.

       “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976.

                                                8
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 20 of 86




       “Insurance Policies” has the meaning set forth in Section 5.16Section 5.16.

        “Intellectual Property” means any Copyright, Patent, Trademark, trade secret, know-
how, software, rights in data and databases, inventions (whether patentable or not), or any other
similar type of proprietary right or intellectual property right.

       “Interim DIP Order” means the Interim Order Pursuant to Pursuant to 11 U.S.C. §§ 105,
361, 362, 363, 364, 503, 506, 507, and 522 and Rules 2002, 4001, 6003, 6004, and 9014 of the
Federal Rules of Bankruptcy Procedure (I) Authorizing the Debtors to (A) Obtain Senior Secured
Superpriority Post-Petition Financing, and (B) Use Cash Collateral, (II) Granting Liens and
Superpriority Administrative Expense Claims, (III) Providing Adequate Protection to Prepetition
Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 133].

        “IP Assignment Agreement” means the IP Assignment Agreement in the form attached
hereto as Exhibit A.

        “Knowledge” means, with respect to any matter in question, (a) in the case of each Selling
Entity, the knowledge, after reasonable inquiry, of any of the individuals listed on Schedule
1.01(b)(1), and (b) in the case of Buyer, the knowledge, after reasonable inquiry, of any of the
individuals listed on Schedule 1.01(b)(2) with respect to such matter.

       “Leased Real Property” has the meaning set forth in Section 5.13(b)Section 5.13(b).

       “Leases” has the meaning set forth in Section 5.13(b)Section 5.13(b).

        “Liability” means any and all Claims, debts, indebtedness, liens, losses, damages, adverse
claims, liabilities, fines, penalties, duties, responsibilities, obligations and expenses (including
reasonable attorneys’ fees and reasonable costs of investigation and defense) of any kind,
character, or description, whether known or unknown, direct or indirect, fixed, absolute or
contingent, matured or unmatured, accrued or unaccrued, asserted or unasserted, ascertained or
ascertainable, disputed or undisputed, liquidated or unliquidated, secured or unsecured, joint or
several, vested or unvested, executory, determined, determinable, in contract, tort, strict liability,
or otherwise, or otherwise due or to become due.

       “Licensed Intellectual Property” has the meaning set forth in Section 5.11(b)Section
5.11(b).

       “Major Customer” has the meaning set forth in Section 5.18(a)Section 5.18(a).

       “Major Supplier” has the meaning set forth in Section 5.18(b)Section 5.18(b).

       “Malicious Code” means any “back door,” “drop dead device,” “time bomb,” “Trojan
horse,” “virus,” “worm,” “spyware,” “vulnerability” or “adware” (as such terms are commonly
understood in the software industry) or any other code designed or intended to have, or capable of
performing or facilitating, any of the following functions: (a) disrupting, disabling, harming, or
otherwise impeding in any manner the operation of, or providing unauthorized access to, a
computer system or network or other device on which such code is stored or installed; or (b)


                                                  9
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 21 of 86




compromising the privacy or data security of a user or damaging or destroying any data or file
without the user’s consent.

        “Master Assignment” means the Master Assignment, Bill of Sale, Deed, and Conveyance
in the form attached hereto as Exhibit B.

        “Material Adverse Effect” means any event, condition, circumstance, development, or
change or effect that, individually or in the aggregate with all other events, changes, conditions,
circumstances, developments and effects, (a) has had or would reasonably be expected to have a
material adverse effect on the value, operation or condition (financial or otherwise) of the Business
or the Assets or Assumed Liabilities, considered as a whole or (b) has or would reasonably be
expected to prevent or materially impair the ability of the Selling Entities to consummate the
transactions contemplated hereby; provided that, no effect arising from any of the following will
be taken into account in determining whether there has been or would reasonably be expected to
be a Material Adverse Effect under the foregoing clause (a): (i) any change in the United States or
foreign economies, financial markets, credit markets, commodity markets or political conditions;
(ii) any change that generally affects the business or areas in which the Business operates,
including changes in the prices or industry margins of the products sold, and the raw materials
used by, the Business or any increase in operating costs or capital expenses; (iii) any Proceeding
by any Person by reason of, based upon, attributable to, resulting from or arising in connection
with, the negotiation, entry into or consummation of the transactions contemplated by this
Agreement, any other Transaction Document or the Confidentiality Agreement; (iv) any change
arising in connection with hostilities, act of war, civil unrest, cyber-attack, sabotage or terrorism
or military actions or any escalation or worsening of any such hostilities, acts of war, civil unrest,
cyber-attack, sabotage or terrorism or military action; (v) any act of God, hurricane, flood, tornado,
fire, explosion, weather event, earthquake, landslide, other natural disaster, epidemic, plague,
pandemic, other outbreak of illness or public health event (whether human or animal) and any
other force majeure events; (vi) any change or proposed change in Applicable Law or accounting
rules (or the interpretation or enforcement thereof) after the date hereof; (vii) any action taken or
proposed to be taken by Buyer or any of its Affiliates; (viii) any effect resulting from the public
announcement of this Agreement, the negotiation, execution, performance of this Agreement or
the consummation of the transactions contemplated by this Agreement, the identity of Buyer or
any facts or circumstances relating to Buyer or the announcement or other disclosure of Buyer’s
plans or intentions with respect to the conduct of the Business, including the effect of any of the
foregoing on the relationships, contractual or otherwise, of the Business with clients, customers,
employees, suppliers, vendors, service providers or Governmental Authorities (including the
failure to obtain any consents in connection with the transactions contemplated hereby); (ix) any
effect resulting from the filing or continuation of the Bankruptcy Cases, including the Selling
Entities’ inability to pay its obligations as a result of the filing of the Bankruptcy Cases and any
Orders of, or action or omission approved by, the Bankruptcy Court (or any other Governmental
Authority of competent jurisdiction in connection with any such Proceeding); (x) any decline, in
and of itself, in the market price or trading volume of Seller’s common stock (it being understood
and agreed that the foregoing will not preclude Buyer from asserting that any facts or occurrences
giving rise to or contributing to such decline in market price or trading volume that are not
otherwise excluded from the definition of Material Adverse Effect may be taken into account in
determining whether there has been or would reasonably be expected to be a Material Adverse
Effect); (xi) any failure to meet any projections, budgets, forecasts, estimates, plans, predictions,

                                                 10
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 22 of 86




performance metrics or operating statistics (it being understood and agreed that the foregoing will
not preclude Buyer from asserting that any facts or occurrences giving rise to or contributing to
such failure that are not otherwise excluded from the definition of Material Adverse Effect may be
taken into account in determining whether there has been or would reasonably be expected to be a
Material Adverse Effect); (xii) any action taken (or omitted to be taken) at the request or with the
consent of Buyer or any of its Affiliates; (xiii) any action taken (or not taken) by Seller or any of
its Subsidiaries or the Business that is required, expressly contemplated or permitted to be taken
(or not taken) pursuant to this Agreement and (xiv) any matter disclosed on the Disclosure
Schedules or in any filings by Seller or any of its Subsidiaries with the Bankruptcy Court or the
Securities and Exchange Commission prior to the date of this Agreement, or any other matter
known to Buyer as of the date hereof; provided however, that, in the case of clauses (i), (ii), (v)
and (vi), such effects shall be taken into account in determining whether a Material Adverse Effect
has occurred to the extent that any such effects have a disproportionate adverse effect on the
Business, the Assets and the Assumed Liabilities, taken as a whole, as compared to other similarly
situated businesses.

       “Material Contracts” has the meaning set forth in Section 5.09Section 5.10.

      “Multiemployer Plan” means a “multiemployer plan” as defined in Section 3(37) of
ERISA in which any Selling Entity has an interest.

       “Necessary Consent” has the meaning set forth in Section 2.06(i)Section 2.06(i).

       “OPEB” means other post-employment health benefits.

        “Order” means any award, writ, injunction, judgment, stay, temporary restraining order,
order, decree or other restraint entered, issued, made or rendered by any Governmental Authority.

       “Outside Date” has the meaning set forth in Section 12.01(b)(i)Section 12.01(b)(i).

       “Owned Intellectual Property” means all Intellectual Property to the extent owned or
purported to be owned by any Selling Entity and used or held for use exclusively in connection
with the operation of the Business.

       “Owned Real Property” has the meaning set forth in Section 5.13(a)Section 5.13(a).

       “Party” and “Parties” each have the meaning set forth in the introductory paragraph.

       “Party Affiliate” has the meaning set forth in Section 13.12Section 13.12.

        “Patents” means any letters patent, applications for letters patent, statutory invention
registrations, registered designs, and similar or equivalent rights in inventions and designs, and
any reissues, divisionals, continuations, continuations-in-part, reissues, re-examinations, renewals,
provisional, and extensions thereof, including any patents or patent applications in the United
States Patent and Trademark Office, the World Intellectual Property Organization, or any similar
office or agency in any other jurisdiction.



                                                 11
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 23 of 86




        “Pension Plan” means any Seller Benefit Plan (other than any Multiemployer Plan) that is
subject to Title IV of ERISA.

        “Permits” means any approvals, authorizations, consents, licenses, permits, registrations
or certificates of any Governmental Authority.

        “Permitted Encumbrances” means any of the following:

       (a) any rights, obligations, or duties reserved to or vested in any municipality or other
Governmental Authority to: (i) control or regulate any Asset in any manner, including all
Applicable Laws, (ii) purchase, condemn, expropriate, or recapture any Asset, (iii) consent to a
purchase of any Asset, including the Necessary Consents, or (iv) use any Asset in any manner;

        (b) easements, rights-of-way, servitudes, Permits, surface leases, sub-surface leases,
grazing rights, logging rights, ponds, lakes, waterways, canals, ditches, reservoirs, equipment,
pipelines, utility lines, railways, streets, roads, structures and similar rights on, over or in respect
of any of the Assets which, in each case, do not (or would not reasonably be expected to) materially
impair the ownership, operation, use or value of the impacted Asset(s) as currently owned,
operated and used;

        (c) immaterial defects or irregularities of title (i) as to which the relevant statute(s) of
limitations or prescription would bar any attack or claim against any Selling Entity’s title, (ii)
arising out of lack of corporate authorization or a variation in corporate name, or (iii) consisting
of the failure to recite marital status or omissions of heirship proceedings in documents;

        (d) statutory liens or other Encumbrances for Taxes not yet due and payable;

         (e) immaterial materialman’s, mechanic’s, repairman’s, employee’s, contractor’s,
operator’s and other similar Encumbrances (i) arising in the ordinary course of business,
(ii) existing prior to the commencement of the Bankruptcy Cases, or (iii) perfected after the
Petition Date to the extent permitted by section 546(b) of the Bankruptcy Code;[Intentionally
Deleted]

       (f) any undetermined or inchoate liens or charges constituting or securing the payment of
expenses that were incurred incidental to the operation or use of such Asset;[Intentionally Deleted]

        (g) Assumed Liabilities;

        (h) conventional rights of reassignment that have not been triggered at or prior to Closing;

     (i) any other imperfections in title, charges, easements, restrictions, licenses and
Encumbrances that do not materially affect the value or use of the Assets subject thereto;

      (j) Encumbrances arising by, through or under Buyer’s financing for the transactions
contemplated hereby, if any;

        (k) all Necessary Consents;



                                                  12
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 24 of 86




        (l) licenses of Intellectual Property granted in the ordinary course; and

        (m) any Encumbrances that will be released by the Sale Order.; and

        (n) any Encumbrances arising under the DFA APA.

         Person” means any individual, corporation (including any non-profit corporation),
partnership, limited liability company, joint venture, estate, trust, association, organization or other
entity or Governmental Authority.

        “Personal Information” means any information relating to an identified or identifiable
natural person; an “identifiable person” is one who can be identified, directly or indirectly, in
particular by reference to an identification number or to one or more factors specific to his or her
physical, physiological, mental, economic, cultural or social identity, including, unique device or
browser identifiers, names, addresses, telephone numbers, email addresses, social security
numbers, or account information.

        “Petition Date” has the meaning ascribed to such term in the recitals.

       “Post-Closing Covenant” means any covenant to the extent required to be performed by
any Selling Entity or by Buyer, as applicable, under this Agreement following the Closing.

       “Post-Closing Tax Period” means any Tax period beginning on or after the Closing Date
and that portion of a Straddle Period beginning on the Closing Date.

       “Pre-Closing Tax Period” means any Tax period ending before the Closing Date and that
portion of any Straddle Period ending before the Closing Date.

        “Proceeding” means any Claim, action, arbitration, audit, appeal, petition, inquiry,
investigation, complaint, hearing, litigation, suit, or other dispute (whether civil, criminal or
administrative) commenced, brought, conducted, or heard by or before any Governmental
Authority or arbitrator.

       “Property Taxes” means all real property Taxes, personal property Taxes, similar ad
valorem Taxes or other similar periodic Taxes not based on income or receipts.

        “Purchase Price” has the meaning set forth in Section 3.01Section 3.01.

        “Property Tax Credit Amount” means the amount of any Property Taxes that are
assessed on, or in respect of, the Assets and attributable to any Post-Closing Tax Period (or portion
thereof) that were paid by Seller (or any of its Subsidiaries) on or prior to the Closing.

        “Property Tax Debit Amount” means the amount of any Property Taxes that are assessed
on, or in respect of, the Assets and attributable to any Pre-Closing Tax Period (or portion thereof)
that were not paid by Seller (or any of its Subsidiaries) on or prior to the Closing.

      “Property Tax Purchase Price Adjustment” means the difference between the Property
Tax Credit Amount and the Property Tax Debit Amount.


                                                  13
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 25 of 86




       “R&W Insurance Policy” has the meaning set forth in Section 13.12(c)Section 13.12(c).

       “Real Property Interests” has the meaning set forth in Section 2.01(b)(iv)Section
2.01(b)(iv).

       “Records” has the meaning set forth in Section 2.01(b)(vii)Section 2.01(b)(vii).

        “Registered Intellectual Property” has the meaning set forth in Section 5.11(a)Section
5.11(a).

        “Related Party Agreement” means any Contract among any Selling Entity and any of its
Affiliates and applicable to the Business.

        “Release” means any presence, spill, emission, leaking, pumping, pouring, placing,
injection, deposit, disposal, discharge, dispersal, dumping, emptying, migrating, escaping or
leaching into, onto, under or through the environment.

       “Released Parties” has the meaning set forth in Section 13.12(b)Section 13.12(b).

       “Releasors” has the meaning set forth in Section 13.12(b)Section 13.12(b).

       “Representative” means, with respect to a particular Person, any director, officer,
member, manager, partner, employee, agent, consultant, advisor, investor, shareholder, contractor,
subcontractor or other equity holder or representative of such Person, including legal counsel,
accountants and financial advisors.

       “Sale Order” means an Order of the Bankruptcy Court, which Order is substantially in the
form attached hereto as Exhibit E, with such changes as are required by the Bankruptcy Court to
which Seller and Buyer have consented (such consent not to be unreasonably withheld, delayed or
conditioned).

       “Seller” has the meaning set forth in the introductory paragraph.

        “Seller Benefit Plans” any (i) “employee benefit plan” as defined in Section 3(3) of
ERISA (whether or not subject to ERISA), (ii) employment, consulting, severance, termination
protection, change in control, transaction bonus, retention or similar plan, program, policy,
agreement or arrangement or (iii) other plan, agreement, policy, program, or arrangement
providing for compensation, bonuses, profit-sharing, or other forms of incentive or deferred
compensation, vacation benefits, insurance, medical, dental, vision, prescription or fringe benefits,
life insurance, disability or sick leave benefits or post-employment or retirement benefits, in each
case that is sponsored, maintained, contributed to or required to be maintained or contributed to or
entered into by any Selling Entity for the benefit of any current or former Company Employee.

       “Seller Credit Obligations” has the meaning set forth in Section 8.03(c)Section 8.03(c).

        “Seller Related Party” means the Selling Entities and each of their respective
stockholders, partners, members, Affiliates, directors, officers, employees, controlling persons and
agents.

                                                 14
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 26 of 86




       “Seller SEC Document” means, collectively, any form, report, statement, certification or
other document (including all exhibits, amendments and supplements thereto) filed or furnished
by any Selling Entity with the Securities and Exchange Commission since January 1, 2017.

       “Selling Entities” has the meaning set forth in the introductory paragraph.

       “Straddle Period” means any Tax period beginning before and ending on or after the
Closing Date.

        “Subsidiary” means any entity with respect to which a specified Person (or a Subsidiary
thereof) (a) has the power, through the ownership of securities or otherwise, to elect a majority of
the directors or similar managing body or (b) holds a majority of the equity interest; provided that
none of the Specified Entities will be considered a Subsidiary of any Selling Entity for purposes
of this Agreement.

        “Superior Proposal” means any bona fide proposal or offer to or from a Person other than
Buyer or its Representatives with respect to (a) any plan of reorganization or liquidation, proposal,
offer, dissolution, winding up, liquidation, reorganization, merger, consolidation, business
combination, joint venture, partnership, sale of assets or equity interests or restructuring involving
the Assets, or (b) any other direct or indirect acquisition involving the Assets, that, in each case,
the Selling Entities have determined in their business judgment would, if consummated, result in
a transaction superior to the transactions contemplated hereunder.

         “Tax” or “Taxes” (and with correlative meaning, “Taxable”, “Taxation” “Taxing”)
means all federal, state, local or foreign taxes, including all net income, gross receipts, capital,
sales, use, ad valorem, value added, transfer, franchise, profits, inventory, capital stock, license,
withholding, payroll, employment, social security, unemployment, excise, severance, stamp,
occupation, real property, personal property, unclaimed property and estimated taxes or other tax
of any kind whatsoever, including any interest, penalties and additions thereto, whether disputed
or not, and including any obligation to indemnify or otherwise assume or succeed to the tax liability
of any other Person.

      “Tax Authority” means any Governmental Authority charged with the administration of
any Applicable Law relating to Taxes, including the imposition, assessment or collection of Taxes.

       “Tax Return” means any return, declaration, report, estimate, information return and
statement filed or required to be filed in respect of any Taxes (including any attachment thereto or
amendment thereof).

        “Third Party” means any Person other than the Selling Entities, Buyer or any of their
respective Affiliates.

        “Trademarks” means any trademark, trade name, corporate name, business name, domain
name, trade style, trade dress, service mark, logo, source identifier, business identifier, or design
of like nature, and all goodwill associated therewith, any registration of the foregoing, and any
application in connection therewith, including any such registration or application in the United
States Patent and Trademark Office or in any similar office or agency of the United States, any
State thereof, or any other jurisdiction, and all extensions or renewals of any of the foregoing.

                                                 15
     Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 27 of 86




       “Transaction Documents” means this Agreement and any other agreements, instruments
or documents entered into pursuant to this Agreement.

       “Transfer Taxes” has the meaning set forth in Section 8.01(a)Section 8.01(a).

       “Transferred Employees” has the meaning set forth in Section 8.04(a)Section 8.04(a).

       “Trustee” has the meaning set forth in Section 13.14Section 13.14.

       “USDA” means the United States Department of Agriculture.

       Section 1.02. Other Definitions and Interpretive Matters.

       (a)     Unless otherwise expressly provided, for purposes of this Agreement, the following
rules of interpretation will apply:

                 (i)    Calculation of Time Period. When calculating the period of time before
       which, within which or following which any act is to be done or step taken pursuant to this
       Agreement, the date that is the reference date in calculating such period will be excluded.
       If the last day of such period is a day other than a Business Day, the period in question will
       end on the next succeeding Business Day.

               (ii)    Dollars. Any reference in this Agreement to “Dollars” or “$” means United
       States dollars.

               (iii)  Exhibits; Schedules; Disclosure Schedules. All Exhibits, Schedules and
       Disclosure Schedules attached or annexed hereto or referred to herein are hereby
       incorporated in and made a part of this Agreement as if set forth in full herein. Any
       capitalized terms used in any Exhibit, Schedule or Disclosure Schedule but not otherwise
       defined therein will be defined as set forth in this Agreement.

               (iv)    Gender and Number. Any reference in this Agreement to gender includes
       all genders, and words imparting the singular number also include the plural and vice versa.

                (v)    Headings. The provision of a table of contents, the division of this
       Agreement into Articles, Sections and other subdivisions and the insertion of headings are
       for convenience of reference only and will not affect or be utilized in the construction or
       interpretation of this Agreement. All references in this Agreement to any “Section” or
       “Article” are to the corresponding Section or Article of this Agreement unless otherwise
       specified.

              (vi)    Accounting Terms. All accounting terms used in this Agreement and not
       otherwise defined herein have the meanings assigned to them under GAAP.

              (vii)   Herein. Words such as “herein,” “hereof” and “hereunder” refer to this
       Agreement as a whole and not merely to a subdivision in which such words appear, unless
       the context otherwise requires.



                                                16
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 28 of 86




              (viii)   Or. The word “or” when used in this Agreement is not meant to be
        exclusive unless expressly indicated otherwise.

                (ix)    Including. The word “including” or any variation thereof means “including,
        without limitation”, and will not be construed to limit any general statement that it follows
        to the specific or similar items or matters immediately following it.

                 (x)   Statute. Unless otherwise specified, references to a statute means such
        statute as amended from time to time and includes any successor legislation thereto and
        any rules or regulations promulgated thereunder; provided that, for the purposes of the
        representations and warranties set forth herein, with respect to any violation of or non-
        compliance with, or alleged violation of or non-compliance with, any Applicable Law, the
        reference to such Applicable Law means such Applicable Law as in effect at the time of
        such violation or non-compliance or alleged violation or non-compliance.

                (xi)  Contract. References to a Contract mean such Contract as amended from
        time to time.

       (b)    No Strict Construction. Buyer, on the one hand, and the Selling Entities, on the other
hand, participated jointly in the negotiation and drafting of this Agreement, and, in the event an
ambiguity or question of intent or interpretation arises, this Agreement will be construed as jointly
drafted by Buyer, on the one hand, and the Selling Entities, on the other hand, and no presumption
or burden of proof will arise favoring or disfavoring any Party by virtue of the authorship of any
provision of this Agreement. Without limitation as to the foregoing, no rule of strict construction
construing ambiguities against the draftsperson will be applied against any Person with respect to
this Agreement.

                                          ARTICLE 2
                                      PURCHASE AND SALE

        Section 2.01. Purchase and Sale.

       (a)    Upon the terms and subject to the conditions of this Agreement, at the Closing, the
Selling Entities will sell, transfer, assign, convey and deliver, or cause to be sold, transferred,
assigned, conveyed and delivered, to Buyer, and Buyer will purchase, acquire and accept, the
Assets, free and clear of all Encumbrances (other than Permitted Encumbrances).

       (b)    The “Assets” means all right, title and interest of Seller or any of its Subsidiaries in,
to or under all of their respective assets, rights and properties exclusively related to the Facilities,
including the following, but excluding, for the avoidance of doubt, the Excluded Assets:

                  (i)   all plants, offices, and manufacturing, processing, distribution, storage,
        warehousing and other facilities of Seller or any of its Subsidiaries used (or held for use)
        in connection with the ownership or operation of the Business at Seller’s following
        facilities: [Description of specific facilities to be acquired by Buyer]milk processing plant
        and all related real estate and other assets located at High Point, NC with an address of
        1350 West Fairfield, High Point, NC 27263 and the current lease(s) for the branch facility


                                                  17
Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 29 of 86




 located at Chesapeake, VA with an address of 916 Cavalier Boulevard, Chesapeake, VA
 23223 including but not limited to that more specifically described in Exhibit F attached
 hereto and made a part hereof (collectively, the “Facilities”), together with all equipment,
 machinery, vehicles, fixtures, supplies, furniture, leasehold improvements, and other
 personal, movable and mixed property of Seller or any of its Subsidiaries exclusively
 related to the Facilities;

          (ii)   all items of tangible personal property or equipment owned, leased, or used
 (or held for use) by Seller or any of its Subsidiaries and exclusively related to the Facilities;

          (iii)  all inventory in respect of the Business (including raw materials, component
 parts, spare parts, packaging and packaging materials, products in-process and finished
 products) owned or used (or held by Seller or any of its Subsidiaries for use), whether in
 transit to or from Seller or any of its Subsidiaries and whether in Seller’s or any of its
 Subsidiaries’ warehouses, distribution facilities, held by any third parties or otherwise and
 all open purchase orders with suppliers (but excluding any products shipped to third parties
 prior to the Closing Date);

          (iv)   the Owned Real Property, the Leased Real Property and all other rights-of-
 way, surface leases, surface use agreements, easements, real property interests, real rights,
 licenses, servitudes, Permits and privileges owned or held for use by Seller or any of its
 Subsidiaries or hereinafter acquired by Seller or any such Subsidiary prior to Closing, in
 each case, in connection with the Business constituting real property or a real property
 interest, together with the rights, tenements, appurtenant rights and privileges relating
 thereto (in each case, excluding unexpired Leases that are 365 Contracts) (collectively, the
 “Real Property Interests”);

         (v)    (A) each Hedge Contract and (B) all Contracts that constitute, as of the
 Closing, Desired 365 Contracts (collectively, the “Assigned Contracts”);

         (vi)   all transferable Permits of any Governmental Authority and transferable
 Orders of any Governmental Authority (in each such case, whether preliminary or final)
 required of Seller or any of its Subsidiaries for the ownership, operation or use (or held for
 use) of the Assets;

        (vii)    all books, databases, files, records, plans, advertising and promotional
 materials, information, data and other similar items (other than the Excluded Records) in
 Seller’s or any of its Subsidiaries’ possession, whether in written or electronic or any other
 format, including customer and supplier lists, mailing lists, sales and promotional literature,
 other sales related materials to the extent exclusively related to the Assets (collectively, the
 “Records”);

       (viii)   all rights, claims, accounts and causes of action (including warranty and
 similar claims) of Seller or any of its Subsidiaries against Persons (including any of Seller’s
 Subsidiaries) other than any other Selling Entity (regardless of whether or not such claims
 and causes of action have been asserted by the Selling Entities) and all rights of indemnity,
 rights of contribution, rights to refunds, rights of reimbursement and other rights of


                                            18
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 30 of 86




        recovery, including rights to insurance proceeds, possessed by Seller or any of its
        Subsidiaries (regardless of whether such rights are currently exercisable) exclusively
        related to the Assets;

                (ix)    to the extent transferable, all current and prior insurance policies of any of
        Seller or any of its Subsidiaries exclusively related to the Assets or the Assumed Liabilities,
        and all rights and benefits of any of Seller or any of its Subsidiaries of any nature (except
        for any rights to insurance recoveries thereunder required to be paid to other Persons under
        any Order of the Bankruptcy Court relating to any debtor-in-possession financing obtained
        by the Selling Entities) with respect thereto, including all insurance recoveries thereunder
        and rights to assert claims with respect to any such insurance recoveries, in each case to
        the extent they are exclusively related to other Assets, Assumed Liabilities or the operation
        of such other Assets;

                 (x)    the amount of and all rights to any proceeds received by Seller or any of its
        Subsidiaries in respect of (x) the loss, destruction or condemnation of any Assets occurring
        prior to, on or after the Closing or (y) any Assumed Liabilities or the operation of such
        Assets;

                (xi)    all warranty or indemnity claims that may be made against any Person, other
        than Seller or any Affiliate thereof, under any Assigned Contract, in each case, exclusively
        relating to the Assets, or any products or services provided in connection therewith;

                (xii)   all Owned Intellectual Property all rights to assert, defend, sue, and recover
        damages for any past, present and future infringement, misuse, misappropriation,
        impairment, unauthorized use or other violation of any rights in or to any such Owned
        Intellectual Property and any and all corresponding rights that have been, now or hereafter
        may be secured throughout the world with respect to any Owned Intellectual Property;

              (xiii)   [the Seller Benefit Plans set forth on Schedule 2.01(b)(xiii) (the “Assumed
        Plans”), and in each case, all assets held with respect to the Assumed Plans[Intentionally
        Deleted] ;

              (xiv)  the Collective Bargaining Agreements set forth on Schedule 2.01(b)(xiv)
        (the “Assumed CBAs”);]5[Intentionally Deleted]

                (xv)    all goodwill and other intangible assets exclusively related to the Assets,
        including all customer relationships, all rights under any confidentiality agreements
        executed by any third party for the benefit of Seller or any of its Subsidiaries to the extent
        relating to the Assets, and all information and documents related thereto (other than the
        Excluded Records);

              (xvi)  to the extent exclusively related to the Business, all rights of Seller or any
        of its Subsidiaries under non-disclosure or confidentiality, non-compete, or non-

5
 Note to Draft: Parties to discuss whether Buyer desires any Seller Benefit Plans or Collective Bargaining
Agreements, in each case to the extent they are available for assumption


                                                   19
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 31 of 86




       solicitation agreements with any current or former employees, or current or former
       directors, consultants, independent contractors and agents of Seller or any of its
       Subsidiaries or any of their Affiliates or with third parties in respect of the Business;

             (xvii)   all rights to any credits, statements, rebates (including vendor or supplier
       rebates), reimbursement or rights of set off to the extent exclusively related to the Business;

             (xviii)   any rights, claims or causes of action as of the Closing of Seller or any of
       its Subsidiaries relating to or arising against suppliers, vendors, merchants, manufacturers,
       counterparties to leases, counterparties to licenses, and counterparties to any Assigned
       Contracts or Real Property Interests in respect of the Business or the Assets, as applicable;
       and

          (xix)        all prepaid and deferred items, including any royalties, advance payments,
       prepayments, prepaid expenses, prepaid rentals prepaid assets, unbilled charges, fees,
       security and other deposits or the like (excluding prepaid Taxes of Seller or any of its
       Subsidiaries or with respect to the Assets except to the extent taken into account in
       determining Property Tax Credit Amount ), in each case, related to the Assets and made
       by or on behalf of Seller or its Subsidiaries before the Closing Date, to the extent related
       to the period after the Closing.

       Section 2.02. Excluded Assets.

          Notwithstanding the foregoing, nothing herein will be deemed to constitute an agreement
to sell, transfer, assign or convey the Excluded Assets to Buyer, and the Selling Entities will retain
all right, title and interest to, in and under the Excluded Assets. The term “Excluded Assets”
means the following assets, rights and properties of the Selling Entities:

      (a)     Any amounts (including the Purchase Price) paid or payable to Seller or any of its
Subsidiaries pursuant to this Agreement or any other Transaction Document;

       (b)    any shares of capital stock or other equity interest of Seller or any of Seller’s
Subsidiaries or any securities convertible into, exchangeable or exercisable for shares of capital
stock or other equity interest of Seller or any of Seller’s Subsidiaries;

       (c)    all assets, rights, properties and interests to be acquired, or available to be acquired,
under that certain Asset Purchase Agreement dated as of February 16, 2020, by and among Seller,
the Subsidiaries of Seller party thereto and Dairy Farmers of America Inc. (the “DFA
APA”)[Intentionally Deleted];

       (d)    all minute books and other corporate books to the extent relating to a Selling Entity’s
organization or existence, and all stock ledgers, corporate seals and stock certificates of Seller or
any of its Subsidiaries;

       (e)    all Excluded Records;

       (f)    all Excluded Contracts;


                                                  20
         Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 32 of 86




       (g)    all rights to any credits, statements, rebates or reimbursement for any costs borne by
Seller or any of its Subsidiaries or Tax refunds or credits, in each case attributable to any period
(or portion thereof) ending prior to the Closing Date;

       (h)    all rights to any Tax refunds or credits attributable to any period (or portion thereof)
ending on or prior to the Closing Date; and to any refunds or credits with respect to Property Taxes
that are assessed on, or in respect of, the Assets and attributable to any Post-Closing Tax Period
(or portion thereof) that were paid by Seller (or any of its Subsidiaries) except to the extent taken
into account in determining Property Tax Credit Amount;

        (i)   (i) all insurance policies and rights to proceeds thereof that are non-transferable or
solely to the extent they are related to the Excluded Assets, Excluded Liabilities or the operation
of the Excluded Assets and (ii) the assets set forth on Disclosure Schedule 2.02(i)2.02(i);6

         (j)   all cash and cash equivalents (including (w) any cash that (A) is collateralizing any
letters of credit issued pursuant to any credit agreement or facility or (B) held in trust or any trust
account for or on behalf of any Selling Entity, (x) marketable securities, (y) short-term investments
and (z) checks, ACH transactions or other wire transfers or drafts deposited or available for
deposit, and net of issued but uncleared checks or drafts written or issued by any of Seller or its
Subsidiaries) and all Accounts Receivable, in each case, other than any cash or other proceeds
received or to which Buyer is or may be entitled under or pursuant to Sections 2.01(b)(viii),
2.01(b)(x), 2.01(b)(xi) and 2.01(xviii).

       (k)     all bank accounts, safety deposit boxes, lock boxes and securities accounts of Seller
or any of its Subsidiaries and the contents thereof;

         (l)   all outside of the ordinary course of business deposits made or required to be made
by Seller or any of its Subsidiaries to suppliers or customers after the Petition Date as a result of
the filing of the Bankruptcy Cases;

      (m)     all rights, claims or causes of action by or in the right of Seller or any of its
Subsidiaries, on the one hand, against any current or former director or officer of Seller or any of
its Subsidiaries, on the other hand;

     (n)    any rights, claims or causes of action of Seller or any of its Subsidiaries under this
Agreement, any other Transaction Document or the Confidentiality Agreement;

          (o)     each 365 Contract that, as of the Closing, is not designated as a Desired 365 Contract;

          (p)     the proceeds of the sale of any Excluded Assets;

       (q)   all avoidance actions or similar causes of action arising under sections 544 through
553 of the Bankruptcy Code related to the Assets, including any proceeds thereof (the “Avoidance
Actions”);



6
    Note to Draft: Schedule to include Seller’s existing D&O policy.


                                                          21
       Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 33 of 86




        (r)     all assets held with respect to all Seller Benefit Plans that are not Assumed Plans;
and

        (s)     those other properties and assets described on Disclosure Schedule 2.02(s)(s).7

        (t)   Seller Benefit Plans, including but not limited to Pension Plans, within the meaning
of Section 1.01 of this Agreement.

     (u)   Collective Bargaining Agreements within the meaning of Section 1.01 of this
Agreement.

        (v)     Ray milk supply agreements.



         Section 2.03. Assumed Liabilities.

       Upon the terms and subject to the conditions of this Agreement, at the Closing, Buyer will
assume and agree to discharge, when due (in accordance with their respective terms and subject to
the respective conditions thereof), the following Liabilities (collectively, the “Assumed
Liabilities”):

       (a)   Generally. All Liabilities arising from the ownership or operation of the Business or
the Assets by Buyer at and after the Closing (including all Liabilities for Taxes arising from the
ownership or operation of the Assets by Buyer on or after the Closing Date and the amount of any
Property Taxes attributable to a Straddle Period as determined pursuant to Section 8.01(b)Section
8.01(b));

        (b)   Assigned Contracts. All of the Selling Entities’ Liabilities under the Assigned
Contracts (other than the Hedge Contracts), to the extent arising or attributable to any period after
the Closing or arising on or prior to the Closing to the extent requiring non-monetary performance
after the Closing;

       (c)    [Intentionally Deleted] Hedge Contracts. All of Seller’s and its Subsidiaries’
Liabilities under the Hedge Contracts, to the extent arising or attributable to any period after the
Closing, including Liability for any termination or similar payments relating thereto;

      (d)    Cure Costs. All Cure Costs required to be paid by Buyer pursuant to Section
2.05Section 2.05;

      (e)    Taxes. 100% of the Transfer Taxes and all Taxes taken into account in determining
Property Tax Debit Amount;

       (f)   Transferred Employees; Assumed Plans; Assumed CBAs. All Liabilities (i) owed to
any Transferred Employee or (ii)(i) arising under any Assumed Plans and Assumed CBAs, in each

7
 Note to Draft: Schedule 2.02(s) to include certain of Seller’s closed and/or inactive plants for which sale transactions
are already pending.


                                                          22
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 34 of 86




case, to the extent arising or attributable to any period after the Closing or arising on or prior to
the Closing to the extent requiring performance after the Closing; and

       (g)     Environmental. All Liabilities relating to the Assets or the Business arising from or
relating to any Environmental, Health and Safety Laws or the presence or Release of any
Hazardous Substance at, on, under or migrating from any Assets, to the extent arising or
attributable to any period at or after the Closing.

       Section 2.04. Excluded Liabilities.

        Notwithstanding anything herein to the contrary, Buyer will not assume and will not be
obligated to assume or be obliged to pay, perform or otherwise discharge or in any other way be
liable or responsible for any Liability of Seller or any of its Subsidiaries other than the Assumed
Liabilities (such Liabilities, collectively, the “Excluded Liabilities”).

       Section 2.05. Cure Costs; Desired 365 Contracts.

       (a)    Disclosure Schedule 2.05(a)2.05(a) sets forth a complete list as of the date hereof of
all 365 Contracts that Buyer intends to assume at the Closing (the “Desired 365 Contracts”).
Upon Closing, subject to the terms and conditions hereof, Seller or its Subsidiaries, as applicable
will assign the Desired 365 Contracts to Buyer, and Buyer will assume all Liabilities pursuant
thereto and will pay or cause to be paid, pursuant to Section 365 of the Bankruptcy Code and the
Sale Order, all Cure Costs relating thereto as and when finally determined by the Bankruptcy Court
pursuant to the procedures set forth in the Sale Order.

      (b)      At any time prior to the Closing Date, but only to the extent consistent with the
Bidding Procedures Order and the Bidding Procedures, Buyer will have the right, in consultation
with Seller, to provide written notice to Seller of Buyer’s election to:

                (i)    designate a 365 Contract (including any 365 Contract that is a Desired 365
       Contract immediately before such designation, and excluding, for the avoidance of doubt,
       the Hedge Contracts) as an Excluded Contract, and upon such designation such 365
       Contract will constitute an Excluded Contract and Excluded Asset (and, if applicable, will
       cease to constitute an Asset); and

               (ii)   designate a 365 Contract as a Desired 365 Contract, and upon such
       designation such 365 Contract will constitute an Asset and Assigned Contract and will be
       conveyed to Buyer under this Agreement at Closing (and, if applicable, will cease to
       constitute an Excluded Asset), so long as (A) such 365 Contract is added to the Assigned
       Contracts prior to the entry of any Order of the Bankruptcy Court approving the rejection
       of such 365 Contract, and (B) the assumption and assignment has been or is approved by
       the Bankruptcy Court (including through the Sale Order).

      (c)     To the extent that Buyer makes a valid designation with respect to any 365 Contracts
pursuant to clause (b)(b) above, the applicable Exhibits and Schedules to this Agreement will be
deemed to have automatically been updated (without action of any Party or Person) to reflect such
designation.


                                                 23
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 35 of 86




      (d)    If Buyer exercises its rights in clause (b)(b) above to designate a 365 Contract as a
Desired 365 Contract or as an Excluded Asset (as the case may be), then the Parties acknowledge
and agree that there will be no increase or reduction in the Cash Purchase Price as a result of such
designation or change in designation, nor will there be any delay to the Closing.

        Section 2.06. Assignment of Assets Subject to Consent Requirements.

        Notwithstanding any other provision of this Agreement to the contrary, this Agreement
will not constitute an agreement to assign or transfer and will not implement the assignment or
transfer of any Asset if (i) an attempted assignment or transfer thereof, without the approval,
authorization or consent of, or granting or issuance of any license or Permit by, any Third Party
thereto (each such action, a “Necessary Consent”), would constitute a breach thereof or of any
Applicable Law or Order or in any way adversely affect the rights of Buyer thereunder, (ii) such
Necessary Consent has not been obtained and (iii) the Bankruptcy Court has not entered an Order
providing that such Necessary Consent is not required. In such event, subject to the terms and
conditions hereof, the Closing will proceed with respect to the remaining Assets, and there will be
no reduction in the Purchase Price as a result thereof, and, for a period of 6 months after the Closing
Date, (A) Seller and Buyer will use their respective commercially reasonable efforts to obtain the
Necessary Consents with respect to any such purchased Asset or any claim or right or any benefit
arising thereunder for the assignment or transfer thereof to Buyer as Buyer may reasonably request;
provided that Seller will not be obligated to pay any consideration or grant any accommodation
therefor to any Third Party from whom consent or approval is requested or to initiate any
Proceedings to obtain any such consent or approval; and (B) Seller and Buyer will cooperate in a
mutually agreeable arrangement, to the extent feasible and without the need for any Necessary
Consent , under which Buyer would obtain the benefits and assume the obligations under such
purchased Assets in accordance with this Agreement, including subcontracting, sub-licensing, or
sub-leasing to Buyer, or under which the Selling Entities would enforce their rights thereunder for
the benefit of Buyer with Buyer assuming each applicable Selling Entities’ obligations thereunder.

        Section 2.07. Misallocated Assets.

        Subject to Section 2.06Section 2.06, if after the Closing (i) Buyer or any of its Subsidiaries
holds any Excluded Assets or Excluded Liabilities or (ii) Seller or any Subsidiary of Seller holds
any Assets or Assumed Liabilities, Buyer, Seller or the applicable Subsidiary of Seller will
promptly transfer (or cause to be transferred) such assets or assume (or cause to be assumed) such
Liabilities to or from (as the case may be) the other Party. Prior to any such transfer, the Party
receiving or possessing any such asset will hold it in trust for the benefit of such other Party.

        Section 2.08. Further Assurances.

        From time to time following the Closing, the Parties will execute, acknowledge and deliver
all such further conveyances, notices, assumptions, assignments, releases and other instruments,
and will take such further actions, as may be reasonably necessary or appropriate to assure fully to
Buyer and its respective successors or assigns, all of the properties, rights, titles, interests, estates,
remedies, powers and privileges intended to be conveyed to Buyer under this Agreement and to
assure fully to Selling Entities and their respective successors and assigns, the assumption of the
Assumed Liabilities intended to be assumed by Buyer under this Agreement, and to otherwise


                                                   24
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 36 of 86




make effective the transactions contemplated hereby; provided that nothing in this Section
2.08Section 2.08 will prohibit Seller or any Subsidiary of Seller from ceasing operations or
winding up its affairs following the Closing.

       Section 2.09. Withholding.

       Buyer shall be entitled to deduct and withhold from the consideration otherwise payable
pursuant to this Agreement to any Selling Entity or any other Person such amounts as Buyer is
required to deduct and withhold under the Code, or any Tax law, with respect to the making of
such payment. To the extent that amounts are so withheld and paid to the applicable Governmental
Authority, such withheld amounts shall be treated for all purposes of this Agreement as having
been paid to the Person in respect of whom such deduction and withholding was made.

                                           ARTICLE 3
                                        PURCHASE PRICE

       Section 3.01. Purchase Price.

        The aggregate purchase price for the purchase, sale, assignment and conveyance of the
Selling Entities’ respective right, title and interest in, to and under the Assets will consist of the
following (collectively, the “Purchase Price”):

        (a)    An amount in cash equal to Eighteen Million One Hundred Twenty-Nine Thousand
and No/100 Dollars ($18,129,000.00)[●] (the “Cash Purchase Price”), plus the Property Tax
Purchase Price AmountAdjustment and subject to other typical Closing adjustments such as for
utilities, inventory, etc;

       (b)    the assumption of the Assumed Liabilities; and

       (c)    Cure Costs (to the extent payable under Section 2.05Section 2.05).

       The Purchase Price will be delivered by Buyer as set forth in Section 4.02Section 4.02.

        Section 3.02. Good Faith Deposit. Buyer has deposited into the Deposit Escrow Account
with the Escrow Agent an amount equal to One Million Two Hundred Sixty-Nine Thousand Thirty
and No/100 ($1,269,030.00) $[10%(i.e., 7% of the Cash Purchase Price)] (such amount, the
“Deposit Amount”) in cash. The Deposit Amount will be released by the Escrow Agent and
delivered to either Buyer or Seller, in accordance with the Bidding Procedures. The Deposit
Amount will be distributed out of the Deposit Escrow Account as follows (and Buyer and the
Selling Entities agree to promptly deliver joint written instructions to the Escrow Agent to the
extent required by the Escrow Agent to effect such distributions as and when required hereunder):

      (a)    if the Closing occurs, the Deposit Amount will be delivered to Seller and applied
towards the amount payable by Buyer pursuant to Sections 3.013.01 and 4.024.02;

      (b)     if this Agreement is terminated by Seller pursuant to Section 12.01(d)Section
12.01(d) or (e)(e), the Deposit Amount will be delivered to Seller within two Business Days after


                                                 25
        Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 37 of 86




such termination by wire transfer of immediately available funds to the accounts designated in
writing by Seller; and

       (c)   if this Agreement is terminated for any reason other than by Seller pursuant to
Section 12.01(d)Section 12.01(d) or (e)(e), the Deposit Amount will be returned to Buyer within
two Business Days after such termination by wire transfer of immediately available funds to the
accounts designated in writing by Buyer.

                                             ARTICLE 4
                                             CLOSING

         Section 4.01. Closing Date.

        Subject to the satisfaction of the conditions set forth in Article 9Article 9, Article 10Article
10 and Article 11Article 11 hereof (or the waiver thereof by each Party entitled to waive that
condition), the closing of the sale of the Assets and the assumption of the Assumed Liabilities
contemplated hereby (the “Closing”) will take place remotely via the exchange of electronic
documents and signatures by electronic mail on the date that is two Business Days after the
satisfaction or waiver of the conditions set forth in Article 9Article 9, Article 10Article 10 and
Article 11Article 11 (other than conditions that by their nature are to be satisfied at the Closing,
but subject to the satisfaction or waiver of such conditions), unless another place, date or time is
agreed to in writing by the Selling Entities and Buyer; provided, however, that Closing shall not
occur later than the Outside Date (hereinafter defined in Section 12.01(b)(i). The date and time at
which the Closing actually occurs is hereinafter referred to as the “Closing Date.” For purposes
of this Agreement, from and after the Closing, the Closing shall be deemed to have occurred at
12:01 am (prevailing Eastern Time) on the Closing Date.

         Section 4.02. Payments on the Closing Date.

        At the Closing, Buyer will pay an amount equal to the Cash Purchase Price in cash by wire
transfer of immediately available funds to the accounts designated in writing by Seller at least
three Business Days prior to the Closing Date.

         Section 4.03. Buyer’s Deliveries.

       At the Closing, Buyer will deliver or cause to be delivered to Seller (or such other Persons
where so designated):

        (a)    the payments required to be made at the Closing pursuant to Section 4.02Section
4.02;

       (b)    a Master Assignment and each other Transaction Document to which Buyer is a
party, duly executed (and acknowledged, where applicable) by Buyer; and

       (c)   the certificates of Buyer to be received by Seller pursuant to Section 11.01Section
11.01 and Section 11.02Section 11.02.

         Section 4.04. The Selling Entities’ Deliveries.

                                                  26
       Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 38 of 86




         At the Closing, the Selling Entities will deliver to Buyer:

       (a)    a Master Assignment and each other Transaction Document to which a Selling Entity
is a party (including letters-in-lieu of transfer orders), duly executed (and acknowledged, where
applicable) by such Selling Entity;

      (b)    the certificates of the Selling Entities to be received by Buyer pursuant to Section
9.01Section 9.01 and Section 9.02Section 9.02;

        (c)     a copy of the Sale Order as entered by the Bankruptcy Court;

      (d)    possession of each Owned Real Property, together with duly executed special
warranty deeds for each Owned Real Property conveying fee simple title in such Owned Real
Property to Buyer, subject only to Permitted Encumbrances; and

        (e)    a certificate of non-foreign status of each Selling Entity (or, if such Selling Entity is
a disregarded entity within the meaning of Treasury Regulations Section 1.1445-2(b)(2)(iii), the
entity that is treated as the transferor of property for U.S. federal income tax purposes) meeting
the requirements of Treasury Regulation Section 1.1445-2(b)(2).

                                   ARTICLE 5
               REPRESENTATIONS AND WARRANTIES OF SELLING ENTITIES8

        Except as (i) disclosed in any Seller SEC Document filed and publicly available as of the
date hereof (but excluding any such disclosure set forth in any section thereof entitled “Risk
Factors” or in any “forward-looking statements” section thereof that is cautionary, forward-
looking or predictive in nature set forth therein, in each case other than any specific historical
factual information contained therein, which will not be excluded), (ii) disclosed in connection
with the Bankruptcy Cases or (iii) set forth in the Disclosure Schedules, each Selling Entity jointly
and severally represents and warrants to Buyer, as of the date hereof and as of the Closing Date,
as follows:

         Section 5.01. Organization and Good Standing.

        Seller and each Subsidiary of Seller is an entity duly organized, validly existing and in
good standing under the laws of the jurisdiction of its organization. Subject to the limitations
imposed on Seller or any such Subsidiary as a result of having filed a petition for relief under the
Bankruptcy Code, Seller and each such Subsidiary has the requisite power and authority to own
or lease and to operate and use its properties and to carry on its business as now conducted. Seller
and each Subsidiary of Seller is duly qualified, licensed or otherwise authorized to do business and
is in good standing in each jurisdiction where the character of its business or the nature of its
properties makes such qualification, licensing or authorization necessary, except for such failures




8
  Note to Draft: As a general matter, Seller reserves the right to modify certain representations as necessary to tailor
to the specific Assets that Buyer proposes to acquire.


                                                          27
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 39 of 86




to be so qualified, licensed, authorized or in good standing as would not, individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect.

       Section 5.02. Authority; Validity.

        Subject to entry of the Sale Order and such other authorization as is required by the
Bankruptcy Court, each Selling Entity has the requisite power and authority necessary to enter
into, deliver and perform its respective obligations under this Agreement and the other Transaction
Documents to which it is a party and to consummate the transactions contemplated hereby and
thereby, and the execution, delivery and performance of this Agreement and such other
Transaction Documents and the consummation by such Selling Entity of the transactions
contemplated herein and therein have been duly and validly authorized and approved by the board
of directors or other governing body, as applicable, of such Selling Entity and no other corporate
proceedings on the part of such Selling Entity or vote of such Selling Entity’s stockholders or
members are necessary to authorize the execution and delivery by such Selling Entity of this
Agreement and the consummation of the transactions contemplated hereby. This Agreement has
been duly and validly executed and delivered by such Selling Entity and each other Transaction
Document required to be executed and delivered by such Selling Entity at the Closing will be duly
and validly executed and delivered by such Selling Entity at the Closing. Subject to entry of the
Sale Order and assuming the due authorization, execution and delivery by the other Parties, no
other action on the part of such Selling Entity, its Affiliates or their respective Representatives is
necessary to authorize this Agreement or the other Transaction Documents to which such Selling
Entity is or will be a party and this Agreement and such other Transaction Documents, when so
executed and delivered, will constitute the legal, valid and binding obligations of such Selling
Entity, enforceable against such Selling Entity in accordance with their respective terms, and,
except in each case as such enforceability may be limited by applicable bankruptcy, insolvency,
reorganization, fraudulent conveyance, moratorium or other similar Applicable Laws affecting the
enforcement of creditors’ rights generally and by general principles of equity, including principles
of commercial reasonableness, good faith and fair dealing, regardless of whether such principles
are considered in a proceeding at law or in equity.

       Section 5.03. Governmental Approvals; No Conflict.

         Except for (a) entry of the Sale Order and/or the Bidding Procedures Order, (b) notices,
filings and consents required in connection with the Bankruptcy Cases, (c) any applicable notices,
filing, consents or approvals under any applicable antitrust, competition or trade regulation or other
Applicable Laws, including the HSR Act, and (d) items listed on Disclosure Schedule 5.035.03, if
any, none of the Selling Entities is required to give any notice to, make any filing with or obtain
any consent from any Person (including any Governmental Authority) in connection with the
execution and delivery by such Selling Entity of this Agreement and the other Transaction
Documents to which it is or will be a party or the consummation or performance by such Selling
Entity of any of the transactions contemplated hereby and thereby, except as would not,
individually or in the aggregate, reasonably be expected to have a Material Adverse Effect. When
the consents and other actions described in the preceding sentence, including entry of the Sale
Order, have been obtained and taken, the execution and delivery by the Selling Entities of this
Agreement and the other Transaction Documents to which such Selling Entity is or will be a party
and the consummation of the transactions provided for herein and therein will not result in the

                                                 28
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 40 of 86




breach or violation of any of the terms and provisions of, or constitute a default (with or without
notice or lapse of time or both) under, or conflict with, or cause any acceleration of any obligation
of any Selling Entity under (i) the certificate of incorporation, bylaws or other governing
documents of such Selling Entity, (ii) any Order applicable to such Selling Entity or any of the
Assets owned or held by it or on its behalf, (iii) any Applicable Law, or (iv) require any consent
under, or give any third party any rights of termination, amendment, suspension, revocation or
cancellation of, any note, bond, mortgage or indenture, Material Contract, agreement, lease,
sublease, license, Permit, franchise or other instrument or arrangement to which any of the Selling
Entities is a party as of the Closing and which constitutes an Asset or Assumed Liability, or result
in the creation of any Encumbrance (other than a Permitted Encumbrance) as of the Closing on
any of the Assets, except to the extent that any such rights of termination, amendment, acceleration,
suspension, revocation or cancellation as a result of such Encumbrance will not be (x) material or
(y) enforceable against such Asset or Assumed Liability following the Closing in accordance with
the Sale Order.

       Section 5.04. Seller SEC Documents.

              (a)        All of the Seller SEC Documents (i) as of its date, complied as to form in
all material respects with the applicable requirements of the United States Securities Act of 1933,
as amended, and the rules and regulations promulgated thereunder (the “Securities Act”), or the
United States Securities Exchange Act of 1934, as amended, and the rules and regulations
promulgated thereunder (the “Exchange Act”), as the case may be, as in effect on the date so filed,
(ii) did not, at the time it was filed (or, if subsequently amended or supplemented, at the time of
such amendment or supplement), contain any untrue statement of a material fact or omit to state a
material fact required to be stated therein or necessary in order to make the statements made
therein, in the light of the circumstances under which they were made, not misleading, and (iii) to
the extent they contained consolidated financial statement of Seller, such financial statements were
prepared in accordance with GAAP applied on a consistent basis throughout the periods indicated
(except as may be indicated in the notes thereto and in the case of unaudited quarterly financial
statements, as permitted by Form 10-Q under the Exchange Act).

             (b)       Except for matters disclosed in the Seller SEC Documents (excluding any
“risk factors” or forward looking statements or similar disclosure contained therein), since January
1, 2017, no Material Adverse Effect has occurred.

       Section 5.05. No Undisclosed Material Liabilities.

        As of the date hereof, there are no material Liabilities (whether accrued, absolute,
contingent or otherwise) of the Business, other than (a) Liabilities incurred in the ordinary course
of business since the Petition Date; (b) Liabilities incurred in connection with the transactions
contemplated by this Agreement or disclosed in Disclosure Schedule 5.055.05; and (c) Liabilities
that will constitute Excluded Liabilities.

       Section 5.06. Absence of Certain Changes.

       From the Petition Date, the Business has been conducted, and the Assets have been
maintained and operated, in the ordinary course and consistent in all material respects with past


                                                 29
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 41 of 86




practices and there has not been any event, occurrence, development or state of circumstances or
facts that has had or would reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect.

        Section 5.07. Legal Proceedings.

        Except for the Bankruptcy Cases and any adversary Proceedings or contested motions
commenced in connection therewith, after giving effect to the Sale Order, there is no Proceeding
or Order pending, outstanding or, to the Knowledge of each Selling Entity, threatened by any
Person, relating to the Business, the Assets or Assumed Liabilities (a) that is material to the
Business or that would reasonably be expected to give rise to any material Liability of Buyer or be
materially adverse to the ownership or use by Buyer of the Assets after the Closing, as such Assets
are presently owned and used (or held for use) by Seller and/or its Subsidiaries, as applicable, (b)
that would challenge the validity or enforceability of the obligations of any Selling Entity under
this Agreement and the other Transaction Documents to which it is or will be a party or (c) that is
against any Selling Entity and seeks to prevent, restrain, materially delay, prohibit or otherwise
challenge the consummation, legality or validity of the transactions contemplated hereby or by any
of the other Transaction Documents. There is no Order enjoining any Selling Entity from engaging
in or continuing any conduct or practice, or requiring such Selling Entity to take any material
action, in connection with the ownership, lease, possession, use or operation of the Assets owned
or held by such Selling Entity, and such Selling Entity is not, nor are any of its respective Affiliates,
is subject to any outstanding Order relating to the Business, the Assets, or Assumed Liabilities
other than, in each case, Orders of general applicability.

        Section 5.08. Compliance with Laws; Permits.

       (a)   The ownership and operation of the Business or the Assets by the Selling Entities is
and since January 1, 2017, has been, in material compliance with all Applicable Laws.

       (b)    The Selling Entities have obtained and maintained all necessary material Permits
with regard to the ownership or operation of the Assets and the conduct of the Business, (ii) no
Selling Entity has received written notice of material default under any such Permit and (iii) no
material violations exist in respect of Permits, except for such non-compliance and such facts,
conditions or circumstances, the subject of which have been finally resolved.

        Section 5.09. Food Safety Matters.

        Except as otherwise set forth on Disclosure Schedule 5.095.09, the Business is, and has
been since January 1, 2017, conducted in material compliance with all Applicable Laws related to
the development, cultivation, manufacture, production, import, export, packaging, packing,
labeling, handling, storage, transportation, distribution, purchase, sale, advertising or marketing of
food and related products (collectively, “Applicable Food Safety Laws”). Without limiting the
generality of the immediately preceding statement, except as otherwise set forth on Disclosure
Schedule 5.095.09:

       (a)   no Selling Entity has sold or distributed any Food and Beverage Products, and there
are not any Food and Beverage Products currently in inventory, which are or were “adulterated,”


                                                   30
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 42 of 86




“misbranded,” or otherwise violative in any material respect within the meaning of the FDC Act,
and/or under any other Applicable Food Safety Law;

       (b)     all of the operations of the Business are and have been in material compliance with
all Applicable Laws issued or implemented by the FDA, USDA, FTC and/or any other comparable
Governmental Authority, including those related to recordkeeping, prior notice of imported food,
food safety, hazard analysis and preventive controls, sanitary transportation, food additives, food
contact substances, supplier verification, food facility registration, current good manufacturing
practices, allergen control, and food labeling and advertising;

       (c)    no Selling Entity has been subject to any inspection identifying critical violations of
Applicable Food Safety Laws, FDA Form 483, warning letter, untitled letter, finding of deficiency,
investigation, or any other compliance or enforcement Proceeding, or other correspondence or
notice alleging or asserting material noncompliance with any Applicable Food Safety Laws or
Permit, from or by any Governmental Authority with respect to the Business, nor are there any
such Proceedings pending or threatened in writing;

       (d)    since January 1, 2017, no Selling Entity has received any material written, oral or
other notice from the FDA, USDA, FTC or any other comparable Governmental Authority in
connection with any Food and Beverage Product manufactured, sold or distributed by or on behalf
of the Business;

      (e)    since January 1, 2017, no Selling Entity has been excluded, suspended or debarred
from participation under any government program with respect to the Business pursuant to any
Applicable Food Safety Law;

        (f)   since January 1, 2017, there have been no recalls, withdrawals, field notifications or
other notices of action relating to any lack of safety or regulatory compliance of or regarding any
Food and Beverage Product cultivated, manufactured, produced, packaged, labeled, distributed or
sold by or on behalf of the Business, whether ordered by a Governmental Authority or undertaken
voluntarily by any Selling Entity, and there have been no claims or other instances of the presence
of or exposure to any food contaminants or adulterants, food borne pathogens, food poisoning,
pests, or other Hazardous Substance in or related to any such products, nor any other food-related
conditions with respect to the Business;

       (g)     each Food and Beverage Product cultivated, manufactured, produced, packaged,
labeled, distributed or sold by or on behalf of the Business conforms in all material respects to any
promises, claims or affirmations of fact made on the container or label for such product or in
connection with its distribution or sale (including, without limitation, all nutrition facts, ingredient
statements, nutrient content claims, structure/function claims, health claims and to the extent that
such products are being marketed as such, “non-GMO,” “fresh,” “organic,” “all natural,”
“sustainable,” “U.S. grown,” “made with natural ingredients,” “gluten free,” “made with rBST-
free milk,” “kosher,” “all natural,” “no corn syrup,” “no artificial colors, flavors, or sweeteners,”
“nutritious” or with similar claims) and the Selling Entities possess appropriate certifications or
scientifically reliable materials to substantiate all such promises, claims and affirmations of fact;
and



                                                  31
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 43 of 86




       (h)     each Food and Beverage Product cultivated, manufactured, produced, packaged,
labeled, distributed or sold by or on behalf of the Business complies in all material respects with
FDA’s requirements in Title 21 of the Code of Federal Regulations section 100.100 for
nonfunctional slack fill and with any other similar state or local requirements, and no Selling Entity
has received any correspondence from any Governmental Authority alleging that any Food and
Beverage’s container and/or packaging is deceptive because of nonfunctional slack fill.

       Section 5.10. Material Contracts.

      (a)    Disclosure Schedule 5.105.10 sets forth a complete list of 365 Contracts (or in the
case of Disclosure Schedule 5.105.10(a)(ii)(A) and 5.105.10(a)(ii)(B), counterparties to 365
Contracts) identified as of the date hereof that fall within the following categories (collectively,
the “Material Contracts”):

                (i)    any material lease or sublease of real property included as an Asset (whether
       a Selling Entity is lessor, sublessor, lessee or sublessee);

               (ii)   other than purchase orders issued in the ordinary course of business, any
       Contract for the purchase or supply of goods or services providing for either (A) annual
       payments by the Business of $5,000,000 or more; or (B) annual receipts by the Business
       of more than $10,000,000 in any calendar year;

              (iii)   any partnership agreement, joint venture agreement, strategic alliance,
       stockholders’ agreement or limited liability company agreement;

               (iv)    any Contract relating to the acquisition or disposition of any material
       business (whether by merger, sale of stock, sale of assets or otherwise) pursuant to which
       a Selling Entity or Buyer would have continuing obligations applicable to the Business or
       the Assets following the date of this Agreement;

              (v)   any Contract where the Business is, and Buyer would be required to
       become, obligor or guarantor relating to indebtedness, except for any Related Party
       Agreements;

              (vi)    any Contract containing covenants expressly limiting, individually or in the
       aggregate, in any material respect the freedom of the Business or Assets to compete with
       any Person in a product or line of business or operate in any jurisdiction;

               (vii)   any Hedge Contract;

             (viii)   any Contract that contains exclusivity, requirements or similar provisions
       binding on the Business or the Assets;

              (ix)    any Contract containing “most favored nation” provisions applicable to the
       Business or the Assets;

                (x)    each Collective Bargaining Agreement that is an Assumed CBA;


                                                 32
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 44 of 86




               (xi)    any Contract pursuant to which any of Selling Entity (A) licenses or is
       otherwise permitted by a third party to use any Intellectual Property material to the
       Business (other than any “shrink wrap,” “commercially available software package” or
       “click through” license that is generally available on and actually licensed under standard
       terms) or (B) licenses any material Owned Intellectual Property to a third party (other than
       any non-exclusive licenses granted in the ordinary course of business); or

               (xii)   any Related Party Agreement.

       (b)    Except as would not, individually or in the aggregate, reasonably be expected to
materially affect value ascribed to the Material Contracts, each Material Contract is a legal, valid
and binding obligation of the Selling Entity party thereto and, to the Knowledge of each Selling
Entity, the other parties thereto in accordance with its terms and conditions, and is enforceable
against such Selling Entity except as such legality, validity and enforceability may be limited by
(i) bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium or other similar
laws affecting the enforcement of creditors’ rights generally, (ii) equitable principles of general
applicability (whether considered in a proceeding at law or in equity), and (iii) the obligation to
pay Cure Costs. No event has occurred which, with the passage of time or the giving of notice, or
both, would constitute a material default under or a material violation of any Material Contract or
would cause the acceleration of any obligation of any Selling Entity or, to the Knowledge of each
Selling Entity, any other party thereto or the creation of a lien upon any Asset.

       Section 5.11. Intellectual Property.

        (a)    Disclosure Schedule 5.11(a)5.11(a) sets forth a list of all registrations and
applications for registration of the Owned Intellectual Property as of the date hereof (collectively,
“Registered Intellectual Property”), setting forth for each item (i) the record owner, and, if
different, the legal owner and beneficial owner of such item; (ii) the jurisdiction in which such
item is issued, registered or pending; (iii) the issuance, registration, filing or application date and
serial or identification number of such item; and (iv) for domain names, the extension and
jurisdiction (if any). The Registered Intellectual Property (A) has not been abandoned, canceled
or otherwise compromised; (B) has been maintained effective by all requisite filings and renewals;
and (C) remains in full force and effect.

       (b)    The Selling Entities are the sole and exclusive owner of the Owned Intellectual
Property free and clear of all Encumbrances (other than Permitted Encumbrances). The Registered
Intellectual Property is subsisting and, to the Knowledge of each Selling Entity, valid and
enforceable. Except as limited by Section 365(c)(1)(A) of the Bankruptcy Code, the Selling
Entities have a right to use, all material Intellectual Property (other than Owned Intellectual
Property) used or held for use in connection with the operation of the Business by the Selling
Entities (the “Licensed Intellectual Property”) as currently conducted, free and clear of all
Encumbrances (other than Permitted Encumbrances). To the Knowledge of each Selling Entity,
the Owned Intellectual Property together with the Licensed Intellectual Property constitute all of
the Intellectual Property necessary for the operation of the Business as currently conducted in all
material respects (it being understood that the foregoing is not a representation or warranty
regarding infringement, misappropriation or other violation of any Intellectual Property of any
Person).

                                                  33
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 45 of 86




       (c)    No Proceedings are pending or, to the Knowledge of each Selling Entity, threatened
against any Selling Entity before a Governmental Authority with regard to the ownership or use
by any Selling Entity of any Owned Intellectual Property or the validity, scope or enforceability
of any Registered Intellectual Property. To the Knowledge of each Selling Entity, the operation
of the Business by the Selling Entities does not infringe, misappropriate or otherwise violate, and,
since January 1, 2017, has not infringed, misappropriated or otherwise violated, any Intellectual
Property of any Person in any material respect. No Selling Entity has received any written notice
since January 1, 2017 alleging that the operation of the Business by any Selling Entity infringes,
misappropriates, or otherwise violates the Intellectual Property of any other Person. To the
Knowledge of each Selling Entity, no Person is infringing, misappropriating or otherwise violating
any Owned Intellectual Property and no such Proceedings are currently being asserted or
threatened in writing against any Person by any Selling Entity.

       (d)    The Selling Entities have taken commercially reasonable steps to protect and
maintain any material trade secrets and know-how included in the Owned Intellectual Property,
and, to the Knowledge of each Selling Entity, there are no unauthorized uses or disclosures of any
such trade secrets or know-how.

      (e)    Except as set forth in Disclosure Schedule 5.11(e)5.11(e), no Selling Entity owns
any proprietary software that is used or held for use in connection with the operation of the
Business.

        (f)    The information technology systems owned or controlled by each Selling Entity in
connection with the Business (the “Business IT Assets”) (i) operate and perform and have been
maintained, in each case, in all material respects in accordance with their documentation and
functional specifications and otherwise as required for the conduct of the Business as currently
conducted in all material respects; (ii) have not malfunctioned or failed in any material respect;
and (iii) do not contain any Malicious Code in any material respect. Each Selling Entity has taken
technical, physical and organizational steps commercially reasonable in accordance with
customary industry standards and practices to protect the confidentiality, integrity and security of
Business IT Assets (and all information and transactions stored or contained therein or transmitted
thereby) from Malicious Code, unauthorized use, access, interruption, modification or corruption.
Each Selling Entity has in place commercially reasonable data backup, data storage, system
redundancy and disaster avoidance recovery plans, as well as a commercially reasonable business
continuity plan, in each case consistent with customary industry practices. Since January 1, 2017,
to the Knowledge of each Selling Entity, there have been no unauthorized intrusions or breaches
of security with respect to the Business IT Assets, and, since January 1, 2017, there have been no
Proceedings initiated or, to the Knowledge of each Selling Entity, threatened against any Selling
Entity with regard to the use or maintenance of its Business IT Assets.

       (g)     The Selling Entities take and have since January 1, 2017 taken commercially
reasonable measures to ensure that Personal Information collected, stored or used by the Selling
Entities is protected against unauthorized access, loss, damage, use, sharing, modification, or other
misuse, and, since January 1, 2017, there has been no material unauthorized access, loss, damage
use, sharing, modification, or other misuse of any such Personal Information by any Selling Entity.
No Proceeding relating to any material improper use, unauthorized access or disclosure of, or a
material breach in the security of, any Personal Information has been made since January 1, 2017

                                                 34
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 46 of 86




or, to the Knowledge of each Selling Entity, is threatened against any Selling Entity. Since January
1, 2017, no Selling Entity has been notified or has been required by any Applicable Law,
Governmental Authority or other agreement to notify in writing any Person of any material
security breach or material unauthorized use or disclosure of Personal Information. No Selling
Entity has received any notice since January 1, 2017 of any Proceedings against any Selling Entity
with respect to an alleged violation of Applicable Laws with respect to Personal Information
processed by such Selling Entity.

       Section 5.12. Environmental, Health and Safety Matters.

       Except for facts, circumstances or conditions that would not, individually or in the
aggregate, reasonably be expected to be material to the Business or be materially adverse to the
ownership or use by Buyer of the Assets:

      (a)   The Assets owned or held by the Selling Entities and their operations are in
compliance with applicable Environmental, Health and Safety Laws;

      (b)    The Selling Entities hold and are in compliance with all material Permits required
under Environmental, Health and Safety Laws in connection with the ownership and operation of
the Assets and Business, and all such Permits are in full force and effect;

       (c)    With respect to each Selling Entity’s operations of the Assets owned or held by such
Selling Entity, such Selling Entity has not received any written notice alleging non-compliance
with or violation of applicable Environmental, Health and Safety Law from any Governmental
Authority or other third party, the subject of which is unresolved;

       (d)    There is no Proceeding or Order pending, outstanding, or threatened in writing, to
the Knowledge of each Selling Entity, against any Selling Entity pursuant to Environmental,
Health and Safety Law with respect to the Assets owned or held by such Selling Entity or such
Selling Entity’s operation of such Assets;

       (e)    There has been no Release of Hazardous Substances by any Selling Entity or any
third Person on, under, in or at any Owned Real Property or Leased Real Property included in the
Assets; and

        (f)   The Selling Entities have made available to Buyer true, complete and correct copies
of all material, non-privileged environmental site assessments and audit reports (including Phase
I or Phase II reports) prepared since January 1, 2017 relating to environmental, health and safety
matters concerning the Business and Assets prepared on behalf of any Selling Entity.

       Section 5.13. Title.

        (a)   Disclosure Schedule 5.13(a)5.13(a)(i) sets forth a complete and accurate list of all of
the Real Property Interests owned in fee by Seller or any of its Subsidiaries as of the date hereof,
that are used, or held for use, by the Business (the Real Property Interests listed or required to be
listed on Disclosure Schedule Section 5.13(a)5.13(a)(i), the “Owned Real Property”), specifying
the street address, the current owner and the current use of each parcel of Owned Real Property.
Each Selling Entity has good and valid fee simple title to all Owned Real Property owned by it,

                                                 35
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 47 of 86




free and clear of all Encumbrances, except for Permitted Encumbrances and Encumbrances listed
on Disclosure Schedule 5.13(a)5.13(a)(ii). The Selling Entities shall release and remove, at or
prior to Closing, all monetary liens and encumbrances encumbering the Owned Real Property and
created by or on behalf of one or more of the Selling Entities or arising out of the ownership of
one or more of the Selling Entities, including but not limited to, all unpaid taxes and assessments
assessed, levied or imposed upon the Owned Real Property which are due and payable, but subject
to customary adjustment at Closing among the parties. No Selling Entity currently leases any
parcel or any portion of any parcel of any Owned Real Property to any other Person.

        (b)    Disclosure Schedule 5.13(b)5.13(b)(i) sets forth a list and brief description of all Real
Property Interests that are leased by Seller or any of its Subsidiaries as of the date hereof, that are
used, or held for use, by the Business (the Real Property interests listed or required to be listed on
Disclosure Schedule 5.13(b)(i), the “Leased Real Property”), and a description of the associated
leases therefore (the “Leases”). To the Knowledge of each Selling Entity, each of the Leases
constitutes the legal, valid, binding and enforceable obligation of the applicable Selling Entity and
is in full force and effect in accordance with its terms, except as enforceability may be limited by
applicable bankruptcy, insolvency, reorganization, moratorium or other similar Applicable Laws
relating to or affecting creditors’ rights generally or general principles of equity (regardless of
whether enforcement is sought in a Proceeding in equity or at law). The applicable Selling Entity
has good and valid leasehold title to all of the Leased Real Property free and clear of all
Encumbrances, except for Permitted Encumbrances and Encumbrances listed on Disclosure
Schedule 5.13(b)5.13(b)(ii). The Selling Entities have made available to Buyer true, correct and
complete copies of each Lease.

       (c)    No event has occurred and, to the Knowledge of each Selling Entity, no
circumstances exist that, with the delivery of notice, the passage of time or both, would constitute
such a material breach or material default, or permit the termination or modification of, or
acceleration of rent under, any Lease. No Selling Entity has received written notice of any claim
by any Person under any such Lease alleging that a Selling Entity has committed a breach of any
such Lease, and has not provided or received any written notice of any intention to terminate any
such Lease.

       (d)   The Owned Real Property and Leased Real Property constitute all of the real property
rights necessary to own and conduct the Business in all material respects as currently owned,
operated and conducted by the Seller or any of its Subsidiaries.

       (e)    There are no condemnation, expropriation or other Proceedings with eminent domain
pending or, to the Knowledge of each Selling Entity, threatened, with respect to any Real Property
Interest.

       (f)    The buildings and improvements on the Owned Real Property are located within the
boundary lines of the described parcels of land, are not in material violation of applicable setback
requirements, zoning laws, and ordinances (and none of the properties or buildings or
improvements thereon are subject to “permitted non-conforming use” or “permitted non-
conforming structure” classifications), and do not encroach on any easement which may burden
the land in any material respect.



                                                  36
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 48 of 86




       (g)    There are no assets or properties that are necessary for the use, maintenance of the
Owned Real Property or the Leased Real Property and the operation of the Business as currently
operated that are not included in the assets to be transferred under this Agreement, except for such
assets where the omission thereof would not materially impede the use or maintenance of the
applicable Owned Real Property or Leased Real Property.

      (h)    All water, sewer, gas, electric, telephone and drainage facilities and all other utilities
and public or quasi-public improvements related thereto upon or adjacent to the Owned Real
Property required by Applicable Law or required for the operation of the Business at the Owned
Real Property, are (i) installed and serve the Owned Real Property and (ii) have direct access to
the Owned Real Property from a public road or right of way.

       Section 5.14. Matters Related to Assets; Casualty Losses.

        (a)   All of the rights, properties, interests, equipment and other tangible and intangible
assets that constitute Assets are owned, leased or used (or held for use) by the Selling Entities and
are free and clear of all Encumbrances (other than Permitted Encumbrances).

       (b)     All of the equipment, machinery, vehicles and other tangible assets that constitute
Assets (i) in good condition and repair, except for ordinary wear and tear and ordinary and routine
repairs and maintenance requirements, for assets of comparable age and usage, (ii) not in need of
any repairs, which, if not made, would materially and adversely affect the integrity or safety of
such Assets, and (iii) suitable for use by the Selling Entities to conduct the Business as currently
conducted by the Selling Entities with respect to such Assets, in each case in all material respects.

       (c)    There has been no Casualty Loss (whether or not covered by insurance) materially
affecting any of the Assets owned or used (or held for use) by Seller or any of its Subsidiaries that
has not subsequently been completely repaired, replaced or restored.

       Section 5.15. Inventory. The inventories of the Selling Entities associated with, related to
or used in connection with the Business are saleable in the ordinary course of business, other than
for normal discounts in the ordinary course of business and except that milk products are
perishable.

       Section 5.16. Insurance.

        A true, correct and complete list of the material insurance policies related to the Business
currently conducted by Seller and its Subsidiaries with respect to the Assets owned or held by
Seller and its Subsidiaries (including policy periods and the amounts of coverage, limits and
deductibles) as of the date hereof is attached hereto as Disclosure Schedule 5.165.16 (collectively,
the “Insurance Policies”). Except as would not, individually or in the aggregate, reasonably be
expected to have a Material Adverse Effect, all of the Insurance Policies are in full force and effect.
To the Knowledge of each Selling Entity, no event has occurred, including the failure by Seller or
if applicable, any such Subsidiary of Seller, to give any notice or information or the delivery of
any inaccurate or erroneous notice or information, which materially limits or impairs the rights of
Seller or any of its Subsidiaries under any of the Insurance Policies. Except as set forth in
Disclosure Schedule 5.165.16, no material claim is outstanding under any of the Insurance


                                                  37
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 49 of 86




Policies, and no carrier of any Insurance Policy of Seller or any such Subsidiary has asserted in
writing any denial of coverage of any material claim.

       Section 5.17. Security Arrangements.

        All of the bonds, letters of credit and guarantees posted by Seller or any of its Subsidiaries
with Governmental Authorities or Third Parties and relating to the Assets owned or held by Seller
or any such Subsidiary as of the date hereof are described on Disclosure Schedule 5.175.17.

       Section 5.18. Customers and Suppliers.

       (a)   Disclosure Schedule 5.18(a)5.18(a) contains a list of the 25 largest customers,
including distributors, of the Business, taken as a whole, for the twelve (12) months ended
December 31, 2019 (determined on the basis of the total dollar amount of sales) (“Major
Customers”), showing the total dollar amount of gross sales to each such Major Customer during
such period.

       (b)    Disclosure Schedule 5.18(b)5.18(b) contains a list of the 25 largest suppliers of the
Business, taken as a whole, for the twelve (12) months ended December 31, 2019 (determined on
the basis of the total dollar amount of purchases) (“Major Suppliers”), showing the total dollar
amount of purchases by the Business from each such Major Supplier during such period.

       Section 5.19. Anti-Corruption.

        (a)     No Selling Entity, nor any of their respective Representatives or other Persons that
act for or on behalf of any Selling Entity has since January 1, 2017, in connection with or relating
to the Business or the Assets, directly or indirectly, violated the U.S. Foreign Corrupt Practices
Act or any other applicable anti-bribery law (collectively, the “Anti-Corruption Laws”). The
Selling Entities have in place and maintain policies, procedures and controls with respect to the
Business that are reasonably designed to promote and ensure compliance with Anti-Corruption
Laws in each jurisdiction in which the Business operates. There is no pending or threatened
investigation, inquiry, or enforcement Proceeding upon the Business or the Assets by any
Governmental Authority regarding any offense or alleged offense under Anti-Corruption Laws.
To the Knowledge of each Selling Entity, none of the current officers, directors or employees of
any Selling Entity is an employee of any Governmental Authority or of any instrumentality of a
Governmental Authority.

       (b)   The Business has been conducted and the Assets have been operated in material
compliance with all applicable anti-money laundering and financial record-keeping and reporting
laws. The Selling Entities have maintained and currently maintain (i) books, records and accounts
which, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the
Business, and (ii) internal accounting controls reasonably designed to provide reasonable
assurances that all transactions and access to assets of the Business were, have been and are
executed only in accordance with management’s general or specific authorization. There is no
pending or threatened investigation, inquiry, or enforcement Proceeding upon the Business or the
Assets by any Governmental Authority regarding any actual or possible violation of any anti-
money laundering or financial record-keeping and reporting laws, and since January 1, 2017 there
has been no such Proceeding.

                                                 38
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 50 of 86




       Section 5.20. Brokers or Finders.

        Except for fees and expenses payable to Evercore Group, L.L.C., nNo Selling Entity has
incurred any obligation or Liability, contingent or otherwise, for brokerage or finders’ fees or
agents’ commissions or other similar payments in connection with this Agreement, the other
Transaction Documents or the transactions contemplated hereby or thereby for which Buyer is or
will become liable. Selling Entities have incurred an obligation to Evercore Group, L.L.C. for fees
and expenses which shall be paid by the Selling Entities at or prior to Closing and for which Buyer
shall not be liable,

       Section 5.21. Employee Benefit Plans; Labor and Employment Matters.

       (a)     Disclosure Schedule 5.21(a)5.21(a) contains a complete and accurate list of each
material Seller Benefit Plan as of the date hereof. The Seller has not made available to Buyer a
copy of, to the extent applicable, each material Seller Benefit Plan. There will not be any Assumed
Plans. With respect to each Assumed Plan, the Seller has made available to Buyer a copy of, to
the extent applicable, (i) each trust related thereto, (ii) the most recent financial statements and
actuarial or other valuation reports prepared with respect thereto, (iii) the most recent annual report
on Form 5500 required to be filed with the Internal Revenue Service with respect thereto, (iv) the
most recent summary plan description and any material modification with respect thereto, and (v)
the most recent determination or opinion letter received from the Internal Revenue Service with
respect to each Assumed Plan intended to qualify under Section 401 of the Code.

        (b)   Each Seller Benefit Plan (and any related trust or other funding vehicle) has been
maintained, operated and administered in material compliance with applicable Laws and with the
terms of such Seller Benefit Plan. There are no pending or, to the Knowledge of each Selling
Entity, threatened in writing material investigations by any Governmental Authority with respect
to, or termination proceedings or other material claims, suits or proceedings (except routine claims
for benefits payable in the ordinary course) against or involving any Seller Benefit Plan.

        (c)   Except pursuant to the Seller Benefit Plans or other agreements or arrangements
listed on Disclosure Schedule 5.21(c)5.21(c), none of the execution and delivery of this Agreement
or any of the other Transaction Documents or the consummation of the transactions contemplated
hereby or thereby (alone or in conjunction with any other event, including any termination of
employment on or following the Closing) will (i) (i) entitle any Company Employee to any
material compensation or benefit, (ii) (ii) accelerate the time of payment or vesting, or trigger any
payment or funding, of any compensation or benefits for any Company Employee or trigger any
other material obligation under any Seller Benefit Plan or (iii) (iii) result in any material breach or
violation of or material default under, or limit Buyer’s right with respect to an Assumed Plan) to
amend, modify or terminate, any material Seller Benefit Plan.

        (d)    Except that would not reasonably be expected to have a Material Adverse Effect,
(i) there are no material controversies, strikes, slowdowns, work stoppages or any other material
labor disputes involving any Company Employee pending or, to the Knowledge of each Selling
Entity, threatened in writing nor have there been any such material controversies, strikes,
slowdowns or work stoppages in the past three years and (ii) there are no material grievances or
unfair labor practice complaints pending against any of the Selling Entities before the National


                                                  39
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 51 of 86




Labor Relations Board or any other Governmental Authority with respect to any Company
Employee.

        (e)   Except that would not reasonably be expected have a Material Adverse Effect, (i) the
Selling Entities are in compliance with all Applicable Laws relating to employment or labor,
including those related to hiring, background checks, wages, pay equity, hours, collective
bargaining and labor relations, classification of independent contractors and employees, equal
opportunity, document retention, notice, plant closing and mass layoff, health and safety,
employment eligibility verification, immigration, child labor, discrimination, harassment,
retaliation, accommodations, disability rights or benefits, affirmative action, workers’
compensation, unemployment insurance, employment and reemployment rights of members of the
uniformed services, secondment, employee leave issues and the payment of social security and
other Taxes, and are not liable for any arrears of wages, other compensation or benefits (other than
such Liabilities that have been incurred in the ordinary course of business of the Selling Entities),
or any Taxes or penalties for failure to comply with any of the foregoing and (ii) except as set forth
in Disclosure Schedule 5.21(e)5.21(e), there is no material employment- or labor-related claim
pending against any Selling Entity brought by or on behalf of any Company Employee or any
Governmental Authority and no such claim is threatened in writing.

       (f)   Disclosure Schedule 5.21(f)5.21(f) sets forth a complete and correct list of all
Company Employees who are employees by: name; title or position; status (part-time, full-time,
exempt, non-exempt, etc.); whether paid on a salaried, hourly or other basis; current base salary or
wage rate; current target bonus; and an indication of whether or not such employee is on leave of
absence. Disclosure Schedule 5.21(f)5.21(f) sets forth a complete and correct list of all Company
Employees who are independent contractors of any Selling Entity by: job position or function;
hourly pay rate or other material compensatory arrangement. Seller shall update Disclosure
Schedule 5.21(f)5.21(f) as of seven days prior to the Closing Date.

       Section 5.22. Taxes.

       (a)    Each Selling Entity has timely filed (taking into account any extensions of time for
such filings that have been properly and timely requested) all material Tax Returns that were
required to be filed. All such Tax Returns are complete and accurate in all material respects. All
material Taxes owed by any Selling Entity (whether or not shown on any Tax Return) have been
paid. No Selling Entity is currently the beneficiary of any extension of time within which to file
any material Tax Return. No material claim has ever been made (and remains unsolved) by an
authority in a jurisdiction in which a Selling Entity does not file Tax Returns that such Selling
Entity is or may be subject to Taxation by that jurisdiction.

       (b)    There are no pending or threatened audits, investigations, disputes, notices of
deficiency, claims or other actions for or relating to any liability for any material Taxes of any
Selling Entity. No Selling Entity has waived any statute of limitations in respect of Taxes that
remain unpaid or agreed to any extension of time with respect to an open Tax assessment or
deficiency.

      (c)    No Asset (i) constitutes “tax-exempt use property” within the meaning of Section
168(h) of the Code, (ii) is “tax-exempt bond financed property” within the meaning of Section


                                                 40
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 52 of 86




168(g) of the Code or (iii) secures any debt the interest of which is tax-exempt under Section
103(a) of the Code.

        (d)    None of the Selling Entities have been a party to a transaction that is or is
substantially similar to a “reportable transaction,” as such term is defined in Treasury Regulations
Section 1.6011-4(b)(1), or any other transaction requiring disclosure under analogous provisions
of state, local or foreign Tax law.

                                  ARTICLE 6
                   REPRESENTATIONS AND WARRANTIES OF BUYER

       Buyer represents and warrants to the Selling Entities as of the date hereof and as of the
Closing Date as follows:

       Section 6.01. Organization and Good Standing.

        Buyer Maryland and Virginia Milk Producers Cooperative Association, Incorporated is a
[], Virginia corporation organized as a cooperative association under Virginia law, duly organized,
validly existing and in good standing under the laws of the State Commonwealth of []. Virginia.
Buyer has the requisite power and authority to own or lease and to operate and use its properties
and to carry on its business as now conducted. Buyer is (or at the Closing will be) duly qualified,
licensed or otherwise authorized to do business and is in good standing in the state(s) where the
Assets are located and Buyer or Buyer’s Affiliates will be duly qualified, licensed or otherwise
authorized to own or lease and to operate and use the Assets in the state(s) where the Assets are
located other than where failure to be so qualified would not have a material adverse effect. Buyer
has made available to Seller true and correct copies of Buyer’s governing documents as in effect
as of the date hereof and as of the Closing, as applicable, including Buyer’s certificate of
incorporation and bylaws.

       Section 6.02. Authority; Validity; Consents.

        Buyer has the requisite power and authority necessary to enter into, deliver and perform its
obligations under this Agreement and the other Transaction Documents to which it is a party and
to consummate the transactions contemplated hereby and thereby. The execution, delivery and
performance of this Agreement by Buyer and such other Transaction Documents to which it is a
party and the consummation by Buyer of the transactions contemplated herein and therein have
been duly, validly authorized and approved and approved by the board of directors of Buyer and
no other corporate proceedings on the part of Buyer or vote of Buyer’s stockholders are necessary
to authorize the execution and delivery by Buyer of this Agreement and the consummation of the
transactions contemplated hereby. This Agreement has been duly and validly executed and
delivered by Buyer and each other Transaction Document to which Buyer is a party that is required
to be executed and delivered by Buyer at the Closing will be duly and validly executed and
delivered by Buyer, as applicable, at the Closing. No other action on the part of Buyer, its
Affiliates or their respective Representatives is necessary to authorize this Agreement or the other
Transaction Documents to which Buyer is a party and this Agreement and the other Transaction
Documents to which Buyer is a party constitute the legal, valid and binding obligation of Buyer,
enforceable against Buyer in accordance with their respective terms, except in each case as such

                                                41
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 53 of 86




enforceability may be limited by applicable bankruptcy, insolvency, reorganization, fraudulent
conveyance, moratorium or other similar Applicable Laws affecting the enforcement of creditors’
rights generally and by general principles of equity, including principles of commercial
reasonableness, good faith and fair dealing, regardless of whether such principles are considered
in a proceeding at law or in equity.

       Section 6.03. No Conflict.

         Except for (a) any applicable notices, filing, consents or approvals under any applicable
antitrust, competition or trade regulation or other Applicable Laws, including the HSR Act and (b)
items listed on Disclosure Schedule 6.03, Buyer is not and will not be required to give any notice
to, make any filing with or obtain any consent not already received from any Person (including
any Governmental Authority) in connection with the execution and delivery of this Agreement and
the other Transaction Documents or the consummation or performance of any of the transactions
contemplated hereby and thereby, except as would not, individually or in the aggregate, reasonably
be expected to affect Buyer’s ability to perform its obligations under this Agreement or any other
Transaction Documents or to consummate the transactions contemplated hereby or thereby. When
the consents and other actions described in the preceding sentence have been obtained and taken,
the execution and delivery of this Agreement and the other Transaction Documents and the
consummation of the transactions provided for herein and therein will not result in the breach or
violation of any of the terms and provisions of, or constitute a default (with or without notice or
lapse of time or both) under, or conflict with, or cause any acceleration of any obligation of any
Buyer under (i) any agreement, indenture, bond, debenture, note, mortgage or other instrument to
which it or its assets is bound, (ii) the certificate of incorporation, bylaws or other governing
documents of Buyer, (iii) any Order applicable to Buyer or its assets or (iv) any Applicable Law,
except as would not, individually or in the aggregate, reasonably be expected to affect Buyer’s
ability to perform its obligations under this Agreement or any other Transaction Documents or to
consummate the transactions contemplated hereby or thereby.

       Section 6.04. Legal Proceedings.

        There are no Proceedings or Orders pending or outstanding or, to the Knowledge of Buyer,
threatened by any Person, that seek to prevent, restrain, materially delay, prohibit or otherwise
challenge the consummation, legality or validity of the transactions contemplated hereby or that
would, individually or in the aggregate, reasonably be expected to delay the Closing or have an
adverse effect on Buyer’s performance of any of its obligations and covenants under this
Agreement and the other Transaction Documents to which it is a party that are to be performed
prior to, at or after Closing.

       Section 6.05. Bankruptcy.

      There are no bankruptcy, reorganization or arrangement Proceedings pending, being
contemplated by or, to the Knowledge of Buyer, threatened against Buyer.

       Section 6.06. Brokers or Finders.

       Neither Buyer nor any Person acting on behalf of Buyer has paid or become obligated to
pay any fee or commission to any broker, finder, investment banker, agent or intermediary for or

                                                42
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 54 of 86




on account of the transactions contemplated by this Agreement for which Seller or any of it is
Subsidiaries is or will become liable.

       Section 6.07. Financing.

        [(a) Buyer has, and will have at the Closing, sufficient funds available in cash to pay the
Purchase Price, the Cure Costs and any fees and expenses incurred by or otherwise required to be
paid by Buyer in connection with the acquisition of the Assets and the assumption of the Assumed
Liabilities pursuant to this Agreement and the transactions contemplated by this Agreement.]

        [OR]

        [(a) Buyer has delivered to Seller prior to the date hereof true and complete copies of (i) a
fully executed commitment letter, dated as of the date hereof, by and among [●], including all
annexes, exhibits, schedules, supplements, term sheets and other attachments thereto and all
executed fee letters, fee credit letters and engagement letters associated therewith (other than the
fees set forth therein, which have been redacted) (the “Debt Commitment Letter”), dated as of
the date hereof, pursuant to which the lenders and other parties thereto have committed and
confirmed, on the terms and subject to the conditions set forth therein, to provide Buyer with debt
financing in the amounts set forth therein in connection with the transactions contemplated hereby
(the “Debt Financing”).

        (b) (i) The Debt Commitment Letter is in full force and effect and constitutes a valid and
binding obligation of Buyer and, to the knowledge of Buyer, the other parties thereto, and (ii) the
Debt Commitment Letter is enforceable against Buyer and, to the Knowledge of Buyer, the other
parties thereto in accordance with its terms, except in each case as such enforceability may be
limited by applicable bankruptcy, insolvency, reorganization, fraudulent conveyance, moratorium
or other similar Applicable Laws affecting the enforcement of creditors’ rights generally and by
general principles of equity, including principles of commercial reasonableness, good faith and
fair dealing, regardless of whether such principles are considered in a proceeding at law or in
equity. As of the date hereof, the Debt Commitment Letter has not been amended or modified in
any respect, no provisions or rights thereunder have been waived and the respective commitments
contained therein have not been withdrawn, rescinded or otherwise modified in any respect, nor is
any such amendment, modification, withdrawal or rescission currently contemplated or the subject
of discussions. No event has occurred which, with or without notice, lapse of time or both, would
constitute a default or breach under the Debt Commitment Letter on the part of Buyer or, to the
knowledge of Buyer, any other party thereto. Buyer is not aware of any fact, event or other
occurrence that makes any of the representations and warranties of Buyer in the Debt Commitment
Letter inaccurate in any material respect. There are no conditions precedent or other contingencies
directly or indirectly related to the funding of the full amount of the Debt Financing (including any
flex provisions) other than the conditions precedent expressly set forth in the Debt Commitment
Letters, and Buyer has no reason to believe that (i) it or any other party thereto will not be able to
satisfy on a timely basis any term or condition of the Debt Commitment Letter, including any
condition to the closing of the Debt Financing, or (ii) the full amount of the Debt Financing will
not be made available to Buyer at or prior to the Closing. Other than the Debt Commitment Letter,
there are no side letters or other contracts, arrangements or understandings (written or oral) directly
or indirectly related to the Debt Financing. The aggregate proceeds of the Debt Financing are in

                                                  43
         Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 55 of 86




an amount sufficient to pay the Purchase Price, the Cure Costs and any fees and expenses incurred
by or otherwise required to be paid by Buyer in connection with the acquisition of the Assets and
the assumption of the Assumed Liabilities pursuant to this Agreement and the transactions
contemplated by this Agreement. Buyer has fully paid, or caused to be paid, any and all
commitment fees and any and all other fees and expenses, in each case as are required to be paid
pursuant to the terms of the Debt Commitment Letters.] 9

        [(b)/(c)] Upon the consummation of the transactions contemplated hereby, (i) [Buyer] will
not be insolvent as defined in Section 101 of the Bankruptcy Code, (ii) [Buyer] will not be left
with unreasonably small capital, (iii) [Buyer] will not have incurred debts beyond its ability to pay
such debts as they mature, and (iv) the capital of [Buyer] will not be impaired.10

        [(c)/(d)] For the avoidance of doubt, Buyer acknowledges and agrees that, notwithstanding
anything to the contrary in this Agreement, the consummation of the Debt Financing shall not be
a condition to any obligations of Buyer hereunder, including the obligation to consummate the
transactions contemplated hereby.]

           Section 6.08. Independent Evaluation.

        Buyer (a) is experienced in the evaluation, purchase, ownership and operation of assets of
the types and natures consistent with those used in the operations of the Business and the Assets
and is aware of the risks associated with the purchase, ownership and operation of such assets and
interests related thereto, (b) is capable of evaluating, and hereby acknowledges that it has so
evaluated, the merits and risks of the Assets, ownership and operation thereof and its obligations
hereunder, and (c) is able to bear the economic risks associated with the Assets, ownership and
operation thereof and its obligations hereunder. In entering into this Agreement and except for the
representations and warranties expressly set forth in Article 5Article 5 of this Agreement, none of
Seller, Seller’s Subsidiaries, their respective Affiliates, Seller’s, its Subsidiaries or their respective
Affiliates’ respective Representatives or any Person acting on Seller’s, its Subsidiaries or its or
their Affiliates’ behalf is making or has made any other express or any implied representations or
warranties, and Buyer disclaims reliance upon any other representations and warranties (including
as to the accuracy and completeness thereof), with respect to Seller, its Subsidiaries or any of its
or their respective Affiliates, any of their respective business, operations, assets, liabilities,
condition (financial or otherwise) or prospects or any other matter relating to Seller, its
Subsidiaries or any of its or their respective Affiliates. Buyer acknowledges and affirms that it has
relied and will rely solely on the terms of this Agreement and the Transaction Documents and upon
its independent analysis, evaluation and investigation of, and judgment with respect to, the
business, economic, legal, tax or other consequences of the transactions contemplated by this
Agreement.




9
 Note to Draft: If Buyer requires financing to consummate the transaction, we would like to discuss Buyer’s proposal
with respect to financing. Seller would expect financing to be fully committed as of signing.
10
     Note to Draft: Subject to revisions as necessary based on Buyer’s proposed structure.


                                                           44
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 56 of 86




                                      ARTICLE 7
                          ACTIONS PRIOR TO THE CLOSING DATE

       Section 7.01. Access and Reports.

        (a)    From the date hereof through Closing, subject to Applicable Laws, upon the
reasonable request from Buyer of any such activities, each Selling Entity will afford Buyer’s
officers and other authorized Representatives reasonable access, during normal business hours,
(i) to those of its officers, employees, consultants and authorized Representatives (including its
legal advisors and accountants) possessing information relating to the Assets or the Business, (ii) to
all books, records and other documents and data in the locations in which they are normally
maintained, and to make copies of all such books, records, and other documents to the extent
relating to the Assets or the Assumed Liabilities, (iii) to any reasonably available financial and
operating data and other information in connection with the Assets and (iv) to all offices, plants,
buildings, facilities and other physical locations and properties included in the Asset, to make such
investigation and physical inspection of the Assets and the Assumed Liabilities as it reasonably
requests; provided that, in connection with such access, Buyer’s authorized Representatives will
(i) abide by any reasonable safety rules, regulations and operating policies provided in writing by
Seller or its Representatives and (ii) at Seller’s option, be accompanied by at least one (1)
Representative of Seller. Notwithstanding anything herein to the contrary, no such investigation
or examination will be permitted to the extent that it would unreasonably interfere with the conduct
of the business of the Selling Entities or would require a Selling Entity to disclose information that
would violate the attorney-client privilege or any other applicable privileges or immunities;
provided that the Selling Entities use reasonable effort to disclose such information without
disclosing the privileged information (for example, by redacting such information as reasonably
necessary to avoid such violation).

       (b)    Buyer acknowledges that Confidential Information (as defined in the Confidentiality
Agreement) has been, and in the future will be, provided to it in connection with this Agreement,
including under Section 7.01(a)Section 7.01(a), and is subject to the terms of the confidentiality
agreement dated February 14, 2020 [] between Seller and [Buyer] and, if applicable, the Clean
Team Agreement and the joint defense and common interest agreement dated as of []March 27,
2020, between Seller, [Buyer] and their respective outside counsel (collectively, the
“Confidentiality Agreement”), the terms of each of which are incorporated herein by reference.
Buyer acknowledges and understands that this Agreement may be provided to lenders or be
publicly filed in the Bankruptcy Court and further made available by Seller to prospective bidders
and that such disclosure will not be deemed to violate any confidentiality obligations owing to
Buyer, whether pursuant to this Agreement, the Confidentiality Agreement, the Clean Team
Agreement or otherwise.

       Section 7.02. Operations Prior to the Closing Date.

       Except (a) as otherwise expressly contemplated by this Agreement, (b) as disclosed in
Schedule 7.027.02, (c) with the prior written consent of Buyer (which consent will not be
unreasonably withheld, conditioned or delayed) or the approval of the Bankruptcy Court, (d) as
otherwise required by Applicable Laws or any Contract to which Seller or any of its Subsidiaries
are bound, or as requested or required by any Governmental Authority, or (e) as required or

                                                 45
         Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 57 of 86




prohibited pursuant to a Bankruptcy Court Order or the Bankruptcy Cases or limited by restrictions
or limitations under the Bankruptcy Code on Chapter 11 debtors, including (x) the exercise by the
board of directors of Seller of its fiduciary duties to maximize the value of Seller’s estate and (y)
limitations on Seller’s or its Subsidiaries’ ability to pay amounts relating to the period prior to the
Petition Date and the impact of Seller filing for bankruptcy with respect to any Contract to which
it or any of its Subsidiaries is a party, from the date hereof until the Closing Date: 11

                     (i)   Seller will use its reasonable best efforts to (A) operate the Facilities and
           other Assets operated by Seller and its Subsidiaries in the ordinary course of business in
           all material respects and to maintain all Assets in good working order and condition
           (ordinary wear and tear excepted) (including, without limitation, conducting all inspections
           and acts of service and repair with at least the level of care and frequency required to
           comply with (A) manufacturer recommendations or guidelines or (B) customary industry
           practice for similar assets as the applicable Asset), (B) maintain books, accounts and
           records relating to such Assets in accordance with past custom and practice in all material
           respects, (C) preserve intact the business organizations and relationships with Third Parties
           of the Assets and keep available the services of Company Employees, consultants and
           agents of the Selling Entities in connections with the services such persons provided in
           respect of the Assets in the ordinary course of business, 12 and (D) comply with all
           Applicable Laws and Orders applicable to the Assets and give prompt notice to Buyer of
           any notice of any material damage or any material Casualty Loss and any notice received
           or made by Seller of any claim asserting any material tort or violation of Applicable Law
           or any new Proceeding that (in each case) relates to such Assets; and

                   (ii)       Seller will not, and will cause its Subsidiaries not to, solely with respect to
           the Assets:

                              (A) liquidate, dissolve, recapitalize or otherwise wind up its operations
                      of the Business;

                              (B) terminate, cancel, materially amend or modify, grant a material
                      waiver or consent with respect to or extend any Material Contract, or enter in to
                      any Contract that would be a Material Contract, in each case other than in the
                      ordinary course of business;

                               (C) sell, lease, transfer, abandon, permit to lapse, fail to maintain,
                      exclusively license, assign or otherwise dispose of any material Assets, in each
                      case other than in the ordinary course of business;

                              (D) acquire (by merger, consolidation, acquisition of stock or assets or
                      otherwise), directly or indirectly, any material assets, securities, properties,



11
  Note to Draft: Certain of these restrictions to be removed to the extent they would not affect the specific Assets
being acquired.
12
     Note to Draft: Only to be included to the extent the Assets include operational facilities.


                                                             46
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 58 of 86




                interests or businesses for the conduct of the Business, in each case other than
                pursuant to existing Contracts or in the ordinary course of business;

                         (E) other than as permitted by Section 7.02(e)(ii)(D)Section
                7.02(e)(ii)(D), make any material loans, advances or capital contributions to, or
                investments in, any other Person (other than any Subsidiary of Seller) with respect
                to the Business, other than advances to employees in the ordinary course of
                business;

                        (F) subject any of the Assets to any Encumbrances, except for
                Permitted Encumbrances;

                        (G) enter into any agreement or arrangement that materially limits or
                otherwise restricts in any material respect the conduct of the Business or the use
                or saleability of the Assets or that would reasonably be expected to, after the
                Closing Date, limit or restrict in any material respect the Business or Buyer’s use
                of the Assets;

                         (H) change its accounting methods, policies or practices, in each case
                as they relate to the Assets;

                           (I) commence, settle or propose to settle any Proceedings that could
                reasonably be expected to materially diminish the value of the Assets or impair
                title thereto;

                          (J) other than in the ordinary course of business or as required by
                Applicable Law or by the terms of any Seller Benefit Plan or Collective
                Bargaining Agreement as in effect on the date hereof, (1) hire or promote or
                terminate the employment (other than for cause or due to the elimination of a
                position) of any Company Employee with annual salary in excess of $120,000,
                (2) grant or increase any severance, change in control, retention, termination or
                similar compensation or benefits to (or materially amend any existing severance,
                change in control, retention, termination or similar compensation, benefits or
                arrangement with) any exempt Company Employee, (3) establish, adopt,
                materially amend, or terminate any Collective Bargaining Agreement (other than
                as contemplated under this Agreement) or Seller Benefit Plan or (4) increase the
                compensation, bonus or other benefits payable to any exempt Company
                Employee;

                        (K) cancel or modify any Insurance Policy, except where replaced with
                a substantially similar policy; or

                         (L)    agree or commit to do any of the foregoing.

        Section 7.03. Commercially Reasonable Efforts. Subject to Section 7.03Section 7.03,
Seller, on the one hand, and Buyer, on the other hand, will use commercially reasonable efforts to
take, or cause to be taken, all actions, and to do, or cause to be done, and to assist and cooperate
with the other in doing, all things necessary, proper or advisable to consummate and make

                                                47
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 59 of 86




effective, in the most expeditious manner practicable, the transactions contemplated hereby,
including using commercially reasonable efforts to accomplish the following: (i) the taking of all
reasonable acts necessary to cause the conditions precedent to the other party’s obligations to
consummate the Closing set forth in Article 9Article 9, Article 10Article 10 and Article 11Article
11 to be satisfied, (ii) the obtaining, at the earliest practicable date, of all necessary Governmental
Authorizations and the making of all necessary registrations, declarations and filings (including
registrations, declarations and filings with Governmental Authorities, if any) and the taking of all
reasonable steps as may be necessary to avoid any Proceeding by any Governmental Authority,
and (iii) the execution or delivery of any additional instruments necessary to consummate the
transactions contemplated hereby and to fully carry out the purposes of this Agreement. Nothing
in this Section 7.03Section 7.03 will require Buyer, Seller or any of their respective Subsidiaries
to pay any consideration to any Third Party, to initiate any Proceedings, to incur any obligation or
to waive any right under this Agreement or to assist any Party in connection with the transactions
contemplated hereby.

         Section 7.04. Regulatory Approvals. (a) Buyer and Seller will (i) make or cause to be
made all filings required of each of them or any of their respective Affiliates under the HSR Act
or other Applicable Laws with respect to the transactions contemplated hereby as promptly as
practicable and, in any event, within ten Business Days after the date of this Agreement in the case
of all filings required under the HSR Act or any other Applicable Laws, (ii) comply at the earliest
practicable date with any request under the HSR Act or other Applicable Laws for additional
information, documents or other materials received by each of them or any of their respective
subsidiaries from the Federal Trade Commission (the “FTC”), the Antitrust Division of the United
States Department of Justice (the “Antitrust Division”) or any other Governmental Authority in
respect of such filings or such transactions, and (iii) cooperate with each other in connection with
(A) any such filing (including, to the extent permitted by Applicable Law, providing copies of all
such documents to the non-filing parties prior to filing and considering all reasonable additions,
deletions or changes suggested in connection therewith), (B) resolving any investigation or other
inquiry of any of the FTC, the Antitrust Division or other Governmental Authority under any
Applicable Laws with respect to any such filing or any such transaction, and (C) updating,
transferring, replacing, cancelling or obtaining (1) the Permits set forth in Schedule 7.047.04 and
[(2) applicable registrations with the FDA]. Each such Party will use commercially reasonable
efforts to furnish to each other all information required for any application or other filing to be
made pursuant to any Applicable Law in connection with the transactions contemplated by this
Agreement. Each such Party will promptly inform the other parties of any oral communication
with, and provide copies of written communications with, any Governmental Authority regarding
any such filings or any such transaction. No Party hereto will independently participate in any
formal meeting with any Governmental Authority in respect of any such filings, investigation, or
other inquiry without giving the other parties prior notice of the meeting and, to the extent
permitted by such Governmental Authority, the opportunity to attend and/or participate. Subject
to Applicable Law, the Parties will consult and cooperate with one another in connection with any
analyses, appearances, presentations, memoranda, briefs, arguments, opinions and proposals made
or submitted by or on behalf of any party relating to Proceedings under the HSR Act or other
Applicable Laws. Seller and Buyer may, as each deems advisable and necessary, reasonably
designate any competitively sensitive material provided to the other under this Section 7.04Section
7.04 as “outside counsel only.” Such materials and the information contained therein will be given
only to the outside legal counsel of the recipient and will not be disclosed by such outside counsel

                                                  48
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 60 of 86




to employees, officers or directors of the recipient, unless express written permission is obtained
in advance from the source of the materials (Seller or Buyer, as the case may be).

        (b)    Buyer understands and agrees that Buyer will use its reasonable best efforts to take,
and will cause its Affiliates to take, all actions necessary to obtain all Governmental Authorizations
and to avoid or eliminate each and every impediment under any Applicable Law or otherwise so
as to enable the consummation of the transactions contemplated by this Agreement and the other
Transaction Documents to occur as soon as possible (and in any event prior to the Outside Date);
provided that the Parties hereto understand and agree that the reasonable best efforts of Buyer,
solely for purposes of this Section 7.04(b)Section 7.04(b), will be deemed to include: (i) (A)
entering into any settlement, undertaking, consent decree, stipulation or agreement with or required
by any Governmental Authority in connection with the transactions contemplated hereby; (B)
proposing, negotiating, committing to and effecting, by consent decree, hold separate order or
otherwise, the sale, divestiture or disposition of businesses, product lines or assets, including the
assets of Buyer or any of its Affiliates or the Assets; (C) terminating existing relationships,
contractual rights or obligations of Buyer or its Affiliates (including those relating to the Assets);
and (D) otherwise taking or committing to take actions that after the Closing would limit Buyer’s
or its Affiliates’ freedom of action with respect to, or its ability to retain or exercise rights of
ownership or control with respect to, one or more of the businesses, product lines or assets of
Buyer or its Affiliates (including the Assets), in each case in this clause (i)(i), including to the
extent required or proposed by any Governmental Authority in connection with the transactions
contemplated hereby; (ii) defending any Proceeding (including by appeal if necessary) that
challenges any of the transactions contemplated by this Agreement or which would otherwise
prohibit, materially delay or materially impair the consummation of the transactions contemplated
by this Agreement or the other Transaction Documents; (iii) seeking to have lifted, vacated or
reversed any Order entered by any Governmental Authority with respect to this Agreement or the
other Transaction Documents or the transactions contemplated hereby or thereby; and (iv) not
taking any action (including the acquisition by it or any of its Affiliates of any interest in any
Person) if such action would make it more likely that there would arise any impediments under
any Applicable Law that may be asserted by any Governmental Authority to the consummation of
the transactions contemplated by this Agreement or the other Transaction Documents as promptly
as reasonably practicable or that would result in any delay of the Closing; provided that,
notwithstanding the foregoing or anything to the contrary herein, neither Buyer nor any of its
Affiliates will be required to take (or commit to take) any of the actions listed in clauses (i)(i)
through (iii)(iii) of this Section 7.04(b)Section 7.04(b) to the extent that such action, individually
or in the aggregate, would reasonably be expected to have a material adverse effect on the Assets,
Buyer and all of Buyer’s Affiliates, taken as a whole. Notwithstanding anything to the contrary
herein, any material breach of Buyer of this Section 7.04Section 7.04 will constitute a willful and
material breach of the covenants and agreements on the part of Buyer set forth in this Agreement
for all purposes hereof.

       Section 7.05. Bankruptcy Court Approval.

       (a)    The Selling Entities and Buyer each acknowledges that this Agreement and the sale
of the Assets to Buyer and the assumption of the Assumed Liabilities by Buyer are subject to
Bankruptcy Court approval. Buyer acknowledges that (i) to obtain such approval, the Selling
Entities must demonstrate that they have taken reasonable steps to obtain the highest and otherwise

                                                 49
        Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 61 of 86




  best offer possible for the Assets, and that such demonstration will include giving notice of the
  transactions contemplated by this Agreement to creditors and other interested parties as ordered
  by the Bankruptcy Court and (ii) Buyer must provide adequate assurance of future performance as
  required under the Bankruptcy Code with respect to each Assigned Contract.

         (b)     Buyer agrees that it will promptly take such actions as are reasonably requested by
  the Selling Entities to assist in obtaining entry of the Sale Order and a finding of adequate
  assurance of future performance by Buyer of the Assigned Contracts, including furnishing
  affidavits or other documents or information for filing with the Bankruptcy Court for the purposes,
  among others, of providing necessary assurances of performance by Buyer under this Agreement
  and demonstrating that Buyer is a “good faith” purchaser under Section 363(m) of the Bankruptcy
  Code. In the event the entry of the Sale Order is appealed, Buyer will use its commercially
  reasonable efforts to defend such appeal(s).

         (c)    Seller will give Buyer reasonable advance notice and proposed drafts of all
  pleadings, motions, Orders, notices, other papers, hearings, and other Proceedings related to this
  Agreement and the transactions contemplated hereby, and will provide Buyer and its counsel with
  a reasonable opportunity to review such papers prior to filing with the Bankruptcy Court unless
  such advance notice is impossible or impracticable under the circumstances, in which case the
  Selling Entities will deliver copies of such papers substantially simultaneously with the filing with
  the Bankruptcy Court.

          Section 7.06. Alternative Proposals. Buyer agrees and acknowledges that the Selling
  Entities, including through their respective Representatives, are and may continue soliciting
  inquiries, proposals, or offers from Third Parties for all or any part of the Assets, and are and may
  continue discussing and negotiating such inquiries, proposals or offers and providing information
  to Third Parties in connection therewith, as contemplated by the Bidding Procedures.

          Section 7.07. Damage or Destruction. Until the Closing, the Assets shall remain at the
  risk of the Selling Entities. In the event of any material damage to or destruction of any of the
  Assets after the date hereof and prior to the Closing (in any such case, a “Damage or Destruction
  Loss”), Seller shall give prompt written notice thereof to Buyer. If any such Damage or
  Destruction Loss is covered by insurance policies and, if such damage or destruction is to a facility,
  is not repaired or replaced by a similar facility in reasonable proximity to any former facility, all
  right and claim of the Selling Entities to any proceeds of insurance for such Damage or Destruction
  Loss shall be assigned and (if previously received by the Selling Entities and not used prior to the
  Closing Date to repair any damage or destruction) paid to Buyer at Closing in accordance with
  Section 2.01(b)(x)Section 2.01(b)(x).

         Section 7.08. [Intentionally Deleted] Buyer Efforts to Obtain Financing.

        (a)       From and after the date hereof, Buyer shall take all commercially reasonable actions
that are necessary, proper or advisable to as promptly as practicable obtain the Debt Financing in a
quantum sufficient to consummate the transactions contemplated hereby and to pay all applicable
amounts hereunder, including taking all actions that are necessary, proper or advisable to:
(i) maintain in effect the Debt Commitment Letter and/or to obtain and maintain in effect such other
definitive documentation as necessary to effectuate the Debt Financing (the “Debt Financing


                                                   50
        Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 62 of 86




Agreements”); (ii) negotiate and enter into the Debt Financing Agreements on the terms and
conditions contained in the Dent Commitment Letter (including any flex provisions) or on other
terms reasonably available; (iii) satisfy on timely basis (or obtain a waiver thereof with regard to) all
conditions applicable to the funding of the Debt Financing that are within Buyer’s control;
(iv) assuming that all conditions of the Buyer to the Debt Commitment Letter are satisfied,
consummate the Debt Financing at or prior to the Closing; and (v) enforce its rights under the Debt
Commitment Letter and/or Debt Financing Agreements (including, the commencement of litigation
against the sources of the Debt Financing). Buyer shall furnish true and complete copies of the Debt
Financing Agreements and any fully executed commitment letter, fee letter, annexes, exhibits,
schedule and other attachment associated therewith to Seller promptly upon their execution.

        (b)      Buyer shall keep Seller reasonably informed with respect to all material activity
concerning the status of the Debt Financing contemplated by the Debt Commitment Letter and shall
give Seller notice of any material adverse change with respect to the Debt Financing as promptly as
practicable. Without limiting the generality of the foregoing, Buyer shall give the Seller prompt
notice of: (w) the termination, repudiation, rescission, cancellation or expiration of the Debt
Commitment Letter or the Debt Financing Agreements, (x) any breach or default (or any event or
circumstance that, with or without notice, lapse of time or both, could reasonably be expected to give
rise to any breach or default) by any party to the Debt Commitment Letter or the Debt Financing
Agreements in each case of which Buyer becomes aware, (y) the receipt of any written notice or
other written communication, in each case received from any Debt Financing Source with respect to
any (1) breach of Buyer’s obligations under the Debt Commitment Letter or the Debt Financing
Agreements, or actual or potential default, termination or repudiation by any party the Debt
Commitment Letter or the Debt Financing Agreements (including any proposal by any Debt
Financing Source, lender or other Person to withdraw, terminate, repudiate, rescind or make a
material change in the terms of (including the amount of Debt Financing contemplated) the Debt
Commitment Letter) or (2) material dispute between or among any parties to the Debt Commitment
Letter or the Debt Financing Agreements or any provisions of any of the Debt Commitment Letter,
in each case, with respect to the obligation to fund the Debt Financing or the amount of the Debt
Financing to be funded at Closing and (z) of the receipt of any written notice or other written
communication on the basis of which Buyer expects that a party to the Debt Financing will fail to
fund the Debt Financing or is reducing the amount of the Debt Financing; provided that in no event
shall Buyer be under any obligation to disclose any information pursuant to clauses (1) or (2) that
would waive the protection of attorney-client or similar privilege if such party shall have used
reasonable best efforts to disclose such information in a way that would not waive such privilege. As
soon as reasonably practicable, but in any event within five Business Days of the date Seller delivers
to Buyer a written request, Buyer shall provide any information reasonably requested by Seller
relating to any circumstance referred to in clauses (w), (x), (y) or (z) of the immediately preceding
sentence. Buyer shall allow Seller to reasonably consult with the Debt Financing Sources and
providers of the Debt Financing regarding the status of the Debt Financing (provided that Buyer shall
have the right to have one or more Representatives present during any such consultation).

        (c)      Buyer shall have the right from time to time to amend, supplement, terminate or
otherwise modify or waive its rights under the Debt Commitment Letter; provided that, no such
amendment, supplement, termination, modification or waiver shall (i) reduce (or have the effect of
reducing) the aggregate amount of available Debt Financing (including by increasing the amount of
fees to be paid or original issue discount (except as set forth in any “market flex” provisions existing

                                                    51
        Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 63 of 86




on the date of this Agreement)) to less than the amount required to consummate the transactions
contemplated by this Agreement, (ii) impose new or additional conditions precedent or expand upon
the conditions precedent to the Debt Financing as set forth in the existing Debt Commitment Letter
in a manner that would reasonably be expected to (A) make the timely funding of the Debt Financing,
or the satisfaction of the conditions to obtaining the Debt Financing less likely to occur when required
pursuant to the terms hereof or (B) adversely impact the ability of either Buyer or Seller to enforce
its rights against other parties to the Debt Commitment Letter, (iii) adversely change the timing of
the funding of the Debt Financing thereunder, (iv) be reasonably expected to impair, delay or prevent
the availability of all or a portion of the Debt Financing or the consummation of the transactions
contemplated by this Agreement, or (v) otherwise materially adversely affect the ability of Buyer to
enforce its rights under the Debt Commitment Letter or to consummate the transactions contemplated
by this Agreement or the timing of the Closing, including by making the funding of the Debt
Financing less likely to occur. Buyer shall furnish to Seller a copy of any executed written
amendment, restatement, replacement, supplement, modification, waiver or consent of or relating to
the Debt Commitment Letter or the Debt Financing Agreements. For purposes of this Agreement
(other than with respect to representations in this Agreement made by Parent that speak as of the date
hereof), references to the “Debt Commitment Letter” shall include such document as permitted or
required by this Section 7.08(c) to be amended, restated, replaced, supplemented or otherwise
modified or waived, in each case from and after such amendment, restatement, replacement,
supplement or other modification or waiver and, for the avoidance of doubt, references to “Debt
Financing” shall include, in whole or in part (as applicable), any replacement or substitute financing
provided for thereunder.

        (d)      In the event that any portion of the Debt Financing becomes unavailable on the terms
and conditions contemplated by the Debt Commitment Letter (including the flex provisions) (other
than as a result of Seller’s breach of any provision of this Agreement or failure to satisfy the
conditions set forth in Article 9), (i) Buyer shall promptly notify Seller and (ii) Buyer shall use its
reasonable best efforts to (A) arrange and obtain any such portion from alternative sources, on terms,
taken as whole, that are no more adverse to Buyer (including after giving effect to the market flex
provisions) (“Alternative Financing”), as promptly as practicable following the occurrence of such
event and (B) provide the Company with a copy of the new financing commitment that provides for
such Alternative Financing (the “Alternative Financing Commitment Letter”); provided that the
terms of such Alternative Financing shall not (A) impose new or additional conditions precedent or
expand upon the conditions precedent to the Debt Financing as set forth in the existing Debt
Commitment Letter, (B) reduce the aggregate amount of available Debt Financing to less than the
amount required to consummate the transactions contemplated by this Agreement or (C) otherwise
reasonably be expected to materially delay or prevent the Closing. As applicable, references in this
Agreement (other than with respect to representations in this Agreement made by Buyer that speak
as of the date hereof) to (x) the Debt Financing shall include such Alternative Financing and (y) the
Debt Commitment Letter shall include the Alternative Financing Commitment Letter.]

          Section 7.09. [Intentionally Deleted] Cooperation with Financing.

         Prior to the Closing, the Selling Entities shall use commercially reasonable efforts to
  provide to Buyer all customary cooperation that is reasonably requested by Buyer in connection
  with the Debt Financing, including using commercially reasonable efforts to: (i) facilitate the
  pledging of collateral, provided that no pledge shall be effective until the Closing; (ii) deliver to

                                                   52
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 64 of 86




Buyer and its Debt Financing Sources the Financing Deliverables as promptly as reasonably
practicable following Buyer’s request therefor; (iii) assist Buyer in the negotiation of Debt
Financing Agreements, including guarantee and collateral documents, and customary closing
certificates as may be required by the Debt Financing Sources, including the Financing
Deliverables (it being understood that such negotiations shall be led by Buyer, and Seller shall
only have the obligation to use commercially reasonable efforts to provide input where specifically
requested); (iv) to the extent applicable, cause its independent auditors to cooperate with the Debt
Financing and (v) to the extent reasonably requested by Buyer in writing at least ten Business Days
prior to the Closing Date, provide, no later than three Business Days prior to the Closing Date, all
documentation and other information about the Selling Entities required under applicable “know
your customer” and anti-money laundering rules and regulations, including the Patriot Act;
provided, however, that, notwithstanding the foregoing, nothing in this Agreement shall require
such cooperation to the extent it would interfere unreasonably with the business or operations of
the Selling Entities; and provided, further, that notwithstanding anything in this Agreement to the
contrary, the Selling Entities shall not (A) be required to pay any fees (including commitment or
other similar fees) or to give any indemnities or incur any liabilities, (B) have any liability or
obligation under any loan agreement, debt security or any related document or any other agreement
or document related to the Debt Financing, (C) be required to provide access to or disclose
information where such access or disclosure would (or would be reasonably expected to)
jeopardize the attorney-client privilege or contravene any Law or violate any contract, agreement
or confidentiality obligation binding on the Selling Entities or their Affiliates, (D) take any action
in respect of the Debt Financing to the extent that such action would cause any condition to Closing
to fail to be satisfied by the Outside Date or otherwise result in a breach of this Agreement by any
of the Selling Entities or their Affiliates, (E) result in the contravention of, or violation of breach
of, or default under, any material contract to which the Selling Entities or any of their Affiliates is
a party, (F) subject any of the Selling Entities or their Subsidiaries, or any of its or their respective
directors, managers, officers or employees to any actual or potential personal liability, (G) waive
or amend any terms of this Agreement or any other contract to which any Selling Entity is party,
(H) take any action that would subject it to actual or potential Liability, to bear any cost or expense
or to make any other payment or agree to provide any indemnity in connection with the Debt
Financing, the definitive documents related to the Debt Financing or any information utilized in
connection therewith (in each case except following the Closing Date) or (G) be required to
execute any document, certificate or instrument, or make any representation or warranty, in
connection with the Debt Financing, except for customary authorization letters and any such
contractual obligation, document, certificate or instrument that is conditioned upon, and not
effective until, the consummation of the Closing.

       (b)     Notwithstanding anything to the contrary set forth herein, the Selling Entities and
their Affiliates shall be deemed to have complied with their obligations under this Section 7.09 for
all purposes of this Agreement unless the applicable Debt Financing has not been obtained
primarily as a result of the Selling Entities’ or any of their Affiliates’ intentional and material
breach of their obligations under this Section 7.09.

       (c)    The Selling Entities hereby consent to the use of their respective logos in marketing
materials for the Debt Financing; provided, however, that such logos are used solely in a manner
that is not intended to or reasonably likely to harm or disparage the Selling Entities or the
reputation or goodwill of the Selling Entities.

                                                   53
        Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 65 of 86




         (d)     Notwithstanding any other provision set forth herein or in any other agreement
  between the Selling Entities and Buyer (or, in each case, their Affiliates), the Selling Entities agree
  that Buyer may share non-public or confidential information regarding the Selling Entities and
  their businesses with the Debt Financing Sources, and that Buyer, its Affiliates and such Debt
  Financing Sources may share such information with potential financing sources in connection with
  any marketing efforts (including any syndication) in connection with the Debt Financing; provided
  that the recipients of such information shall be treated as “Representatives” of Buyer pursuant to
  the Confidentiality Agreement.

        (e)      Buyer shall (i) promptly, upon request by the Selling Entities, reimburse the Selling
Entities for all reasonable, documented, out-of-pocket costs and expenses (including reasonable
attorneys’ fees) incurred by any Selling Entity or any of its Affiliates in connection with the
cooperation of the Selling Entities and their Affiliates contemplated by this Section 7.09, which shall
be based on reasonably detailed summary invoices, redacted if and to the extent necessary to preserve
privileged information, and (ii) indemnify and hold harmless the Selling Entities, their Affiliates and
their respective Representatives from and against any and all losses, damages, claims, costs or
expenses actually suffered or incurred by any of them of any type in connection with the arrangement
of any Debt Financing and any information used in connection therewith, except to the extent such
losses, damages, claims, costs or expenses result from the actual fraud or intentional misconduct of
the Selling Entities or their respective Representatives, and the foregoing obligations shall survive
termination of this Agreement.]

          Section 7.10. Additional Selling Entities.

          If, at any time after the date of this Agreement either Party discovers that any of the rights,
  interests, properties, or other assets constituting the Assets is owned by a Subsidiary of Seller who
  is not a Selling Entity, Seller shall promptly cause such Subsidiary to become a Selling Entity
  hereunder as if an original party hereto, to deliver a joinder in form and substance reasonably
  acceptable to Buyer and, subject to Section 2.06Section 2.06, to promptly transfer (or cause to be
  transferred) such assets to Buyer. Prior to any such transfer, the applicable Subsidiary of Seller
  possessing any such asset will hold it in trust for the benefit of Buyer.

          Section 7.11. Public Announcements; Filings.

          No Party nor any of its Affiliates shall make any public announcement or issue any press
  release or make any filings at any time concerning this Agreement or any Transaction Document
  or any of the transactions contemplated hereby or thereby, without the prior written approval of
  the other Parties, not to be unreasonably withheld, delayed or conditioned. Notwithstanding the
  immediately preceding sentence, in the event any Party reasonably determines, on advice of
  counsel, that any such filing is required by the Bankruptcy Court or otherwise under Applicable
  Law, such Party shall give the other Parties advance written notice of, and a meaningful
  opportunity (as practicable under the circumstances) to review and comment on, the proposed form
  and substance of any such filing, but prior written approval shall not be required. The Party whose
  proposed filing is the subject of review shall consider carefully and in good faith all comments
  timely received from the other Parties.




                                                    54
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 66 of 86




                                         ARTICLE 8
                                  ADDITIONAL AGREEMENTS

       Section 8.01. Taxes.

       (a)    Transfer Taxes. Buyer shall be responsible for all documentary, stamp, transfer
(including real property transfer), motor vehicle registration, sales, use, value added, excise and
other similar non-income Taxes and all filing and recording fees (and any interest, penalties and
additions with respect to such Taxes and fees) arising from or relating to the consummation of the
transactions contemplated by this Agreement (collectively, “Transfer Taxes”), regardless of the
party on whom Liability is imposed under the provisions of the Applicable Laws relating to such
Transfer Taxes. Seller and Buyer will consult and cooperate on a reasonable basis in preparing
and timely filing all Tax Returns with respect to any Transfer Taxes and will cooperate on a
reasonable basis and otherwise take commercially reasonable efforts to obtain any available
exemptions from or reductions in such Transfer Taxes. To the extent Seller or any of its
Subsidiaries is required by Applicable Law to pay any Transfer Taxes to a Tax Authority
(including pursuant to a post-Closing adjustment or Order), Buyer will remit an amount equal to
such Transfer Taxes to Seller not less than five Business Days prior to the due date for such
payment.

      (b)     Straddle Periods. In the case of any Straddle Period, (i) all Property Taxes for any
such period shall be apportioned between the Pre-Closing Tax Period and the Post-Closing Tax
Period on a per diem basis and (ii) all other Taxes shall be apportioned between the Pre-Closing
Tax Period and the Post-Closing Tax Period as if the Pre-Closing Tax Period ended at the close of
business on the date prior to the Closing Date.

        (c)   Cooperation and Audits. Buyer and its Affiliates, and Seller and its Affiliates will
cooperate on a reasonable basis with each other regarding Tax matters governed by this Agreement
and will make available to the other as reasonably requested all information, records and
documents relating to Taxes governed by this Agreement and the filing of Tax Returns until the
expiration of the applicable statute of limitations or extension thereof or the conclusion of all
audits, appeals or litigation with respect to such Taxes.

       Section 8.02. Allocation of Purchase Price.

        (a)    The Purchase Price (plus any Assumed Liabilities and other amounts properly taken
into account under the Code) shall be allocated among the Assets in accordance with Section 1060
of the Code and the Treasury regulations promulgated thereunder (and any similar provision of
state, local or foreign law, as appropriate) (the “Allocation”). The Allocation shall be delivered
by Buyer to Seller within 60 days after the Closing Date for Seller’s review and comment. If,
within 30 days after the delivery of the Allocation, Seller notifies Buyer in writing that Seller
objects to any allocation set forth thereon, Buyer and Seller shall negotiate in good faith to resolve
such objection. In the event that Buyer and Seller are unable to resolve such dispute within 30
days following Seller’s notification of such objection, Buyer and Seller shall jointly retain a referee
chosen and mutually acceptable to both Buyer and Seller to resolve the disputed items. Upon
resolution of the disputed items, the Allocation shall be adjusted to reflect such resolution. The
costs, fees and expenses of the referee shall be borne equally by Buyer and Seller.

                                                  55
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 67 of 86




       (b)     (i) Seller and Buyer will report, act and file (and will cause their respective Affiliates
to report, act and file) Tax Returns (including IRS Form 8594) in all respects and for all purposes
consistent with the Allocation and (ii) neither Seller nor Buyer will take any position (or will allow
any of their respective Affiliates to take any position) (whether in audits, Tax Returns, or
otherwise) that is inconsistent with the Allocation, except, in each case, to the extent otherwise
required by Applicable Law.

        Section 8.03. Assigned Contracts; Adequate Assurance and Performance.

        (a)    With respect to each Assigned Contract, Buyer will deliver within 24 hours of
approval of this Agreement by the Bankruptcy Court information it reasonably believes to be
sufficient to demonstrate Buyer’s adequate assurance of the future performance by Buyer of each
such Assigned Contract as required under Section 365 of the Bankruptcy Code, which information
Seller or if applicable, Seller’s Subsidiaries, will be permitted to disseminate to any Third Party
that is a party to any 365 Contract. In the event Buyer cannot demonstrate adequate assurance of
future performance with respect to an Assigned Contract, at Buyer’s election, such Assigned
Contract shall become an Excluded Contract.

       (b)   From and after Closing, Buyer will pay, perform or satisfy the Assumed Liabilities
from time to time and as such Assumed Liabilities become due and payable or are required to be
performed or satisfied in accordance with their respective terms.

         (c)    Without limiting the provisions of Section 8.03(a)Section 8.03(a), Buyer
acknowledges that neither Seller nor any Subsidiary of Seller will have any duty to maintain any
bonds, letters of credit, guarantees, cash deposits or insurance to secure performance or payment
under any Assigned Contracts (collectively, “Seller Credit Obligations”) after the Closing or
otherwise with respect to the Business. On or before the Closing, Buyer will use commercially
reasonable efforts to obtain from the creditor or other counterparty (or, in the case of letters of
credit, bonds or other similar Seller Credit Obligations, the issuing bank (or similar entity) thereof)
a full release (in a form and substance reasonably satisfactory to Seller) of all parties liable, directly
or indirectly, for reimbursement to the creditor or issuing bank (or similar entity), as applicable, or
fulfillment of other obligations to a counterparty or issuing bank (or similar entity), as applicable,
under the Seller Credit Obligations (including any lenders or other financing parties participating
in such letters of credit, bonds or similar Seller Credit Obligations). If any Seller Credit Obligation
remains outstanding as of the Closing Date, Buyer will indemnify Seller and its Subsidiaries and
hold them harmless against any Liabilities that Seller or any such Subsidiary may incur under any
such Seller Credit Obligations attributable to periods from and after the Closing.

       (d)    Notwithstanding anything to the contrary contained herein, Buyer will not (i) enter
into any transactions after the Closing in the name of Seller or any of its Affiliates or that would
be covered by Seller Credit Obligations or (ii) amend, modify, extend or renegotiate any material
term of any obligation that is covered by a Seller Credit Obligations in any manner that increases
or extends the potential exposure of Seller, any Subsidiary of Seller, or any of its or their
respective Affiliates under any Seller Credit Obligations.

        Section 8.04. Employee Matters.



                                                   56
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 68 of 86




       (a)   Transferred Employees. Prior to the Closing, Buyer will offer employment to each
of the Company Employees who remain employed immediately prior to the Closing on
employment terms that are consistent with the requirements of this Section 8.04Section 8.04. Such
individuals who accept such offer by the Closing Date are hereinafter referred to as the
“Transferred Employees.”

       (b)    Seller Benefit Plans. Prior to the Closing, Buyer and the Selling Entities will, or will
cause their respective Subsidiaries to, take such actions as are necessary to cause the sponsorship
of the Assumed Plans to transfer to Buyer and to facilitate Buyer’s assumption of the Liabilities
associated with such Assumed Plans, in each case effective as of the Closing.[Intentionally
Deleted]

        (c)    Compensation and Benefits. For a period of not less than 12 months after the Closing
Date, Buyer will provide base salaries, target incentive compensation opportunities and employee
benefits to the Transferred Employees that are substantially comparable in the aggregate to the
base salaries, target incentive compensation opportunities and employee benefits such Transferred
Employees were receiving or were eligible to receive immediately prior to the Closing. In the event
that any Transferred Employee first becomes eligible to participate in a welfare benefit plan of
Buyer or any of its Affiliates after the Closing Date (each, a “Buyer Welfare Plan”), Buyer will,
or will cause its Affiliates to, (i) waive all limitations as to preexisting conditions, exclusions and
all waiting periods with respect to participation and coverage requirements applicable to each
Transferred Employee under any such Buyer Welfare Plan to the same extent as such conditions,
exclusions and waiting periods have been waived under any analogous Seller Benefit Plan prior to
the Closing Date and (ii) credit each Transferred Employee for any co-payments, deductibles and
other out-of-pocket expenses paid prior to the Closing Date under the terms of any analogous
Seller Benefit Plan in satisfying any applicable co-payment, deductible or out-of-pocket
requirements for the plan year in which the Closing Date occurs under such Buyer Welfare Plan.

        (d)    No Obligations. No provision in this Section 8.04Section 8.04 or otherwise in this
Agreement, whether express or implied, will (i) create any third-party beneficiary or other rights
in any current or former Company employee (including any beneficiary or dependent thereof), any
other participant in any Seller Benefit Plan or any other Person; (ii) create any rights to continued
employment with Seller, Buyer or any of their respective Subsidiaries or Affiliates or in any way
limit the ability of Seller, Buyer or any of their respective Subsidiaries or Affiliates to terminate
the employment of any individual at any time and for any reason; or (iii) constitute or be deemed
to constitute an amendment to any Seller Benefit Plan or any other employee benefit plan, program,
policy, agreement or arrangement sponsored or maintained by Seller, Buyer or any of their
respective Subsidiaries or Affiliates.

       Section 8.05. Post-Closing Books and Records.

         Until the earlier of the closure of the Bankruptcy Cases and five (5) years after the Closing
Date, (a) Buyer will use commercially reasonable efforts not to dispose of or destroy any of the
Records received by Buyer as Assets and (b) Buyer will allow such Selling Entity (including, for
clarity, any trust established under a Chapter 11 plan of such Selling Entity or any other successors
of such Selling Entity) and any of its respective directors, officers, employees, counsel,
Representatives, accountants and auditors reasonable access during normal business hours, upon

                                                  57
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 69 of 86




reasonable advance notice, to any Records included in the Assets for purposes relating to the
Bankruptcy Cases, the wind-down of the operations of such Selling Entity or any such trusts or
successors and such Selling Entity (including any such trust or successors) and such directors,
officers, employees, counsel, Representatives, accountants and auditors will have the right to make
copies of any such Records for such purposes. Until the liquidation and winding up of each Selling
Entity’s estate, such Selling Entity may keep a copy of the Records. In the event any Party desires
to destroy any such Records prior to the time during which they must be maintained pursuant to
this Section 8.05Section 8.05, such Party will first give 30 days’ prior written notice to the other
Party and such other Party will have the right at their option and expense, upon prior written notice
given within such 30 day period to the Party desiring to destroy such Records or records, to take
possession of the Records within 60 days after the date of such notice, or such shorter period as
the liquidation and winding up of each applicable Selling Entity’s estate will permit. Except as
required by Applicable Laws or to the extent required to enforce its rights with respect to the
Excluded Liabilities, from and after the Closing, the Selling Entities will keep confidential and not
use the Records that would have been included in the Records but for the failure to obtain a material
Third Party consent or any Records to which it has access under this Section 8.05Section 8.05,
except for the use thereof as expressly permissible hereunder.

        Section 8.06. Use of Trademarks. Effective as of the Closing, Buyer, on behalf of itself
and its Affiliates, hereby grants to Seller and its Subsidiaries an irrevocable, worldwide, non-
exclusive, fully paid-up, royalty-free right and license to use any and all Trademarks included in
the Assets for the purposes of winding down the operations of Seller and its Subsidiaries following
the Closing.

        Section 8.07. Title Matters. The Selling Entities will deliver, or cause to be delivered, to
Buyer, at or prior to the Closing, (i) copies of existing surveys, legal descriptions and title policies
relating to the Owned Real Property in each case, in any Selling Entities’ possession or control,
(ii) such bills of sale, deeds, endorsements, assignments and other customary instruments of
conveyance and transfer, in form and substance reasonably satisfactory to Buyer, as Buyer may
reasonably request in order to vest in Buyer all of the applicable Selling Entity’s right, title and
interests in, to or under any or all Real Property Interests, in each case, in any Selling Entities’
possession or control and (iii) such ordinary and customary documents (including any factually
accurate title affidavits) as may be reasonably required by any title company or title insurance
underwriter to enable Buyer to acquire, at Buyer’s sole election and sole cost and expense, one or
more owner policies of title insurance issued by such title company covering any or all of the
Owned Real Property.

        Section 8.08. Insurance Access. Following the Closing Date, with respect to any actions,
inactions, events, omissions, conditions, facts, circumstances, losses, damages and Liabilities
which occurred or are alleged to have occurred, or were incurred or claimed to have been incurred,
with respect to the Assets prior to the Closing Date, Seller will provide Buyer with access to, and
Buyer may, upon prior written notice to Seller, make claims under Seller’s and its Subsidiaries’
non-transferable third-party insurance policies (excluding any self-insurance policies or programs,
or any insurance policies or programs that are substantially similar in effect to self-insurance) that
are “occurrence based” insurance policies in place immediately prior to the Closing (each such
policy, an “Available Insurance Policy”); provided, that such access to, and the right to make
claims under, such insurance policies, shall be subject to the terms and conditions of such insurance

                                                  58
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 70 of 86




policies, including any restrictions on coverage or scope, any deductibles, retentions or self-
insurance provision, and any fees, costs, or other expenses, and shall be subject to the following
additional conditions:

      (a)   Buyer shall report any potentially insured pre-Closing Date claim to Seller, as
promptly as practicable and in any event in sufficient time so that such claim may be made in
accordance with Seller’s claim reporting procedures in effect immediately prior to the Closing;

        (b)    Premiums and premium increases, fees and expenses incurred by Seller or any of its
Subsidiaries to the extent resulting from any access to, or any claims made by Buyer or any of its
Affiliates under, any Available Insurance Policy, including any reasonable legal fees and allocated
claims, expenses or claim handling fees, whether such claims are made by Buyer, its Affiliates or
its or their respective Representatives, will, in each case, be promptly reimbursed to Seller by
Buyer;

       (c)    Any recovery under any available Insurance Policy shall be net of all uninsured,
uncovered, unavailable or uncollectible amounts of all such claims made by Buyer or any of its
Affiliates under the policies as provided for under the Available Insurance Policies (including any
deductible, retention or other similar amounts);

       (d)    Claims made by Buyer pursuant to this Section 8.08Section 8.08 will be subject to
(and recovery thereon will be reduced by the amount of) any applicable deductibles, retentions, or
self-insurance provisions under the Available Insurance Policies. With respect to any deductibles,
retentions or self-insurance provisions described in the immediately preceding sentence that
require a payment by Seller or any of its Subsidiaries, Buyer shall reimburse Seller or such
Subsidiary for such payment. It is understood that Buyer will not have access to or coverage under
any non-transferable insurance policy retained by Seller or any of its Subsidiaries that is not
“occurrence based”; and

       (e)    Without limiting Buyer’s right to make claims directly against the applicable
insurance policies, in no event shall any Selling Entity be required to provide Buyer access under
this Section 8.08Section 8.08 after such entity’s Bankruptcy Case has been closed.

       Section 8.09. Disclaimers.

       (a)    General Disclaimer. To the extent required by Applicable Laws to be operative,
the disclaimers of certain warranties contained in this Section 8.09Section 8.09 are “conspicuous
disclaimers” for purposes of any Applicable Laws.

     (b)   EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES OF
SELLER EXPRESSLY SET FORTH IN ARTICLE 5ARTICLE 5 (AS MODIFIED OR
QUALIFIED BY THE SCHEDULES HERETO OR OTHERWISE AS PROVIDED
HEREIN), (I) NONE OF SELLER, ANY SUBSIDIARY OF SELLER NOR ANY OTHER
PERSON MAKE ANY REPRESENTATIONS OR WARRANTIES, EXPRESS,
STATUTORY OR IMPLIED OR OTHERWISE, WITH RESPECT TO, OR IN
RELATION TO, ANY OF THE ASSETS OR THE TRANSACTIONS CONTEMPLATED
BY THIS AGREEMENT, AND BUYER EXPRESSLY WAIVES AND
ACKNOWLEDGES THAT NONE OF SELLER, ANY SUBSIDIARY OF SELLER NOR

                                                59
    Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 71 of 86




ANY OTHER PERSON MAKE ANY SUCH WARRANTY OR REPRESENTATION,
AND BUYER IS NOT RELYING ON ANY SUCH WARRANTY OR
REPRESENTATION, (II) SELLER, ON BEHALF OF ITSELF AND ITS
SUBSIDIARIES, EXPRESSLY DISCLAIMS ALL LIABILITY AND RESPONSIBILITY
FOR ANY REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION
MADE OR COMMUNICATED (ORALLY, IN WRITING OR OTHERWISE) TO
BUYER OR ANY OF ITS AFFILIATES, EMPLOYEES, AGENTS, CONSULTANTS OR
REPRESENTATIVES (INCLUDING ANY STATEMENT, OPINION, INFORMATION,
PROJECTION OR ADVICE THAT MAY HAVE BEEN PROVIDED TO BUYER BY
ANY OFFICER, DIRECTOR, EMPLOYEE, AGENT, CONSULTANT,
REPRESENTATIVE OR ADVISOR OF EACH SELLER OR ANY OF ITS
RESPECTIVE AFFILIATES) AND (III) ALL PROPERTIES INCLUDED IN THE
ASSETS WILL BE CONVEYED BY SELLER OR ITS APPLICABLE SUBSIDIARIES
AND ACCEPTED BY BUYER PRECISELY AND ONLY AS IS, WHERE IS, AND WITH
ALL DEFECTS AND FAULTS WITHOUT RECOURSE AND WITHOUT WARRANTY
(INCLUDING WITHOUT ANY WARRANTY OF TITLE).

      (c) EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES OF
SELLER EXPRESSLY SET FORTH IN ARTICLE 5ARTICLE 5 OF THIS
AGREEMENT (AS MODIFIED OR QUALIFIED BY THE SCHEDULES HERETO OR
OTHERWISE AS PROVIDED HEREIN), BUYER ACKNOWLEDGES AND AGREES
THAT SELLER AND SELLER’S SUBSIDIARIES ARE CONVEYING THE ASSETS
WITHOUT REPRESENTATION OR WARRANTY, EITHER EXPRESS OR IMPLIED
AT COMMON LAW, BY STATUTE, OR OTHERWISE (ALL OF WHICH SELLER
HEREBY DISCLAIMS), RELATING TO (I) TITLE, (II) THE MERCHANTABILITY,
DESIGN, OR QUALITY OF ASSETS, (III) THE FITNESS OF THE ASSETS FOR ANY
PARTICULAR PURPOSE, (IV) THE ABSENCE OF PATENT, LATENT OR
REDHIBITORY VICES OR DEFECTS, (V) THE ENVIRONMENTAL OR PHYSICAL
CONDITION OF THE ASSETS (SURFACE AND SUBSURFACE), (VI) COMPLIANCE
WITH APPLICABLE LAWS, (VII) THE CONTENTS, CHARACTER OR NATURE OF
ANY INFORMATION MEMORANDUM OR MANAGEMENT PRESENTATION, (VIII)
ANY ESTIMATES OF THE VALUE OF THE ASSETS OR FUTURE REVENUES
GENERATED BY THE ASSETS, (IX) CONTRACTUAL, ECONOMIC, FINANCIAL
INFORMATION AND/OR OTHER DATA AND ANY RELATED ESTIMATIONS OR
PROJECTIONS MADE IN SALE PRESENTATIONS OR MARKETING MATERIALS,
(X) CONTINUED FINANCIAL VIABILITY, INCLUDING PRESENT OR FUTURE
VALUE OR ANTICIPATED INCOME OR PROFITS, (XI) THE CONTENT,
CHARACTER OR NATURE OF ANY INFORMATION MEMORANDUM, REPORTS,
BROCHURES, CHARTS OR STATEMENTS PREPARED BY THIRD PARTIES, (XII)
ANY OTHER MATERIALS OR INFORMATION THAT MAY HAVE BEEN MADE
AVAILABLE OR COMMUNICATED TO BUYER OR ITS AFFILIATES, OR ITS OR
THEIR EMPLOYEES, AGENTS, CONSULTANTS, REPRESENTATIVES OR
ADVISORS IN CONNECTION WITH THE TRANSACTIONS CONTEMPLATED BY
THIS AGREEMENT OR ANY DISCUSSION OR PRESENTATION RELATING
THERETO, (XIII) ANY IMPLIED OR EXPRESS WARRANTY OF FREEDOM FROM
INTELLECTUAL PROPERTY INFRINGEMENT, MISAPPROPRIATION OR OTHER
VIOLATION OR (XIV) ANY OTHER MATTER WHATSOEVER (INCLUDING THE

                                    60
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 72 of 86




ACCURACY OR COMPLETENESS OF ANY INFORMATION PROVIDED TO
BUYER), IT BEING EXPRESSLY UNDERSTOOD AND AGREED BY THE PARTIES
THAT BUYER WILL BE DEEMED TO BE OBTAINING THE ASSETS IN THEIR
PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS IS” AND “WHERE
IS” WITH ALL FAULTS AND THAT BUYER HAS MADE OR CAUSED TO BE MADE
SUCH INSPECTIONS AS BUYER DEEMS APPROPRIATE AND BUYER
IRREVOCABLY WAIVES ANY AND ALL CLAIMS IT MAY HAVE AGAINST
SELLER OR ANY SUBSIDIARY OF SELLER ASSOCIATED WITH SAME.

    (d)  EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES OF
SELLER EXPRESSLY SET FORTH IN ARTICLE 5ARTICLE 5 OF THIS
AGREEMENT (AS MODIFIED OR QUALIFIED BY THE SCHEDULES HERETO OR
OTHERWISE AS PROVIDED HEREIN), SELLER AND SELLER’S SUBSIDIARIES
HAVE NOT AND WILL NOT MAKE ANY REPRESENTATION OR WARRANTY
REGARDING ANY MATTER OR CIRCUMSTANCE RELATING TO
ENVIRONMENTAL, HEALTH AND SAFETY LAWS, ASSUMED LIABILITIES
RELATING TO ENVIRONMENTAL, HEALTH AND SAFETY LAWS, THE RELEASE
OF MATERIALS INTO THE ENVIRONMENT OR THE PROTECTION OF HUMAN
HEALTH, SAFETY, NATURAL RESOURCES OR THE ENVIRONMENT, OR ANY
OTHER ENVIRONMENTAL CONDITION OF THE ASSETS, AND NOTHING IN THIS
AGREEMENT OR OTHERWISE WILL BE CONSTRUED AS SUCH A
REPRESENTATION OR WARRANTY, AND BUYER IS DEEMED TO BE TAKING
THE ASSETS “AS IS” AND “WHERE IS” FOR PURPOSES OF THEIR
ENVIRONMENTAL CONDITION.

       Section 8.10. Collection of Accounts Receivable.

        (a)    As of the Closing Date, each Selling Entity hereby (i) authorizes Buyer to open any
and all mail addressed to any Selling Entity relating to the Assets and delivered to the offices of
the Business or otherwise to Buyer if received on or after the Closing Date and (ii) appoints Buyer
or its attorney-in-fact to endorse, cash and deposit any monies, checks or negotiable instruments
received by Buyer after the Closing Date with respect to accounts receivable relating to work
performed or products sold by Buyer after the Closing, as the case may be, made payable or
endorsed to any Selling Entity or Selling Entity’s order, for Buyer’s own account.

       (b)    As of the Closing Date, each Selling Entity agrees that any monies, checks or
negotiable instruments received or identified by any Selling Entity after the Closing Date with
respect to accounts receivable relating to work performed or products sold by Buyer after the
Closing, as the case may be, shall be held in trust by such Selling Entity for Buyer’s benefits and
accounts, not commingled with other funds of such Selling Entity, and promptly upon receipt by
a Selling Entity of any such payment, such Selling Entity shall pay over to Buyer the amount of
such payments without any right of set-off or reimbursement. In addition, Buyer agrees that, after
the Closing, it will seek to collect all Accounts Receivable in the ordinary course of business, and
will hold and will promptly transfer and deliver to Seller, from time to time as and when received
or identified by Buyer or its Affiliates, any cash, checks with appropriate endorsements, payment
of an account, trade, note receivable or other payment or property or assets that Buyer or its


                                                61
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 73 of 86




Affiliates may receive or identify on or after the Closing which properly belongs to the Selling
Entities as an Excluded Asset.

      (c)    As of the Closing Date, Buyer shall have the sole authority to bill and collect
accounts receivable relating to work performed or products sold by Buyer after the Closing.

                                 ARTICLE 9
           CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER TO CLOSE

        The obligation of Buyer to consummate the Closing is subject to the satisfaction or, to the
extent permitted by Applicable Law, waiver in writing by Buyer, at or prior to the Closing, of each
of the following conditions:

       Section 9.01. Accuracy of Representations.

       (a)    The representations and warranties of the Selling Entities contained in Sections
5.015.01 (solely the first sentence thereof) and 5.025.02 will be true and correct in all material
respects at and as of the Closing, as if made at and as of such time, except to the extent expressly
made as of an earlier date, in which case as of such earlier date, (b) the other representations and
warranties of Seller contained in this Agreement (without giving effect to any qualifications or
exceptions as to “materiality” or “Material Adverse Effect” set forth therein) will be true and
correct at and as of the Closing, as if made at and as of such time, except to the extent expressly
made as of an earlier date, in which case as of such earlier date, except for such failures to be so
true and correct, as would not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect, and (c) Buyer will have received a certificate on behalf of each Selling
Entity to such effect signed by a duly authorized officer of Seller.

         Section 9.02. Selling Entities’ Performance. (a) No Selling Entity will have breached the
covenants that such Selling Entity is required to perform pursuant to this Agreement prior to the
Closing in any material respect (or will have cured any such breach to the extent necessary to
satisfy this condition), and (b) Buyer will have received a certificate of each Selling Entity to such
effect signed by a duly authorized officer thereof.

       Section 9.03. Seller’s Deliveries. Each of the deliveries required to be made to Buyer
pursuant to Section 4.04Section 4.04 will have been delivered (or the applicable Selling Entity will
make such deliveries at the Closing).

                             ARTICLE 10
   CONDITIONS PRECEDENT TO THE OBLIGATION OF BUYER AND THE SELLING
                              ENTITIES

       The respective obligations of Buyer and the Selling Entities to consummate the Closing
are subject to the satisfaction or, to the extent permitted by Applicable Law, waiver in a joint
writing by Buyer and the Selling Entities, at or prior to the Closing, of each of the following
conditions:



                                                 62
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 74 of 86




        Section 10.01. No Order. There will not be in effect any Order by any court of competent
jurisdiction in the United States prohibiting the Closing.

       Section 10.02. Sale Order. The Bankruptcy Court will have entered the Sale Order, and
each such order will be a Final Order in full force and effect and will not have been stayed or
vacated.

       Section 10.03. HSR Act.    The waiting period applicable to the transactions
contemplated by this Agreement under the HSR Act will have expired or early termination will
have been granted.

                             ARTICLE 11
   CONDITIONS PRECEDENT TO THE OBLIGATION OF THE SELLING ENTITIES TO
                                CLOSE

        The Selling Entities’ obligation to consummate the Closing is subject to the satisfaction or,
to the extent permitted by Applicable Law, waiver in writing by Seller, at or prior to the Closing,
of each of the following conditions:

        Section 11.01. Accuracy of Representations. (a) The representations and warranties of
Buyer contained in Article 6Article 6 of this Agreement that are not qualified by materiality will
be true and correct in all material respects at and as of the Closing, as if made at and as of such
time, except to the extent expressly made as of an earlier date, in which case as of such earlier
date, (b) the representations and warranties of Buyer contained in this Agreement that are qualified
by materiality will be true and correct in all respects at and as of the Closing, as if made at and as
of such time, except to the extent expressly made as of an earlier date, in which case as of such
earlier date and (c) Seller will have received a certificate of Buyer to such effect signed by a duly
authorized officer thereof.

         Section 11.02. Buyer’s Performance. (a) Buyer will not have breached its covenants that
it is required to perform pursuant to this Agreement prior to the Closing in any material respect (or
will have cured any such breach to the extent necessary to satisfy this condition) and (b) Seller
will have received a certificate of Buyer to such effect signed by a duly authorized officer thereof.

       Section 11.03. Buyer’s Deliveries.

        Each of the deliveries required to be made to Seller pursuant to Section 4.03Section 4.03
will have been delivered (or Buyer will make such deliveries at the Closing).

                                          ARTICLE 12
                                         TERMINATION

       Section 12.01. Termination Events.

        Notwithstanding anything herein to the contrary, this Agreement may be terminated at any
time prior to the Closing:



                                                 63
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 75 of 86




       (a)    by mutual written agreement of Seller and Buyer;

       (b)    by written notice of either Seller or Buyer to such other Party if:

                 (i)   the Closing has not occurred by the close of business on [●] April 20, 2020
       (the “Outside Date”); provided, if all conditions specified in Articles 9, 10 and 11 have
       been satisfied or waived as of the initial Outside Date (or, with respect to those conditions
       which, by their nature can only be satisfied at the Closing, would reasonably be capable of
       satisfaction as of such date), other than the conditions set forth in Section 10.03 and Section
       10.01 (if the Order relates to the matters referenced in Section 10.03), then the Outside
       Date shall be further extended to [●] if either Buyer or Seller notifies the other party in
       writing on or prior to the initial Outside Date of its election to extend the Outside Date to
       such date; provided, further, that a Party may not terminate this Agreement pursuant to this
       Section 12.01(b)(i)Section 12.01(b)(i) if such Party is in material breach of any of its
       representations, warranties, covenants or agreements contained herein;

               (ii)   there is in effect a Final Order by any court of competent jurisdiction in the
       United States prohibiting the Closing; provided that a Party may not terminate this
       Agreement pursuant to this Section 12.01(b)(ii)Section 12.01(b)(ii) if such party is in
       material breach of any of its representations, warranties, covenants or agreements
       contained herein beyond all notice and cure periods, if any;

              (iii)   any of the Selling Entities enter into a definitive agreement providing for a
       Superior Proposal and the closing of the sale of the relevant Assets to the applicable
       acquirer pursuant to such Superior Proposal has occurred; or

              (iv)    if, after their respective entry, either the Bidding Procedures Order or Sale
       Order ceases to be in full force and effect;

       (c)    so long as Buyer is not in material breach of any of its representations, warranties,
covenants or agreements contained herein, by Buyer by written notice to the Selling Entities if
(i) any Selling Entity breaches any representation or warranty or any covenant or agreement
contained in this Agreement, (ii) such breach would result in a failure of a condition set forth in
Article 9Article 9 or Article 10Article 10 and (iii) such breach has not been cured by the earlier of
(1) 10 Business Days after the giving of written notice by Buyer to the Selling Entities of such
breach and (2) the Outside Date;

       (d)    so long as no Selling Entity is in material breach of any of its representations,
warranties, covenants or agreements contained herein, by the Selling Entities by written notice to
Buyer if (i) Buyer breaches any representation or warranty or any covenant or agreement contained
in this Agreement, (ii) such breach would result in a failure of a condition set forth in Article
10Article 10 or Article 11Article 11 and (iii) such breach has not been cured by the earlier of (1)
10 Business Days after the giving of written notice by the Selling Entities to Buyer of such breach
and (2) the Outside Date;

       (e)    by the Selling Entities by written notice to Buyer if Buyer fails to consummate the
transactions contemplated hereby, including payment of the Cash Purchase Price, as and when
required by Article 4Article 4 hereof; or

                                                 64
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 76 of 86




        (f)   by Seller by written notice to Buyer if (x) the Bankruptcy Cases are, without
Seller’s consent, converted into cases under Chapter 7 of the Bankruptcy Code or dismissed, or
(y) without Seller’s consent, a trustee under Chapter 11 of the Bankruptcy Code is appointed in
the Bankruptcy Cases.

        Section 12.02. Effect of Termination. In the event of a valid termination of this Agreement
by Buyer or the Selling Entities pursuant to this Article 12Article 12, all rights and obligations
under this Agreement will terminate without any Liability of any Party or Person to any other Party
or Person; provided that, subject to Section 13.07Section 13.07 (if applicable), nothing herein will
relieve any Party from Liability for any failure to consummate the transactions contemplated
hereby when required pursuant to this Agreement or any willful and material breach of this
Agreement prior to such termination; and provided, further, that the provisions of this Section
12.02Section 12.02, Section 12.03Section 12.03, Section 3.02Section 3.02, Section 7.01(b)Section
7.01(b), Section 1.01(a)Section 7.09(e),] Section 8.09Section 8.09 and Section 13.07Section 13.07
(and, to the extent applicable to the interpretation or enforcement of such provisions, Article
1Article 1 and Article 13Article 13) will survive the termination of this Agreement.

        Section 12.03. Procedure Upon Termination. In the event of termination pursuant to
Section 12.01Section 12.01, the terminating Party must give written notice thereof, specifying the
provision pursuant to which the Agreement is being terminated, to the other Party, and this
Agreement will terminate (subject to Section 12.02Section 12.02) and the purchase of the Assets
hereunder will be abandoned without further action by Buyer or Seller. If this Agreement is
terminated as provided herein, Seller will be deemed to have delivered notice to Buyer that it must
return or destroy all Confidential Information (as defined in the Confidentiality Agreement)
pursuant to Section []7 of the Confidentiality Agreement and Buyer will redeliver to the Selling
Entities or destroy all documents, work papers and other materials of Buyer and its Representatives
relating to the transactions contemplated hereby, in accordance with the terms of the
Confidentiality Agreement, including the requirement to confirm any such destruction in writing
to the Selling Entities.

                                        ARTICLE 13
                                    GENERAL PROVISIONS

       Section 13.01. No Survival of Representations and Warranties.

        The representations and warranties contained herein and in any certificate or other
Transaction Document delivered by any Party pursuant to this Agreement will terminate upon and
not survive the Closing and there will be no Liability thereafter in respect thereof. Each Party’s
covenants and other agreements contained in this Agreement will terminate upon the Closing,
except the Post-Closing Covenants applicable to such Party, which will survive the Closing until
the earlier of (a) performance of such Post-Closing Covenant in accordance with this Agreement
or (b)(i) if time for performance of such Post-Closing Covenant is specified in this Agreement, 90
days following the expiration of the time period for such performance, or (ii) if time for
performance of such Post-Closing Covenant is not specified in this Agreement, the expiration of
the applicable statute of limitations with respect to any claim for any failure to perform such Post-
Closing Covenant; provided that if a written notice of any claim with respect to any Post-Closing
Covenant is given prior to the expiration thereof then such Post-Closing Covenant will survive

                                                 65
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 77 of 86




until, but only for purposes of, the resolution of such claim by final, non-appealable judgment or
settlement.

       Section 13.02. Notices.

       All notices, consents, waivers and other communications under this Agreement must be in
writing and will be deemed to have been duly given (a) when delivered by hand (with written
confirmation of receipt), (b) when sent by email (with read receipt received), (c) one Business Day
following the day sent by overnight courier (with written confirmation of receipt), or (d) when
received by the addressee, if sent by registered or certified mail (postage prepaid, return receipt
requested), in each case to the appropriate addresses and Representatives (if applicable) set forth
below (or to such other addresses and Representatives as a Party may designate by notice to the
other Parties):

                (i)   If to any Selling Entity, then to:

                      Dean Foods Company
                      2711 North Haskell Avenue, Suite 3400
                      Dallas, TX 75204
                      Attn: Office of the General Counsel
                      E-mail: kristy_waterman@deanfoods.com

                      with a copy (which will not constitute notice) to:

                      Davis Polk & Wardwell LLP
                      Attn: Louis Goldberg
                            Brian Resnick
                            Harold Birnbaum
                      450 Lexington Avenue
                      New York, NY 10017
                      E-mail: louis.goldberg@davispolk.com
                             brian.resnick@davispolk.com
                             harold.birnbaum@davispolk.com

               (ii)   If to Buyer:

                      Maryland and Virginia Milk Producers
                      Cooperative Association, Incorporated
                      Attn: Jay Bryant, Chief Executive Officer
                      1985 Isaac Newton Square, Suite 200
                      Reston, VA 20190
                       E-Mail:     JBryant@mdvamilk.com
                       [Party]
                      Attn: [●]
                      [Address]
                      E-mail: [●]

                      with a copy (which will not constitute notice) to:

                                                66
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 78 of 86




                       [Party]
                       Watkinson Miller PLLC
                       Attn: [●]
                       Wayne Watkinson, Esq
                       1100 New Jersey Avenue, SE, Suite 910
                       Washington, DC 20003[Address]
                       E-mail:wwatkinson@ watkinsonmiller.com [●]

       Section 13.03. Waiver.

        Neither the failure nor any delay by any Party in exercising any right, power or privilege
under this Agreement or the documents referred to in this Agreement will operate as a waiver of
such right, power or privilege, and no single or partial exercise of any such right, power or privilege
will preclude any other or further exercise of such right, power or privilege or the exercise of any
other right, power or privilege. To the maximum extent permitted by Applicable Laws, (i) no
waiver that may be given by a Party will be applicable except in the specific instance for which it
is given, and (ii) no notice to or demand on one Party will be deemed to be a waiver of any right
of the party hereto that gives such notice or demand to take further action without notice or
demand.

       Section 13.04. Entire Agreement; Amendment.

         This Agreement (including the Schedules, Disclosure Schedules and the Exhibits), the
other Transaction Documents and the Confidentiality Agreement supersede all prior agreements
between Buyer and the Selling Entities with respect to its subject matter and constitute a complete
and exclusive statement of the terms of the agreements between Buyer and the Selling Entities
with respect to the subject matter hereof and thereof. Except as permitted under Section
2.05(c)Section 2.05(c), this Agreement, including all exhibits hereto, may not be amended,
modified or supplemented, or the terms hereof waived, except by a written agreement executed by
all of the Parties. [Notwithstanding the foregoing, this Section 13.04, Section 13.12 and Section
13.16, in each case to the extent the proposed amendment to any such Section is adverse to any
Debt Financing Source, may not be amended without the consent of such Debt Financing Source.]

       Section 13.05. Assignment.

        This Agreement, and the rights, interests and obligations hereunder, may not be assigned
by any Party (by operation of law or otherwise) without the express written consent of the other
Parties; provided, that this Agreement and the rights and obligations of Buyer hereunder may be
assigned by Buyer, without the prior written consent of any Selling Entity, to one or more of
Buyer’s Subsidiaries including but not limited to a to-be-formed limited liability company wholly
owned by Buyer, so long as (x) such Subsidiary is designated in writing by Buyer to Seller prior
to the Closing, (y) Buyer continues to remain obligated in full hereunder, and (z) any such
assignment would not reasonably be expected to impede or delay the Closing; provided, further
that Seller may assign some or all of its rights or delegate some or all of their obligations hereunder
to successor entities pursuant to a plan of reorganization confirmed by the Bankruptcy Court. Any
attempted or purported assignment in violation of this Section 13.05Section 13.05 will be deemed



                                                  67
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 79 of 86




void ab initio. This Agreement will be binding upon and inure to the benefit of the Parties and
their respective successors and permitted assigns.

       Section 13.06. Severability.

        The provisions of this Agreement will be deemed severable, and the invalidity or
unenforceability of any provision will not affect the validity or enforceability of the other
provisions hereof. If any provision of this Agreement, or the application thereof to any Person or
any circumstance, is invalid or unenforceable, (a) the Parties will negotiate in good faith to modify
this Agreement so as to effect the original intent of the Parties as closely as possible in an
acceptable manner in order that the transactions contemplated hereby are consummated as
originally contemplated to the greatest extent possible and (b) the remainder of this Agreement
and the application of such provision to other Persons or circumstances will not be affected by
such invalidity or unenforceability.

       Section 13.07. Expenses.

        Each of Seller, on the one hand, and Buyer, on the other hand, will bear its own respective
expenses incurred in connection with the negotiation and execution of this Agreement, the other
Transaction Documents and the transactions contemplated hereby and thereby; provided that (a)
Buyer shall pay all filing fees and expense of the Parties required in connection with any HSR Act
filing or any other filing in connection with any Antitrust Laws, if such filings are necessary, and
(b) Seller will pay all fees or expenses required to be paid to the Escrow Agent in connection with
the Deposit Escrow Account.

       Section 13.08. Specific Performance.

        The Parties agree that irreparable damage would occur if any provision of this Agreement
is not performed in accordance with the terms hereof, including if any of the Parties fails to take
any action required of it hereunder to consummate the transactions contemplated by this
Agreement, and that monetary damages, even if available, would not be an adequate remedy
therefor. Accordingly, each Party will be entitled to an injunction or injunctions without proof of
damages or posting a bond or other security to prevent breaches of this Agreement or to enforce
specifically the performance of the terms and provisions hereof, including specific performance of
the covenants, promises or agreements contained in this Agreement or an Order enjoining the
applicable Party from any threatened, or from the continuation of any actual, breach of such
covenants, promises or agreements, in each case in this sentence, in addition to any other remedy
to which they are entitled at law or in equity. Unless otherwise expressly stated in this Agreement
(including pursuant to Section 13.07Section 13.07), no right or remedy described or provided in
this Agreement is intended to be exclusive or to preclude a Party from pursuing other rights and
remedies to the extent available under this Agreement, at law or in equity. The right of specific
performance and other equitable relief is an integral part of the transactions contemplated by this
Agreement and without that right, neither Seller nor Buyer would have entered into this
Agreement. Notwithstanding the foregoing, it is understood and agreed that no Selling Entity shall
have the right to seek specific performance of Buyer’s obligation to consummate the Closing
unless all conditions set forth in Article 9Article 9 and in Article 10Article 10 have been satisfied
or waived by Buyer.


                                                 68
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 80 of 86




       Section 13.09. Governing Law; Consent to Jurisdiction and Venue; Jury Trial Waiver.

       (a)    Except (i) to the extent the mandatory provisions of the Bankruptcy Code apply
and (ii) except for any real or immovable property issues, which will be governed by and
construed and enforced in accordance with the internal laws of the State or Commonwealth
in which such real or immovable property is located (without reference to the choice of law
rules of such State), this Agreement will be governed by, and construed in accordance with,
the laws of the State of Delaware applicable to contracts made and to be performed entirely
in such state without regard to principles of conflicts or choice of laws or any other law that
would make the laws of any other jurisdiction other than the State of Delaware applicable
hereto.

        (b)   Without limitation of any Party’s right to appeal any Order of the Bankruptcy Court,
(i) the Bankruptcy Court will retain exclusive jurisdiction to enforce the terms of this Agreement
and to decide any claims or disputes, which may arise or result from, or be connected with, this
Agreement, any breach or default hereunder, or the transactions contemplated hereby and (ii) any
and all claims relating to the foregoing will be filed and maintained only in the Bankruptcy Court,
and the Parties hereby consent and submit to the exclusive jurisdiction and venue of the
Bankruptcy Court and irrevocably waive the defense of an inconvenient forum to the maintenance
of any such Proceeding; provided that, if the Bankruptcy Cases are closed pursuant to Section 350
of the Bankruptcy Code, the Parties agree to unconditionally and irrevocably submit to the
exclusive jurisdiction of the Delaware Chancery Court or, if such court will not have jurisdiction,
any federal court located in the State of Delaware or other Delaware state court, and any appellate
court from any thereof for the resolution of any such claim or dispute. The Parties each hereby
irrevocably waive, to the fullest extent permitted by Applicable Laws, the defense of an
inconvenient forum to the maintenance of any such Proceeding. The Parties each consent to
service of process by mail (in accordance with Section 13.02Section 13.02) or any other manner
permitted by law.

     (c)  THE PARTIES HEREBY IRREVOCABLY WAIVE ALL RIGHT TO TRIAL BY
JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER BASED IN
CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR THE ACTIONS OF ANY PARTY OR SUCH PARTY’S
REPRESENTATIVES IN THE NEGOTIATION OR PERFORMANCE HEREOF[, IN EACH
CASE, INCLUDING ANY ACTION, PROCEEDING OR COUNTERCLAIM ARISING OUT
OF THE DEBT COMMITMENT LETTER OR IN CONNECTION WITH THE DEBT
FINANCING.].

       Section 13.10. Counterparts.

       This Agreement and any amendment hereto may be executed in one (1) or more
counterparts, each of which will be deemed to be an original of this Agreement or such amendment
and all of which, when taken together, will constitute one and the same instrument.
Notwithstanding anything to the contrary in Section 13.02Section 13.02, delivery of an executed
counterpart of a signature page to this Agreement or any amendment hereto by email attachment
will be effective as delivery of a manually executed counterpart of this Agreement or such
amendment, as applicable.

                                                69
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 81 of 86




       Section 13.11. Parties in Interest; No Third Party Beneficiaries.

         This Agreement will inure to the benefit of and be binding upon Buyer, Seller and their
respective successors and permitted assigns. This Agreement is for the sole benefit of the Parties
and their permitted assigns, and nothing herein, express or implied, is intended to or will confer
upon any other Person any legal or equitable benefit, claim, cause of action, remedy or right of
any kind, except that Section 13.12Section 13.12 is intended for the benefit of and is enforceable
by the Party Affiliates; provided that in each case such party will be subject to all the limitations
and procedures of this Agreement as if it were a Party hereunder. [Notwithstanding the foregoing,
the provisions of Section 13.04, this Section 13.11 and Section 13.16 shall be enforceable by the
Debt Financing Sources and such Debt Financing Sources shall be entitled to enforce such
provisions and to avail themselves of the benefits of any remedy for any breach of such provisions,
all to the same extent as if such persons were signatories to this Agreement.]

       Section 13.12. No Recourse.

        (a)    Notwithstanding anything that may be expressed or implied in this Agreement or
any other Transaction Document, and notwithstanding the fact that any Party may be a
partnership or limited liability company, each Party, by its acceptance of the benefits of this
Agreement, covenants, agrees and acknowledges that no Persons other than the Parties will have
any obligation hereunder and that it has (on behalf of itself and its Subsidiaries) no rights of
recovery thereunder against, and no recourse thereunder or in respect of any oral representations
made or alleged to be made in connection therewith will be had against, any former, current or
future Affiliate, incorporator, controlling Person, fiduciary, Representative, co-owner or equity
holder of any Party (or any of their successors or permitted assignees) (each, other than, for the
avoidance of doubt, a Party itself a “Party Affiliate”), whether by or through attempted piercing
of the corporate veil, by or through a claim (whether in tort, Contract or otherwise) by or on
behalf of such Person against the Party Affiliates, by the enforcement of any assessment or by
any legal or equitable Proceeding, or by virtue of any statute, regulation or other Applicable
Law, or otherwise; it being expressly agreed and acknowledged that no personal liability
whatsoever will attach to, be imposed on or otherwise be incurred by any Party Affiliate, as such,
for any obligations of the applicable Party hereunder or the transaction contemplated hereby,
under any documents or instruments delivered contemporaneously herewith, in respect of any
oral representations made or alleged to be made in connection herewith, or for any claim
(whether in tort, Contract or otherwise) based on, in respect of, or by reason of, such obligations
or their creation.

       (b)     Effective as of the Closing (but only if the Closing actually occurs), except for any
rights or obligations under this Agreement, the other Transaction Documents and the
Confidentiality Agreement, Buyer, on behalf of itself and each of its Affiliates and each of its
and their respective past, present and/or future officers, directors (and Persons in similar
positions), employees, agents, general or limited partners, managers, management companies,
members, advisors, stockholders, equity holders, controlling Persons, other Representatives or
Affiliates, or any heir, executor, administrator, successor or assign of any of the foregoing
(collectively, the “Releasors”), hereby irrevocably and unconditionally releases and forever
discharges waives to pursue each Selling Entity, each other Subsidiary of Seller, their respective
Affiliates and each of the foregoing’s respective past, present and/or future officers, directors

                                                 70
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 82 of 86




(and Persons in similar positions), employees, agents, general or limited partners, managers,
management companies, members, advisors, stockholders, equity holders, controlling Persons,
other Representatives or Affiliates, or any heir, executor, administrator, successor or assign of
any of the foregoing (collectively, the “Released Parties”) of and from any and all actions,
causes of action, suits, Proceedings, executions, Orders, duties, debts, dues, accounts, bonds,
Liabilities, Contracts and covenants (whether express or implied), and claims and demands
whatsoever whether in law or in equity (whether based upon contract, tort or otherwise), which
any of the Releasors may have against any of the Released Parties, now or in the future, in each
case solely in respect of any cause, matter or thing relating to the Assets, the Business or any
action taken or failed to be taken by any of the Released Parties in any capacity related to the
Selling Entities, the Assets or the Business occurring or arising on or prior to the Closing Date.
From and after the Closing and notwithstanding any applicable statute of limitations, Buyer will
not, and to the extent within Buyer’s control, will cause each of the other Releasors not to, bring
any action, suit or Proceeding against Seller or any of the other Released Parties, whether at law
or in equity, with respect to any of the rights or claims waived and released by Buyer on behalf
of itself and the other Releasors hereunder.

        (c)   Buyer agrees that if Buyer or any of its Affiliates obtains or binds a representations
and warranties insurance policy with respect to any of the representations or warranties set forth
in Article 5Article 5 of this Agreement (each, a “R&W Insurance Policy”), each such R&W
Insurance Policy will at all times provide that: (1) the insurer will have no, and will waive and
not pursue any and all, subrogation rights against Seller, any of its Subsidiaries or any of its or
their respective Affiliates, (2) Seller is third party beneficiary of such waiver and (3) Buyer will
have no obligation to pursue any claim against Seller or any of its Subsidiaries in connection
with any Liability.

       Section 13.13. Disclosure Schedules; Materiality.

         The inclusion of any matter in any Disclosure Schedule will be deemed to be a disclosure
in all other Disclosure Schedules, without the need for repetition or cross reference, to the extent
that the relevance of such disclosure to the other Disclosure Schedules is reasonably apparent on
its face. The inclusion of any matter in any Disclosure Schedule will not be deemed to constitute
an admission, or otherwise imply, that any such matter is material or creates a measure for
materiality for purposes of this Agreement. The disclosure of any particular fact or item in any
Disclosure Schedule will not be deemed an admission as to whether the fact or item is “material”
or would constitute a “Material Adverse Effect.”

       Section 13.14. Liquidating Trustee.

        If at any time Seller liquidates, its estate is converted to Chapter 7, or otherwise has a
trustee or other Representative appointed by the Bankruptcy Court (as applicable, a “Trustee”),
then (a) such Trustee will be bound to perform the obligations of Seller and will be entitled to
exercise the rights of Seller under this Agreement, and (b) with respect to all of Seller’s or its
Subsidiaries’ assets that are abandoned (if any) following the date hereof, Seller grants to such
Trustee a power of attorney for purposes performing Seller’s obligations under Section
2.06Section 2.06 with respect to such abandoned assets. Seller acknowledges and agrees that the
power of attorney granted to such Trustee (if any) pursuant to the foregoing clause (b)(b) is coupled

                                                 71
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 83 of 86




with an interest and will be irrevocable. Further, such power of attorney will also be granted to
Buyer for purposes of performing Seller’s obligations under Section 2.06Section 2.06 with respect
to such abandoned assets, as determined by Buyer, and in the event Buyer exercises such power
of attorney, the Trustee will not commit any act or take any action that is inconsistent with such
exercise by Buyer, except as requested in writing by Buyer.

       Section 13.15. Conflicts; Privileges.

       (a)     It is acknowledged by each of the parties that Seller has retained Davis Polk &
Wardwell LLP (“Davis Polk”) to act as its counsel in connection with this Agreement and the
transactions contemplated hereby (the “Current Representation”), and that no other party has the
status of a client of Davis Polk for conflict of interest or any other purposes as a result thereof.
Buyer hereby agrees that after the Closing, Davis Polk may represent Seller or any of its Affiliates
or any of their respective Representatives (any such Person, a “Designated Person”) in any matter
involving or arising from the Current Representation, including any interpretation or application
of this Agreement or any other agreement entered into in connection with the transactions
contemplated hereby, and including for the avoidance of doubt any Proceeding between or among
Buyer or any of its Affiliates, and any Designated Person, even though the interests of such
Designated Person may be directly adverse to Buyer or any of its Affiliates, and even though Davis
Polk may have represented Buyer in a substantially related matter, or may be representing Buyer
in ongoing matters. Buyer hereby waives and agrees not to assert (1) any claim that Davis Polk
has a conflict of interest in any representation described in this Section or (2) any confidentiality
obligation with respect to any communication between Davis Polk and any Designated Person
occurring during the Current Representation.

        (b)    Buyer hereby agrees that all communications (whether before, at or after the Closing)
between Davis Polk and any Designated Person that relate in any way to the Current
Representation that are attorney-client privileged (the “Deal Communications”) and all rights to
any other evidentiary privilege, and the protections afforded to information relating to
representation of a client under applicable rules of professional conduct that may apply to such
Deal Communications, belong to Seller and may be controlled by Seller and will not pass to or be
claimed by Buyer or any of its Representatives and Buyer hereby agrees that it will not seek to
compel disclosure to Buyer or any of its Representatives of any such communication that is subject
to attorney client privilege, or any other evidentiary privilege.

        (c)   Notwithstanding the foregoing, in the event that a dispute arises between Buyer, on
the one hand, and a third party other than any Selling Entity, on the other hand, Buyer may assert
the attorney-client privilege to prevent the disclosure of the Deal Communications to such third
party; provided, however, that Buyer may not waive such privilege without the prior written
consent of the Selling Entities (which such consent shall not be unreasonably withheld,
conditioned or delayed). In the event that Buyer or any of its respective directors, officers,
employees or other representatives is legally required by governmental order or otherwise to access
or obtain a copy of all or a portion of the Deal Communications, Buyer shall, to the extent legally
permissible, (x) reasonably promptly notify the Selling Entities in writing (including by making
specific reference to this Section 13.15(c)Section 13.15(c)), (y) agree that the Selling Entities may
seek a protective order and (z) use, at the Selling Entities’ sole cost and expense, commercially
reasonable efforts to assist therewith.

                                                 72
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 84 of 86




        Section 13.16. [Intentionally Deleted] Liability of Financing Sources. No Seller Related
Party shall have any rights or claims against any Debt Financing Source in connection with this
Agreement, the Debt Financing or the transactions contemplated hereby or thereby, whether at law
or equity, in contract, in tort or otherwise; provided that, notwithstanding the foregoing, nothing
in this Section 13.16 shall in any way limit or modify the rights and obligations of Buyer under
this Agreement or any Debt Financing Source’s obligations to Buyer under the Debt Financing or
any financing commitment in respect thereof.]




                                    [Signature pages follows.]




                                                73
      Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 85 of 86




        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed and
delivered by their duly authorized representatives, all as of the day and year first above written.



                                             SELLER:

                                             DEAN FOODS COMPANY


                                             By:
                                             Name:
                                             Title:


                                             SELLING ENTITIES:

                                             [●]


                                             By:
                                             Name:
                                             Title:


                                             [●]


                                             By:
                                             Name:
                                             Title:


                                             [●]


                                             By:
                                             Name:
                                             Title:




                         [Signature Page to Asset Purchase Agreement]
Case 19-36313 Document 1292 Filed in TXSB on 03/31/20 Page 86 of 86




                            [BUYER]MARYLAND AND VIRGINIA MILK
                            PRODUCERS COOPERATIVE
                            ASSOCIATION, INCORPORATED, a Virginia
                            corporation organized as a cooperative
                            association under Virginia law


                            By:




                            Name:        Jay Bryant
                            Title:       CEO




               [Signature Page to Asset Purchase Agreement]
